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August 10, 2008


Thomas M. Greene and Ilyas J. Rona
Greene & Hoffman
33 Broad Street, 5th Floor
Boston, MA 02109


Dear Mr. Greene and Mr. Rona,


Re: NEURONTIN – expert opinion on efficacy and effectiveness for pain


EXECUTIVE SUMMARY

        Based on a thorough and scientifically valid analysis of all relevant double
blind randomized clinical trials (DBRCT), Neurontin is not an effective drug for the
treatment of neuropathic pain. My thorough review and meta-analysis of available
published and unpublished evidence shows that Neurontin (gabapentin) has at best
a clinically insignificant average effect on pain scores. The proportion of patients
who recognize “improvement” on a Patient Global Impression of Change scale at
the end of studies is roughly matched by the proportion of patients who experience
adverse events. In the real world, to which the concept of “effectiveness” applies,
patients taking Neurontin (gabapentin) should be expected to accrue less benefit and
more harm. Thus, in my opinion, Neurontin (gabapentin) has not been
demonstrated to be an effective treatment for pain.

        Therefore, it should be obvious that it was inappropriate to recommend
Neurontin (gabapentin) as “first-line” treatment for “neuropathic pain” or any
other pain. In addition, my detailed review of evidence showed clearly that
alternative analgesics, notably morphine, control pain better than gabapentin.
Amitriptyline and other tricyclic antidepressants (TCA) appear from DBRCT
comparing them with placebo to have greater benefit than gabapentin; however the
direct comparison trials (against gabapentin) are too small and insufficiently well
reported to prove whether TCA are better in the real world. In my opinion, the
widespread “expert” recommendation of Neurontin (gabapentin) as “first-line”
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treatment was based on commercial, rather than scientific or medical considerations
– and derived largely from “experts” who were unaware of the full data from
unpublished trials.
        Finally, it is my opinion that Neurontin (gabapentin) is completely ineffective
for the treatment of non-neuropathic pain. The relatively large acute pain trials I
reviewed cast serious doubt on the notion that gabapentin is an efficacious analgesic,
as opposed to a soporific drug.
       Parke-Davis/Pfizer marketed Neurontin (gabapentin) as an effective drug for
the treatment of neuropathic pain through the use of misleading, incomplete or
omissive statements. The marketing transcended any reasonable bounds of
evidence and succeeded principally by withholding the unpublished data which
were well known to Parke-Davis/Pfizer.

        Parke-Davis/Pfizer also recommended, through the use of misleading,
incomplete or omissive statements, that Neurontin (gabapentin) be used as first-line
treatment for neuropathic pain. Parke-Davis/Pfizer crafted an elaborate campaign
to “pull the wool over the eyes” of practicing doctors, and no doubt also of patients
afflicted by pain. The companies went to great lengths to ensure that their messages
were not filtered through the appropriate sieves such as disinterested and competent
independent peer review, for reality checking.

        It was crucial for the companies to exaggerate the purported benefits of
Neurontin, “push the dose”, and play down Neurontin’s well documented adverse
effects in order to maximize off-label use for the much larger populations of patients
with other chronic pain conditions who might at least purchase several months
worth of the drug – even if they could not be persuaded to renew prescriptions
further. It is a sad but all too common reflection on the medical profession that it
collaborated so obsequiously in this endeavour.


FULL CLINICAL PHARMACOLOGIC OPINION


        By letter dated March 4, 2008 and subsequent discussions both in Boston (April
1-3, 2008) and by telephone, you requested me to prepare a clinical pharmacological
expert opinion on the evidence available from double blind randomized clinical trials
regarding the efficacy and effectiveness of the prescription drug gabapentin when used to
treat pain. You have also asked me to comment on the marketing of this drug in respect
to claims you are making against the Defendant. At your request, I duly signed and
returned to you a confidentiality agreement respecting documents you shared with me of
which the confidentiality remains under Court protection in the United States.
        With your permission, I engaged the assistance of two people to help me complete
the large amount of work required to produce my opinion, within the looming deadline of
August 1, 2008:
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1. Vijaya Musini, M.D., M.Sc., my colleague in the University of British Columbia
Department of Anesthesiology, Pharmacology and Therapeutics, is a recognized
Canadian expert in critical appraisal of clinical trials and in systematic review. Dr.
Musini assisted me in completing a systematic review to the standards of the Cochrane
Collaboration, in particular with the meta-analysis using Cochrane RevMan software.
She is an experienced member of the Cochrane Hypertension Group. Dr. Musini will
send you her CV by email.
2. Kelsey Innes, B.Sc., a graduate of the University of Victoria (mathematics and
statistics), who assisted in the critical appraisal and in summarizing some of the clinical
trials of gabapentin for pain (mostly unpublished).
       I have personally supervised and checked the work of Dr. Musini and Ms. Innes
and assume responsibility for the thoroughness and accuracy of all the work reported to
you as appendices, and upon which my opinion relies. Dr. Musini and Ms. Innes have
each signed and returned to you by fax the confidentiality agreement with respect to
documents protected by the U.S. Court.
        This is my report, for which I assume full responsibility. It relies on my general
scientific and medical education and background, and also on medical scientific reports
which I reviewed during my own independent research, as well as on information and
reports of which I am otherwise generally aware. I also reviewed specifically the
materials you sent me, which are itemized in a number of Appendices at the end of this
report.
       I reserve the right to supplement or modify this report if new information
becomes available to me, or if I have the opportunity to review further reports from
published literature, unpublished studies, or other documents relevant to my opinion.
       My compensation for this work is at a rate of U.S. $400/hour. I am sending you
separately a CV.
       The following are the law cases in which I have provided expert witness
testimony at trial or during pre-trial Examination for Discovery since 2004:
1. Borglund v. Fraser Valley Health Region et al., Supreme Court of British Columbia,
2006 BCSC 1338, Registry: Vancouver (Civil)
2. Regina v. James Swanney, Supreme Court of British Columbia, 2006 BCSC 1766,
Registry: New Westminster (Criminal)
       For your convenience and that of the Court, I have prepared an Executive
Summary attached to this report, which is based upon the full report, and which includes
my answers to your specific questions. The same questions are posed and answers
proposed in this complete report, in the context of the approach that I took to answering
them.
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I) PROFESSIONAL QUALIFICATIONS:
        I graduated from the McGill University Medical School in 1978. I then took a
rotating internship at Dalhousie University Medical School, and postgraduate training in
Internal Medicine at the University of British Columbia. I achieved Fellowship of the
Royal College of Physicians of Canada in 1985. From 1986-89, with a Fellowship from
the Medical Research Council of Canada, I pursued additional subspecialty training in
Clinical Pharmacology at the Karolinska Institute Department of Clinical Pharmacology
in Stockholm and in the Department of Pharmacology and Therapeutics at UBC. My
training focused on the metabolism of tricyclic antidepressant drugs by the liver, and on
understanding how they cause the adverse effect of postural hypotension (low blood
pressure) in humans.

        Currently I practice hospital-based general internal medicine on the medical
wards of the University Hospital and the Vancouver General Hospital, in Vancouver,
British Columbia. I also teach medicine and clinical pharmacology in all four years of
the undergraduate medical curriculum of the UBC Faculty of Medicine and in the
General Internal Medicine postgraduate training program.

        My outpatient practice is mainly with patients with high blood pressure and
especially the treatment of chronic pain. I am one of relatively few physicians in B.C.
who receives consultations for pain from around our province of 4 million people. I am
frequently called upon to assess hospitalized patients and outpatients who are receiving
complex regimens of prescription medications. Much of my daily bedside and hospital
ward teaching involves helping medical students, and sometimes clinical pharmacists, to
understand the practical aspects of drug actions in human beings. This includes the
practical aspects of pharmacokinetics and pharmacodynamics, the understanding of when
and how drugs exert their effects in individual human beings.

        Like other general internists in academic practice, I am involved continuously in
teaching concepts of evidence based medicine. This involves the rational application to
an individual patient of the scientific knowledge gained from randomized clinical trials
(experiments) conducted in large populations of patients. My work at the UBC
Therapeutics Initiative (UBC TI) involves critical appraisal of such experiments in order
to understand what the published results of clinical trials really mean for clinical practice.
I have been privileged to work at the UBC TI amongst a group of physicians,
epidemiologists, and pharmacists who have together received international stature for the
meticulousness and reliability of our work, and the careful, unbiased conclusions we have
drawn in our drug assessment reports to the British Columbia Ministry of Health’s drug
benefit program and the abbreviated versions published in our Therapeutics Letters and
on our website (www.ti.ubc.ca).

        I have sent you electronically a copy of my CV, including publications from the
last 10 years. I do not keep track of all of my teaching and speaking engagements on my
CV but could muster and report them if required.
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II) QUESTIONS YOU POSED TO ME:
       These are the specific questions you posed to me:
a) Science questions:

1. Based on a thorough and scientifically valid analysis of all relevant RCTs is Neurontin
an effective drug for the treatment of neuropathic pain?
2. Was it appropriate to recommend Neurontin as first-line treatment for neuropathic
pain?
3. Can any findings of efficacy in PHN be extrapolated to other neuropathic pain
conditions?


b) Marketing questions:
1. Based on a review of their marketing documents, did Defendants market Neurontin as
an effective drug for the treatment of neuropathic pain through the use of misleading,
incomplete or omissive statements?

2. Based on a review of their marketing documents, did Defendants recommend through
the use of misleading, incomplete or omissive statements that Neurontin be used as first-
line treatment for neuropathic pain?

3. Based on a review of their marketing documents, did Defendants claim through the
use of misleading, incomplete or omissive statements that findings of efficacy in PHN
could be extrapolated to other neuropathic pain conditions?

       I have reported my brief answers to these questions in the executive summary
accompanying this detailed and comprehensive report. Below I discuss the purposes of
my report in more detail, and the approach taken to answering your specific questions
and the more general scientific questions that I needed to pose to myself in order to
provide you with what I consider reasonable answers.


III) PURPOSE OF REPORT:


a)      The main purpose of this report is to provide you with a balanced,
scientifically accurate and valid assessment of the efficacy and effectiveness of
gabapentin for various pain syndromes. As I explained to you when we met in Boston
on April 1-3, 2008, I must base my opinion upon a detailed and thorough review of all
available evidence from double blind randomized controlled trials (DBRCT) which
compared gabapentin with placebo, “active placebo”, or with drugs known or thought to
have analgesic properties. As is standard in modern medical science, evidence derived
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from open label trials (where the patients and investigators are aware of each patient’s
treatment) may be useful to formulate hypotheses, but is unreliable for testing such
hypotheses. Long experience has taught that only DBRCT offer reliable evidence.
         However, even the interpretation of relatively high quality and difficult or
expensive experiments may be fraught with various biases. Anyone who follows the
media will be aware that medical conclusions and standard practice which were thought
to be based on “evidence” relatively securely derived from DBRCT often turn out to be
spurious, wrong, and sometimes even deliberately misleading. Throughout medical
history, this has been true of most practices once thought to be “standard of care”, e.g.
bleeding with leeches (thought to have caused the deaths of King Charles II and President
George Washington amongst many others) or the use of antimony and mercury for
various ailments in the pre-scientific era. More recent examples include the utility of
beta-blockers for peri-operative medicine, or the mass application of SSRI
antidepressants and “atypical” (new) antipsychotic drugs to millions of people now
widely recognized to have been unlikely to benefit. Selective publication of part, but not
all of the evidence concerning rofecoxib (Vioxx) in the New England Journal of
Medicine (NEJM) in 2000 and concerning celecoxib (Celebrex) in the Journal of the
American Medical Association (JAMA) in 2000 provided a classic example of how
relatively sophisticated peer reviewers, medical journal editors, and readers of journal
articles may be misled - even by studies which appear to represent the highest available
quality of medical research. This mis-publication fooled literally hundreds of thousands
of doctors worldwide, including most academic “experts”, and led to a revolution in how
the best medical journals now attempt to verify the accuracy, validity and integrity of
research reports submitted for publication. This “new enlightenment” has only begun
and applies only to the few best medical scientific journals whereas countless others
continue to apply low standards to determining whether information submitted for
publication is likely to be accurate or representative of the real truth.
         A series of brief articles (Therapeutics Letters) on the UBC Therapeutics
Initiative website (www.ti.ubc.ca) summarized what was known about the real facts from
the rofecoxib and celecoxib studies at various stages between 1999-2004. These articles
demonstrate that it was possible early on to discern glimpses of the truth. Representing
the work of a sophisticated team which collectively spent hundreds of hours to
understand what the published rofecoxib and celecoxib trials were really reporting, the
Therapeutics Letters do not even hint at the amount of intellectual work and experience
necessary for an outsider (someone without access to complete privately-held data) to
develop a well-informed opinion.
        When you asked me to consider the Neurontin (gabapentin) case, I guessed that
the academic work necessary to form an opinion would be onerous and time consuming,
but I did not fully comprehend how complex this assignment would be, given the myriad
ways that experiments with gabapentin were reported, and the nature and volume of the
unpublished experimental reports.
       My academic interest in the questions you posed derives partly from my
considerable experience in the treatment of hospitalized patients and outpatients suffering
from acute or chronic pain. As a specialist in general internal medicine and in pain
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treatment, I have assessed clinically hundreds of patients who have taken gabapentin.
Although I have occasionally prescribed gabapentin as a trial of therapy for pain, almost
all of the patients I have assessed who were taking this drug were prescribed gabapentin
for pain by other physicians. Gabapentin is used rarely in Canada for epilepsy.
        In my daily practice of medicine in a major medical teaching centre, I utilize my
specialized post-graduate training and expertise in clinical pharmacology, including my
understanding of how drug kinetics and dynamics apply to individual patients. My work
at the University of British Columbia medical school typically involves combining this
knowledge and understanding with my academic experience in critical appraisal of
clinical trial reports to formulate what I hope to be wise and rational judgments about the
role of drugs in alleviating human suffering or improving health. Similarly, my clinical
pharmacologic opinion in this report also applies my background knowledge and
experience to questions which are critically relevant to understanding how the average
group outcomes observed in DBRCT might be applied wisely to the rational use of a
drug in clinical practice which is always directed at individual patients. For example, I
will consider:

   •   the timing of benefit and harm experienced by patients taking gabapentin
   •   the relationship between dose and therapeutic or toxic effects (benefit and
       harm)
   •   how results might be expected to compare during routine clinical use of
       gabapentin for the same purposes or conditions for which gabapentin treatment
       was studied during DBRCTs – the question of “effectiveness” vs. “efficacy”
        Without the prudent clinical application of such knowledge, it is difficult or
impossible for a doctor to translate efficacy results (the ability of a drug to produce a
given result during a controlled experiment under “ideal” circumstances) into clinical
effectiveness. Effectiveness is ultimately the ability of a drug to cause more good than
harm in real life. The prescribing physician who wants to be effective obviously must
attempt to maximize the proportion of patients who benefit from a therapy while
minimizing the proportion who suffer harm from the same therapy.


b)      The second purpose of this report is to provide my opinion as to whether the
intensive marketing campaign conducted on behalf of Neurontin (gabapentin) by Parke-
Davis/Pfizer in the United States was misleading, incomplete or omissive in its
depiction of the efficacy or clinical effectiveness of Neurontin (gabapentin) for the
treatment of “neuropathic pain” or other pain. This question is to be considered in light
of the evidence I now know, from my review of unpublished as well as published studies,
was available to Parke-Davis/Pfizer at the time, as well as my review of internal
marketing documents from those two companies.
        I have tried to approach this question by imagining that I had been a pain
specialist or any other fair-minded and intelligent physician attending one of the
“advisory group” meetings, or any of the sponsored meetings where Neurontin
(gabapentin) was promoted, or that I had read any of the “enduring materials” distributed
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by non-academic or academic organizations entitled to provide CME credits to American
physicians. I have asked myself whether the information contained in those documents,
slide presentations, sponsored (non-peer reviewed) journal supplements and commercial
journals and in the “advisory group” discussions:

   •   was generally intellectually honest;
   •   presented a fair balance of information on potential benefits and harms likely to
       arise in a patient taking gabapentin;
   •   conformed to professional and ordinary ethics insofar as the presentation
       respected an audience member’s or reader’s right and responsibility to be fully
       informed of the facts in such as way as to protect the interests of patients;
   •   was “ethical to patients” - that is, the presentation did not encourage the audience
       to recommend or prescribe gabapentin in ways that could be expected to be
       deleterious to patients;
   •   was “disinterested” – that is, the interests of patients who might be exposed to
       gabapentin were placed ahead of the financial interests of the manufacturer or the
       physicians in attendance;
   •   was “honest and transparent” – that is, the presentations or “enduring materials”
       or “infomercials” reflected appropriately full disclosure of the potential or real
       conflicts of interest of “experts” remunerated by the manufacturer (including but
       not limited to the amounts paid to such “experts” to participate in promotional
       advisory board meetings or presentations, and disclosure of whether the “authors”
       of materials circulated actually wrote those materials or disclosed “ghost
       authorship” when they did not write them, in such a way that an audience member
       could make an informed independent judgment about the overall credibility of the
       information presented;
   •   was complete insofar as all experimental evidence bearing on the efficacy or
       effectiveness of gabapentin was disclosed, once it was available


        Note that reading documents is hardly the same as attending a live
presentation. Anyone who has participated in such meetings (or who might have read
the Parke-Davis/Pfizer materials I reviewed) would understand that meetings held for
doctors at nice hotels in desirable locations have their own group dynamic and culture.
Pharmaceutical manufacturers, or the third parties they contract to run such meetings, do
not spend tens or hundreds of thousands of dollars to organize them with the expectation
that the content will be purely rational. Were that their intent, they could save a great
deal of money by using print media or the internet. The emotional dimension of human
contact with “experts” or “Key Opinion Leaders” is the real purpose and outcome
of such meetings.
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IV) BACKGROUND – FORMULATION OF ACADEMIC QUESTIONS TO BE
ADDRESSED IN ORDER TO ANSWER YOUR SCIENTIFIC QUESTIONS:
       In thinking about how to approach the daunting assignment you gave me, I began
with the following considerations:
a) observations and thinking about how gabapentin has been and is currently utilized for
pain treatment in my local community (Vancouver and British Columbia, Canada);
b) my own experience from treating pain with prescription drugs of multiple classes
(acetaminophen, NSAIDs, opioids, tricyclic antidepressants, anticonvulsants) and with
teaching medical students, post-graduate trainees, and practicing doctors about effective
and rational use of drugs for pain control;
c) observation of how pain is treated in the large hospitals where I work, including how
nurses and doctors assess and treat pain, and discussions with doctors, nurses, and
physiotherapists about the effects of gabapentin;

d) general medical literature discussion of pain treatment (journals, books, websites)

e) the Cochrane Pain Group’s discussion, not limited to the Cochrane systematic review
of gabapentin (see below) but also including the Oxford Pain Internet Site
(http://www.jr2.ox.ac.uk/bandolier/booth/painpag/);

f) discussion with colleagues involved in systematic reviews of various drugs licensed in
Canada
       I derived the following key questions to guide me and my colleague Dr. Musini
and assistant Ms. Innes in our systematic review of evidence about gabapentin’s effects
on pain in outpatients. I considered that gabapentin’s possible effects in the immediate
post-operative setting for hospitalized patients were not relevant to the much broader
question of gabapentin use by prescription in outpatients. These questions are not
necessarily listed in order of their clinical importance. Ultimately, for any one patient the
most important question is relatively straightforward and simple: “How will this drug
help me to get on with my life in ways that are important to me?”
Question 1a) What is the available evidence from DBRCT concerning the average
(mean) effect of gabapentin for various painful conditions, in comparison with placebo
or with active analgesic comparators?
Question 1b) What is the clinical meaning for individual patients of any such average
(mean) effect observed for an experimental group?
Questions 1a and 1b are important because a valid estimate of any benefit from
gabapentin can be made only by considering all available clinical trial results (to avoid
publication bias by publication only of results deemed to be positive) and because effects
observed in clinical trials, which may be statistically significant, are not necessarily
clinically significant.
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Question 2a) What is the available evidence from DBRCT concerning the average
(mean) toxicities (harms) of gabapentin when used for pain, in comparison with
placebo or with active analgesic comparators?
Question 2b) What is the clinical meaning for individual patients who experience
toxicity (harm), e.g. those who drop out early from DBRCT because of “adverse
events”, or who just drop out?
Questions 2a and 2b are important because any clinical benefits achieved by a drug are
meaningless unless weighed against the harms associated with the same treatment.


Question 3a) What is the available evidence from DBRCT about the percentage (%) of
patients who experience a clinically meaningful benefit (to them) from the use of
gabapentin to treat pain?
Question 3b) How does this % compare with the % who experience a clinically
meaningful harm?
Questions 3a and 3b are important because they may provide an estimate of the
probability that an individual patient may realize a clinically meaningful benefit (Number
Needed to Treat, NNT) or harm (Number Needed to Harm, NNH). Note that in the real
world setting (outside the confines of a DBRCT with scrupulous inclusion and exclusion
criteria) the NNT will generally be higher (less favourable), while the NNH will
generally be lower (less favourable). The balance of benefit/harm will generally be
considerably less favourable in the real world, than in a typical clinical trial run from a
specialized referral base.


Question 4a) What is the available evidence from DBRCT concerning the relationship
of gabapentin dose to clinically meaningful response (benefit)? For example, is there
convincing evidence that larger doses “work better” than smaller doses (e.g. 900 mg/day
vs. 300 mg/day, or 3600 mg/day vs. 900 mg/day or vs. 1800 mg/day)?
Question 4b) What is the available evidence from DBRCT concerning the relationship of
gabapentin dose to clinically meaningful toxicity (harms)? For example, is there
convincing evidence that larger doses are more likely to cause neurological adverse
effects than smaller doses (e.g. 900 mg/day vs. 300 mg/day, or 3600 mg/day vs. 900
mg/day or vs. 1800 mg/day)?
Question 4c) Is any other meaningful evidence available which bears on the questions of
dose-dependence of benefit(s) or harm(s) for gabapentin?
Questions 4a, 4b and 4c are important because “experts” who promoted use of gabapentin
for pain generally advised “pushing the dose” or “titration to side effects”. This
encouraged a widespread belief that in an individual patient, a larger dose may be
expected to “work better” than a smaller dose, whereas the same experts suggested that
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many patients develop tolerance to adverse effects. General clinical pharmacologic
principles and international experience with countless drugs suggest that large doses are
more likely than small doses to cause significant harms. Conversely for most drugs the
benefits accrue disproportionately at the lower end of the licensed human dose range (e.g.
drugs for high blood pressure, drugs for stomach acid suppression, beta blockers, and
most, if not all, pain drugs).


Question 5a) What is the available evidence from DBRCT concerning the relationship
of duration of gabapentin therapy to realization of a clinically meaningful response
(benefit)?
Question 5b) What is the available evidence from DBRCT concerning the relationship
of duration of gabapentin therapy to experience of a clinically meaningful toxicity
(harm)?
Question 5c) Is there any other meaningful evidence available which bears on the
questions of duration of therapy-dependence of benefit(s) or harm(s) for gabapentin?
Questions 5a, 5b, and 5c are important because “experts” who promoted use of
gabapentin for pain generally advised (by analogy to prevalent but usually non-evidence
based treatment models of drug therapy for depression) that patients should be
encouraged to persist with therapy despite initial therapeutic failure, in the hope that the
drug may require “time to work”. In contrast, some “experts” indicated at least
anecdotally, and close examination of the results of DBRCT suggest that therapeutic
effect or toxicity may be apparent very early in treatment.


Question 6: What experimental approach could clarify the most efficacious and
effective drug treatment(s) for “neuropathic” pain? Why don’t we have this
information now?
Question 6 is important because the rational patient and/or the rational prescribing doctor
might well ask,“What is the best available treatment for my condition?” (The New York
Times of July 29, 2008 provides a striking example of how U.S. Senator Ted Kennedy
used this rational approach not only to analyse therapeutic options for his malignant brain
tumour, but also applied it earlier to therapeutic dilemmas affecting his children and
friends. The same article points out that even many highly educated or sophisticated
Americans still expect to delegate this responsibility to their physicians.) In certain
circumstances, high quality scientific experimentation has provided reasonably certain
answers to such questions, for example:

   •   thiazide diuretics, as initial treatment for high blood pressure, typically provide
       the best available results in prevention of premature death, ischemic heart disease,
       and stroke, at the lowest price and probably with the fewest adverse effects,
       according to multiple RCT;
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   •   coronary bypass surgery is better than conservative medical treatment or
       percutaneous coronary intervention (angioplasty, coronary stenting) under
       specific circumstances demonstrated in RCT
        Providing a rational, experimentally based answer to Question 6 would require
DBRCT aimed at discovering the truth, no matter where it lies. This is the general
approach taken in the Gilron study (NEJM 2005), although the crossover design becomes
so complex that I found a thorough and fair interpretation to be much more difficult than
it looks. Large, objective and meticulous DBRCT performed in the real world setting
(effectiveness trials) could reliably answer the following questions about neuropathic or
other pain treatment in various conditions, just as they have for other medical issues:
a) Which treatment (e.g. traditional opioids such as morphine, “untraditional opioids”
   such as methadone, gabapentin, pregabalin, carbamazepine, tricyclic antidepressants,
   etc.) provides the best group mean pain relief?
b) Which treatment provides the fewest and least clinically significant adverse
   effects?
c) Which treatment provides the best overall functional result? (a combination of
   relatively good benefit and relatively little harm, e.g. the ability to continue working
   or return to work, school, or important family activities)
d) What is the probability that an individual patient will achieve clinically or
   functionally meaningful benefit or harm, for each treatment? (NNT, NNH)
         Why have such studies not been done for “neuropathic pain”, with the rare
exception of such innovative trials as Gilron’s (NEJM 2005) or the other less prominent
trials comparing active treatments? I am aware of several plausible answers, all of which
are probably pertinent:
a) Regulatory bodies such as the U.S. FDA do not require evidence that a drug is
superior to appropriate comparator drugs, only that it is superior to placebo. Thus the
manufacturer’s interest lies primarily, and often exclusively, in attempting to demonstrate
superiority over placebo.
b) There is a risk to running experiments which compare active treatments. One
treatment may “win”, while others lose. This may complicate or torpedo the marketing
of new products. It is especially risky for products which remain on patent but for which
the manufacturer has only a limited interval to recoup development costs and produce
profit. A trial showing disadvantage to a new product vs. an older product would
effectively kill the new one. As an example, Pfizer has not to my knowledge sponsored
trials comparing its formerly patent-protected product Neurontin (gabapentin) with the
newly patented, licensed and anointed “successor” Lyrica (pregabalin). This is a striking
omission which has not been corrected by any independent trialist, and if any studies
were done by Pfizer, their results are unknown. Thus we have no idea whether
pregabalin (Lyrica) is equivalent, superior or inferior to gabapentin (Neurontin) for
any benefits or harms, whether in a clinical trial setting or in the real world. An
experiment showing equivalence, let alone inferiority of pregabalin (Lyrica) to
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gabapentin could be predicted to “kill the goose that will lay the next multi-billion dollar
egg”.
c) Academically-inspired or independent DBRCT (e.g. trials sponsored by public
agencies like the U.S. NIH, Veterans Administration, the United Kingdom NHS or the
Canadian CIHR) are expensive and hard to organize. Although such trials were once the
mainstay of medical progress, for decades they have played second fiddle to drug-
company designed, organized, and managed trials for most clinical issues. Only issues
judged to be of the utmost importance (e.g. some cardiovascular and cancer trials) have
escaped this trend. In the 30 years I have been involved in academic medicine, the
independence of medical scientific investigation has withered, in favour of industrial
dominance of the questions posed, the methods used to answer them, and even the
reporting of results. This is now widely recognized and lamented. (See JAMA, April 16,
2008 for articles describing how the sponsors of trials prepare the results for publication,
then recruit academic “ghost authors” or “key opinion leaders”/KOL’s to assume
authorship - http://jama.ama-assn.org/content/vol299/issue15/index.dtl)
        These are some of the reasons why we do not see major parallel group DBRCT
utilizing what would likely be the optimal strategy to determine the truth, a strategy
exemplified by the ALLHAT trial for treatment of high blood pressure (reported in
2002). For patients with painful diabetic neuropathy, for example, it would be
exceedingly useful to know the results of a large real world trial, comparing not only
important but highly subjective endpoints (e.g. pain scores) but also “hard endpoints”
such as hospitalization, infections, amputations, kidney function, heart disease, and
overall mortality. A rational real world DBRCT could generate meaningful and reliable
answers by using some of the following strategies:

   •   Comparing placebo with gabapentin, and opioid (e.g. morphine), or also with a
       fourth arm (e.g. amitriptyline), to assess whether one treatment has overall
       superiority;

   •   Re-randomization of “therapeutic failures” randomized to one arm to an
       alternative drug, to learn whether patients who do not achieve good outcomes
       with one therapeutic option might do better with another;

   •   Follow-up of all patients for the most meaningful outcomes, including total
       mortality, total serious adverse events (SAE), specific important adverse events,
       functional improvement from disability, overall pain and/or goals pre-specified by
       the patients themselves. The latter technique for experimentation, in which the
       patient and/or family determine the goal(s) of therapy, has been explored in
       experimental studies of drug therapy in Alzheimer disease, which show that it is
       feasible to study in a group the same kinds of outcomes which patients and their
       physicians routinely seek within a therapeutic relationship.
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V) BACKGROUND CONSIDERATIONS - MEDICAL TREATMENT OF PAIN:
        Painful peripheral diabetic neuropathy (PDPN) and post-herpetic neuralgia
(PHN), considered prototypical examples of “neuropathic” pain, were the original
conditions for which gabapentin was used widely, other than for epilepsy. It is clear that
Parke-Davis/Pfizer used these conditions as “levers” to expand the unapproved (off-label)
prescription of Neurontin (gabapentin) for pain. Therefore, I will also use them as
examples to set the background for what a competent physician and a rational patient
would try to achieve in a therapeutic alliance to address the patient’s clinical problem of
pain.
        The distinction between “somatic” or “visceral” versus “neuropathic” pain is
rather arbitrary, since all pain is ultimately experienced by or through neurons in the
brain. For example, pain from an inter-vertebral disc protrusion or an epidural abscess or
tumour deposit could be considered “somatic” or “neuropathic”, depending how one
looks at it. Parke-Davis/Pfizer was quick to point out to its “advisory boards” that
millions of Americans suffer from chronic back pain and headache, both conditions not
traditionally designated “neuropathic”. The afflicted person experiences the same
suffering, regardless of how the condition is labeled by “experts”. This fact is well
known to anyone who has faced chronic pain. Thus, rational therapeutic principles that
apply to “neuropathic” pain apply generally to any painful condition.


a) General background:
         Painful diabetic peripheral neuropathy is often part of a spectrum of diabetic
complications including painless neuropathy and large or small vessel arterial (or venous)
disease. These conditions pose the continuous threat of devastating local or systemic
infections, especially those arising in the feet from lacerations, pressure sores or
ulcers caused by the loss of sensation and impaired circulation in the toes and feet.
Any drug like gabapentin which compromises alertness or reduces sensory perception,
contributes to or causes falls, or causes edema (tissue fluid collection, typically
manifested mostly in the feet), holds the potential to be extremely dangerous in patients
at high risk of infections arising in the diabetic foot. Double blind randomized controlled
trials (DBRCT) enroll selected patients judged to be at the least risk for such
complications (e.g. without significant kidney impairment, without significant or unstable
heart disease, and able to participate and expected to survive the duration of a clinical
trial), whose experience during a brief trial will almost certainly exaggerate the
apparent benefits of drug therapy while underestimating the harms to be expected in
a more representative population.
        Postherpetic neuralgia (PHN) can disable a patient with spontaneous pain or
cause an exaggerated and painful response to stimuli that are not normally painful
(allodynia, dysesthesia). When it affects a limb, or if the pain is severe, PHN may also
affect mobility. Often, pain disturbs sleep. Most patients with significant pain,
especially of longer duration, are elderly; many if not most of these are debilitated
by other conditions. As with PDPN, results from DBRCT enrolling patients with PHN
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are virtually guaranteed to exaggerate the benefits but minimize the harms associated
with drug therapy in this population which is mostly elderly and suffers multiple co-
morbidities which increase frailty.
        There is a constantly increasing pressure and tendency to polypharmacy
amongst patients with diabetes, and also amongst the elderly patients most likely to
suffer significant pain from a reactivation episode of Herpes zoster (PHN). The trend
to polypharmacy intensified greatly in the 1990’s, partly as a byproduct of the rise of
“evidence-based medicine” and the influence of “treatment guidelines” encouraged by
medical organizations, pharmaceutical manufacturers, “disease associations”, and
government, HMO’s or other third party payers. Especially in the litigation prone United
States, guidelines often assume the status of “standard of care” - even when they are
clearly not based on good scientific evidence or obviously biased by sponsorship or
conflicts of interest amongst the “consensus guideline developers”.
        Given this context for a typical patient consulting a doctor for relief of pain
arising from either PDPN or PHN, the rational and ethical physician should consider drug
treatment options with reference to the patient’s other health issues, including potential
interactions of a drug which affects the central nervous system with many other
drugs in simultaneous use by the same patient.
         This is obviously a totally different situation from that of a patient enrolled in a
typical DBRCT, where exclusion criteria and prohibition of potentially dangerous or
interacting medicines is likely to render safe outcomes more likely than in the real world.
It is rather like the difference between giving a teenager the keys to the car for a driving
lesson from a licensed driving school, as opposed to providing the keys to the same car
for a big Saturday night on the town. The encounter with a typical pain patient in clinical
practice embodies a much more complex therapeutic decision process for both patient
and physician than that of most DBRCT or the typical clinical case scenario presented by
a manufacturer-sponsored “pain treatment expert” during an after-dinner lecture.


b) What are the goals of drug therapy for PDPN and PHN (or any other pain)?:
        Common sense goals for both conditions are relatively easy to define for clinical
practice. The patient typically seeks a prescription for the relief of suffering. Pain
inhibits her/his general enjoyment of life, and may interfere with everyday functions such
as social interactions, activities of daily living (dressing, bathing, walking), or with sleep.
Obvious goals of drug (or non-drug) therapy include:
1) Preservation of general health, and avoidance of harm, including death and
serious adverse effects. Although this may not be an explicitly stated goal of therapy, it
is the cardinal underlying principle of ethical medical practice since the time of
Hippocrates: “primum non nocere”.
2) Pain relief which the patient finds meaningful: for example, a successfully treated
patient might state at follow up: “I feel much better now” or “It still bothers me, but not
nearly so much as before”.
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3) Restful sleep, when pain has disturbed sleep: this goal normally applies to the
night time, and clinical utility depends critically on avoidance of daytime
somnolence or potentially dangerous adverse effects such as dizziness. Where
improvement of sleep is the main goal, a relatively short-lived drug treatment may be
desirable and pharmacologically rational, as opposed to an around-the-clock effect.
4) Maintenance or improvement of overall function, including the ability to read,
write, perform household tasks, do routine computations (e.g. for banking or bill paying),
hold conversations, and maintain physical fitness through aerobic exercise. Note that
drugs which may improve sleep often impair overall function. This is one reason, for
example, that benzodiazepines are not approved for long term use as hypnotics.

5) Maintenance or restoration of happiness (mood) in a patient in whom chronic pain
has led to depression or despondency, or to relationship issues with a spouse or partner.

        Note that while DBRCT of pain treatment interventions (notably drugs) often
attempt to measure aspects of these qualitative goals of therapy, common sense
suggests that achieving such qualitative or even categorical (yes/no, success/failure) goals
differs markedly from recording a change on a “pain scale” or on a “SF-36 QOL” form.
Measurement scales typically utilized in DBRCTs may have meaning, and may have
been negotiated between manufacturers and the US FDA as surrogate endpoints
considered acceptable for clinical trials. The development and popularization of such
measurement scales may have generated impressive curricula vitae for academics and led
to promotions, awards and peer recognition. But it is important to recall that the average
suffering patient might be more inclined to ask in regard to a proposed new prescription:
“What’s in it for me?”

        One striking aspect of the promotional materials I reviewed was the graphic
labeled (Pfizer_MYoder_0002511) which shows that as of 2001, “Less than 20% of
New Patients Are Refilling NTN (Neurontin/gabapentin) Prescriptions After Four
Months”. The same graphic shows that only 35-39% or patients renewed prescriptions
after the first month, although they would almost certainly have been under influence (if
not frank pressure) from their physician(s) to renew and probably to increase the dose.
By 11 months, only 5-7% of Americans prescribed Neurontin were renewing their
prescriptions.

        In 2001, most such prescriptions would have been written with the goal of
pain relief. This renewal pattern obviously contrasts markedly with how highly
effective analgesics, such as morphine and other opioids, are utilized by patients
with chronic pain. Although neurologists may have been slightly more persuasive than
primary care doctors during 2001, this graphic indicates that approximately 95% of all
American patients were making their own consuming decisions, probably because they
were not achieving meaningful relief from chronic pain, or they disliked the
toxicities of gabapentin. For convenience, I have reproduced this very telling graphic
below. It may have been a well known (and perhaps dreaded image) amongst Parke-
Davis/Pfizer marketing staff, but I doubt that it would have featured on the “Neurontin”
website, or any similar public venue.
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Graphic apparently presented by Parke-Davis/Pfizer at “advisory board” meeting.
(Pfizer_MYoder_0002511)


c) What should a doctor strive to AVOID when treating pain?

       Drug (or non-drug) therapies for pain should NOT:
1) Increase mortality.
2) Increase serious or symptomatic morbidity (e.g. by causing visual impairment,
confusion, impaired concentration or thinking, impaired balance and consequent falls,
fractures or other injuries, nausea, vomiting, anorexia, or weight loss/weight gain, or
exacerbation of the chronic complications of diabetes such as infection, edema and
impaired wound healing, kidney dysfunction, congestive heart failure or myocardial
infarction, etc.).
        Both mortality and morbidity (as Serious Adverse Events/SAE) are typically
recorded and measured in DBRCT, although their interpretation is contentious, since
SAE as well as mortality may be difficult to relate to the experimental intervention. In
general, a prudent physician should be concerned if DBRCT demonstrate higher
mortality or morbidity (as total SAE or patients experiencing SAE), from an experimental
intervention, even when this effect is “considered unrelated by investigators”. Our
academic group at the UBC Therapeutics Initiative has seen a number of examples where
early signals from DBRCT regarding total mortality and total SAE turned out to be
meaningful warnings that new drugs were inferior to comparators, even though these
drugs cleared licensing hurdles in the United States and Canada and elsewhere (e.g. the
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antibiotic grepafloxacin (Raxar) and the analgesic/anti-inflammatory rofecoxib (Vioxx) –
both withdrawn from the market relatively soon after licensing/marketing).


d) Timing of pain relief:
        Typically both patient and physician seek prompt relief of pain. In the post-
anesthetic recovery room or for a surgical patient receiving “patient-controlled analgesia”
(PCA) on a hospital ward, the goal is to relieve pain almost immediately. A doctor
dealing with severe acute pain (e.g. migraine headache) in her/his office or a nurse
treating pain in the emergency room (e.g. renal colic) typically aims for obvious benefit
within 2-30 minutes. Even a “consumer” using an over-the-counter oral analgesic
such as acetaminophen, ASA, or ibuprofen expects pain relief within minutes to
hours – an expectation reinforced by countless television advertisements featuring actors
posing as golfers, swimmers, Tai Chi practitioners and even dancing marionettes. While
the placebo effect often has a significant role in such prompt relief, there is no clinical
question that opioids and NSAIDs work promptly when they work well.
        For chronic pain which is primarily “physical” in cause (as opposed to chronic
psychological states), it is typically more reasonable to aim for meaningful pain relief
within hours or days, and it may require a few weeks to be certain whether the benefits of
any treatment outweigh its disadvantages (harms). But Franklin’s motto that “a penny
saved is a penny earned” is also not the appropriate metaphor for pain treatment.
Analgesia is not like investing in education or government bonds. Both the suffering
patient and the compassionate prescribing doctor seek a benefit which will not be delayed
for months or years. A drug whose effect is not obvious enough to avoid the necessity
for doctors to “push the dose” or to urge patients to “hang in there” is unlikely to be
helpful to most people.


e) Currently available drug choices for “neuropathic” pain:
        In principle, any drug which is a known analgesic should be considered for
treatment of “neuropathic” pain, just like any other pain. The efficacy of opioids for pain
was established in the Orient well before the time of Christ, and recognized by medical
greats such as Thomas Sydenham and Sir William Osler as “God’s own medicine”.
Morphine and other opioids (e.g. codeine, hydrocodone, hydromorphone, oxycodone,
meperidine, fentanyl, methadone) would not have acquired this reputation were it not for
their almost immediate and dramatic effects on severe pain. Although they also have
significant adverse effects, these are often surprisingly benign and when present (e.g.
constipation) can usually be managed effectively. Thus the benefit of opioid analgesia
overwhelms the harm when appropriate patients are treated, making opioids the mainstay
of treatment of cancer pain because they so dramatically improve the lives of patients.
      Fortunately for Americans, the attitudes of the medical establishment and the U.S.
Government have mellowed from the era of near paranoia over the potential for drug
dependency, diversion of opioids to non-medical uses, or “addiction”. However, the lack
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of pharmaceutical manufacturer interest in conventional opioids such as morphine due to
their relatively low price (off-patent) may have synergized with the former establishment
fear of such drugs. This may explain the paradox that for three decades many drugs
which were almost certainly less efficacious and considerably more dangerous than
opioids (e.g. anticonvulsants, antidepressants, antipsychotics, anti-dysrhythmics,
and topical capsaicin/pepper extract) enjoyed relatively unfettered use for off-label
pain indications.
         Both the prevalent “opioid-phobia” and the perceived lack of commercial benefit
to manufacturers may have limited the design of experimental studies of pain control
using opioids in non-cancerous conditions such as PDPN and PHN. Unlike major
cardiovascular or cancer studies, for which there is an established tradition of
government-supported and academically-designed research, virtually all large pain
studies are manufacturer-funded. With the exception of one placebo-controlled study
utilizing a controlled-release formulation of oxycodone, one does not find experimental
studies of opioids for “neuropathic” pain, even though this had become established
practice for experienced physicians. Not until 2005 was a study comparing gabapentin
with morphine published (Gilron 2005, see below). The scientific and clinical
importance of an experiment comparing gabapentin with the most efficacious known
analgesic (morphine) is attested by the publication of Dr. Gilron’s study as a major
article in the New England Journal of Medicine.
        By 2004 opioids were officially recommended by established American medicine
as one legitimate option for painful peripheral neuropathy. (Dubinsky RM et al. Practice
parameter: treatment of postherpetic neuralgia: an evidence-based report of the Quality Standards
Subcommittee of the American Academy of Neurology. Neurology 2004; 63: 959-65)

        Tricyclic antidepressants (imipramine, amitriptyline, nortriptyline, desipramine,
etc.) have shown modest efficacy (vs. placebo) for painful peripheral neuropathy and
have the advantage of very low cost (off patent). Unfortunately they carry virtually
inevitable anti-cholinergic and alpha-blocking adverse effects, although some patients
clearly tolerate and benefit from them. It is interesting that such adverse effects were
considered less important by pharmaceutical manufacturers while tricyclics were still
under patent protection – for many years, tricyclics were promoted as “miracle drugs” for
depression. Although there was a storm of interest in and promotion of SSRI and other
new antidepressant drugs for pain, there is no conclusive evidence that they are effective
for “neuropathic” or any other pain. Multiple experiments demonstrate lack of efficacy.
         Anticonvulsant drugs (anti-epileptic drugs, AED) have been used with very
limited success in “neuropathic” pain and have found no role in other types of pain.
Typically they are at best modestly effective, and unfortunately they often produce
significant adverse effects in the elderly. However, carbamazepine appears to be
convincingly beneficial for some people with trigeminal neuralgia, a relatively rare
condition; occasionally a dramatic benefit is observed. Unfortunately we have very little
information about how the older drugs (e.g. carbamazepine, phenytoin) might compare
directly with newer anticonvulsants (e.g. gabapentin, pregabalin, topiramate, lamotrigine,
etc.), as manufacturers of new drugs are unlikely to sponsor, let alone design such
experiments which run the risk of showing that an old (off patent) drug is superior or
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equivalent to a new drug. For certain drugs which were heavily promoted for off-label
(non-indicated) use in pain, e.g. topiramate (Topamax) there is abundant clinical evidence
that the results are terrible for patients. Little if any analgesic benefit is achieved, but
there is a wealth of sometimes frightening toxicities. Where a drug like topiramate has
gained an official indication for a painful condition like migraine, a rational inspection of
the evidence shows clearly that the new drug is not superior to, and likely markedly
inferior to a comparator (e.g. propranolol for migraine).
        Non-steroidal anti-inflammatory drugs (NSAIDs, e.g. ibuprofen, naproxen,
diclofenac, ASA, “COX-2 selective inhibitors”/coxibs) and acetaminophen typically have
very limited utility for “neuropathic pain”, especially for PDPN or PHN, and the NSAID
class (including the newer on-patent drugs) risks impairment of renal function,
cardiovascular function and/or gastrointestinal bleeding. Renal and cardiovascular
effects are especially problematic in diabetics given their common co-morbidities, and all
NSAID toxicities are especially dangerous in old people.
        In Canada and Europe, prescription of opioids for chronic non-malignant pain is
increasingly common. The advantages of opioids include remarkable efficacy for
moderate to severe pain, safety for the GI tract, the kidneys, the liver, the heart, and other
organs, and (depending on the drug and preparation) modest cost. The disadvantages are
well known, including the risk of respiratory depression, somnolence or mental
impairment, constipation, and occasionally dose-limiting nausea or vomiting or
confusion/delirium. Professional bodies in Canada, in deference to the significant
pharmacologic advantages of opioids, officially sanctioned their use for chronic non-
malignant pain in advance of their counterparts in the United States. (e.g.: Evidence-based
recommendations for medical management of chronic non-malignant pain: chapter 7. Neuropathic pain,
College of Physicians and Surgeons. Nov 2000. http://www.cpso.on.ca/publications/pain.PDF, accessed
July 18, 2008) Hence, the most appropriate comparator drug class for clinical trials in
significant pain is almost certainly the opioid class.


e) How common are PDPN and PHN?


        This is a relevant question, as much of the marketing of gabapentin (Neurontin)
by Parke-Davis and Pfizer tended to exaggerate (at least by implication) the prevalence of
these conditions. This approach, which appears to me to have been accepted uncritically
by members of “advisory boards”, is hardly unique to the field of pain. Inflation of the
true incidence and prevalence of depression and other conditions, is now referred to as
“disease mongering”. For Neurontin (gabapentin), the implication by the manufacturer,
or the inference by its audiences, that PDPN and PHN represent virtual “epidemics” of
inadequately treated pain may also have functioned as a “lever” to increase the use of this
drug for other purposes for which there was no relevant experimental evidence
whatsoever. Chronic back pain, for example, is so ubiquitous that “market creep” of
gabapentin into this sector would have or did represent a “gold mine” for the
manufacturer.
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       While both painful diabetic peripheral neuropathy (painful DPN) and
postherpetic neuralgia (PHN) cause significant suffering, their true incidence and
prevalence is not known.


1) Painful diabetic peripheral neuropathy (PDPN):
        PDPN is a small subset of a much more common condition, diabetic peripheral
neuropathy (DPN). Many diabetic patients experience painless neuropathy. Indeed, it is
the inability to sense normal painful stimuli which leads to one of the most feared
complications of diabetes: silent infection of the toes and feet, which can lead to chronic
infection, partial limb amputation, prolonged hospital stays, high medical costs, and
premature death. Estimates of the prevalence of DPN are irrelevant to the prevalence of
painful diabetic peripheral neuropathy (PDPN), for which a reliable estimate is
unavailable. The most reasonable prevalence estimates for diabetic neuropathy
sufficiently painful to warrant drug therapy ranges from 1% - 10% of chronic diabetics.
(Dyck PJ et al. The prevalence by staged severity of various types of diabetic neuropathy, retinopathy, and
nephropathy in a population-based cohort: the Rochester Diabetic Neuropathy Study. Neurology 1993; 43:
817-24; Boulton A. Management of Diabetic Peripheral Neuropathy. Clinical Diabetes 2005; 23: 9-15)



2) Post-herpetic neuralgia (PHN):
        A U.S. administrative database study comprising over 2.8 million people found an
overall incidence of Herpes zoster infection of 3.2/1,000 person-years. (Insinga RP et al.
The incidence of herpes zoster in a United States administrative database. J of Gen Internal Medicine 2005;
20: 748-753) Of 9,152 apparent cases of Herpes zoster, 48% occurred in people > age 60,
and over 10% in people > age 80. Such estimates apply to acute Herpes zoster
reactivation, of which only a small minority progress to PHN. A prospective Icelandic
study of 421 patients with clinically diagnosed acute Herpes zoster may provide a more
realistic estimate of the prevalence of a persistent pain syndrome – PHN. (Helgason S et al.
Prevalence of postherpetic neuralgia after a first episode of herpes zoster: prospective study with long term
follow up. BMJ 2000; 321: 794-6) This experiment reflects the experience of over one third of
the Icelandic population during a 5.5 year interval. In patients < 60 years old, PHN was
present 3 months post-onset of acute Herpes zoster reactivation in only 1.8%, and was
“mild” in all cases. Amongst patients aged > 60, pain persisted in 20% at 3 months, but
in only 2% was pain described as “severe”. At 12 month follow-up, 403/417 evaluable
patients were pain free, whereas 14 of the original 421 patients reported mild pain (12)
or moderate pain (2). No patient complained of “severe” pain at 12 month follow-up.
The report concludes,“…the risk of longstanding pain has been overemphasized in
trials of drug treatments”. A retrospective analysis of a Dutch general practice database
comprising 49,000 patients suggested annual incidence of Herpes zoster reactivation of
3.4/1000 patients/year. Amongst such patients presenting with acute Herpes zoster, the
overall prevalence of PHN 1 month later was 6.5%, but had declined to 2.6% by 3
months. Of 133 patients aged > 75, the 1-month prevalence was 18%, but declined to 9%
by 3 months. (Opstelten W et al. Herpes zoster and postherpetic neuralgia: incidence and risk indicators
using a general practice research database. Fam Pract 2002; 19: 471-475) In summary, the true
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prevalence of clinically significant pain from PHN is unknown, but as for PDPN, it is
likely to be much lower than implied by the introductory or discussion sections of many
research or review articles on this topic, or in the intensive marketing campaign
conducted by Parke-Davis/Pfizer for Neurontin. As noted above, the major burden of
chronic pain from PHN occurs in elderly patients, who are the most vulnerable to
the adverse effects of gabapentin or other analgesics.




VI) MY APPROACH TO ANSWERING QUESTIONS TO BE ADDRESSED:


a) Initial review of available clinical trials and search for reliable systematic
reviews:
        You presented me in March 2008 with a massive amount of information in the
form of electronic (PDF) versions of various published and unpublished reports of
randomized controlled trials (both open and double blind) utilizing gabapentin for
treatment of various painful conditions. These included painful diabetic peripheral
neuropathy (PDPN), postherpetic neuralgia (PHN), various post-operative causes of
“neuropathic pain”, “neuropathic pain” associated with cancer, “neuropathic pain”
associated with spinal cord injury, and pain associated with dental procedures,
osteoarthritis and with orthopedic surgical operations. Some of the documentation of
DBRCT experiments was in the form of detailed formal clinical trial reports compiled by
the sponsoring pharmaceutical manufacturer (Parke-Davis or Pfizer), with appendices
often exceeding 1300 pages – and some much longer! Most academic students of
clinical trials literature, let alone practicing doctors, will not have seen this type of “in-
house” report previously. I could see from differences apparent in the full PDPN 945-
210 trial report(s) that it would be necessary to compare the published DBRCT reports
with the original “in-house” complete trial report(s), where the latter were available.
         Facing this task, as would many people experienced with reading and performing
systematic reviews, I reverted to the practical approach of looking for a Cochrane
systematic review pertaining to the use of gabapentin for pain. The most recent review,
published in 2005 (Wiffen PJ, McQuay HJ, Edwards JE, Moore RA. Gabapentin for
acute and chronic pain. The Cochrane Database of Systematic Reviews 2005, Issue 3.
Art. No.: CD005452. DOI: 10.1002/14651858.CD005452) is based on a revision of an
earlier review of the use of anticonvulsants to treat pain. Unfortunately, while the new
version contains some additional information, it is sufficiently flawed that it did not spare
me the task of performing my own systematic review, for the following reasons:
1. The Cochrane review had no access to the unpublished reports obtained by Greene &
Hoffman, which contain large amounts of data and include studies which did not find a
significant benefit from gabapentin. These studies were not submitted to, nor
published in medical journals, nor made available to the general medical or scientific
reader, nor even (apparently) to “medical advisory boards” which consulted for Parke-
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Davis or Pfizer. (I found no evidence in the promotional materials I reviewed that the
unpublished trial results, or even the existence of trials which generated negative
findings, were shared with physicians and scientists who attended such “advisory board”
or “CME” meetings. There must have been literally dozens, if not hundreds of
opportunities for Parke-Davis/Pfizer and its medical agents (including the “clinical
investigators” who participated in the unpublished trials) to share the unpublished
evidence with the very doctors who were being encouraged to prescribe Neurontin.
Given that no one appears to have availed him or herself of such opportunities for full
disclosure, it is not surprising that academics or physicians outside what one might call
the “Neurontin circle” might have been even more ignorant of what remained occult.)
Hence, the Cochrane 2005 systematic review of gabapentin is irremediably
compromised by “publication bias”, although the Cochrane reviewers at Oxford
University may not have realized this. During my visit to your Boston office in April
2008, you showed me internal e-mail correspondence from Pfizer indicating that Pfizer
had been in touch with Professors Wiffen and McQuay during the preparation of the 2005
updated review. Presumably Pfizer could have shared all remaining unpublished data
with the Oxford pain group so as to render the updated 2005 review complete and
authoritative, had the company so wished. The Cochrane 2005 review authors dealt with
this question only by stating that “Publication bias was not explored as current methods
are not reliable”. (Wiffen PJ et al. 2005. p. 3)
2. Similarly, the Cochrane reviewers did not enjoy access even to the real (unexpurgated)
details of published clinical trials (e.g. Gorson 1999). The original unpublished but
detailed study publications (ParkeDavis/Pfizer documents critically appraised in an
Appendix to my report) show that some of the statistics utilized for the Cochrane review
do not correspond with the real data. Notably, the denominators for the placebo and
gabapentin groups are at times inappropriately recorded. Restricting the denominator to
only some of the subjects (e.g. those who completed the trial) violates conventional
“intention to treat (ITT)” principles, which are designed to ensure that all experimental
subjects are accounted for, not just those whose outcomes please or interest the
investigators. The Cochrane 2005 “methods of the review” section states explicitly that
“Intention-to-treat analysis was not carried out and patients who dropped out of studies
were not included in the analysis”. I cannot understand why this approach was taken,
given the well known problems that arise in the interpretation of studies from which
experimental subjects are lost to follow up.
3. Two trials included in the 2005 Cochrane review appear to be of very doubtful
veracity, such that I could not myself conclude that it was reasonable to compare them in
a systematic review with the other, apparently genuine trials. The Cochrane reviewers
state that they confirmed from Perez 2000 that the study was randomized and double
blind, but this does not seem plausible from the original study report, a < 1-page letter in
the American Journal of Medicine. Similarly, the Cochrane reviewers took at face value
Simpson 2001, a peculiar study published in a new and obscure journal, the purported
results of which Pfizer and its expert correspondent Dr. Robert Dworkin considered
highly suspicious. (Pfizer_LKnapp_0060187-91 and 0083148-50) The publication of
Simpson 2001 in the Journal of Clinical Neuromuscular Disease 2001 does not meet
standard reporting requirements. The Cochrane reviewers could have, but did not note
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this. However, had they been aware of Pfizer’s concerns about the validity (or even real
existence) of this study, I wonder whether they would have chosen to include this study
in their systematic review.
4. Two trials included in the Cochrane 2005 review (Dirks 2002 and Pandey 2002) are of
doubtful relevance to the questions I was asked to address. Dirks 2002 relates to very
brief (4 hour) post-operative assessment of surgical patients for endpoints not shared with
and of very doubtful relevance to other studies, whereas Pandey 2002 relates to
ventilator-dependent patients with Guillain-Barre syndrome, a very specialized situation
also not relevant to the other studies or the questions I sought to answer. (I subsequently
identified a large number of other surgical or peri-operative studies which are similarly
irrelevant to the outpatient prescribing of gabapentin, which is evidently the basis for the
lawsuit in which my opinion is sought.)
5. The Cochrane review is also technically flawed insofar as the Forrest plot figures are
mislabeled. This makes it difficult to know what outcomes are being reported, and would
lead the lazy or superficial reader to peruse only the Abstract and perhaps accept the
conclusions at face value, without troubling to figure out what the mislabeled Forrest
plots really mean. Furthermore, the numbers utilized do not always correspond from one
figure to another, nor with the real figures available from the full (unpublished) trial
reports. The authors conclude “enrichment bias” only for studies that specify exclusion
of patients who did not achieve satisfactory pain relief on gabapentin, whereas I conclude
at least potential “enrichment bias” for studies (e.g. Backonja 1998, Rowbotham 1998)
which excluded patients previously treated with or “hypersensitive” to gabapentin. In my
opinion, such exclusions could selectively remove from the randomized population those
patients who had failed to receive benefit from, or who experienced toxicity from
gabapentin, rather than fairly representing “all comers” presenting for screening.
Unfortunately, despite the eminence of its authors, the Cochrane 2005 review is generally
too sloppy to be considered reliable, even if one were not aware of the omitted
unpublished studies which comprise a very substantial fraction of all patients
experimentally exposed to gabapentin in DBRCT.
6. Additional studies have been completed and reported (relatively large unpublished
reports and smaller published studies) since completion and publication of the Cochrane
review.
        When I looked initially at the 2005 Cochrane systematic review in your Boston
offices on April 1st, you may recall that I was surprised at the mislabeling of figures and
convinced that I could not be looking at the final published Cochrane systematic review.
I confirmed that I was by an independent search, and notified the lead author (PJ Wiffen)
by email. He subsequently confirmed by return email the mislabeling of figures and
indicated his plan to correct this.
        I later identified another more recent systematic review of the treatment of
painful diabetic neuropathy (Wong MC, Chung JWY, and Wong TKS. Effects of
treatment for symptoms of painful diabetic neuropathy: systematic review. BMJ
2007;335:87; doi:10.1136/bmj.39213.565972.AE). However this review did not obviate
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the need for our own meticulous systematic review, as it only concerned one condition
(PDPN) and enjoyed no access to the unpublished experimental data for gabapentin.
        On July 29, 2008 you sent me electronically an “Expert Report of Nicholas P.
Jewell, Ph.D.” prepared by Dr. Jewell of the University of California School of Public
Health, and bearing the same date. This document is discussed briefly later in my report.


b) Decision to undertake our own systematic review:
        It thus became apparent that I would have to undertake my own systematic review
involving a complete and thorough critical appraisal of all available trials (published and
unpublished) and a meta-analysis of those trial outcomes which are amenable to meta-
analysis (pre-defined standardized outcomes common to more than 1 DBRCT). Before
proceeding to detailed evaluation of the results of individual trials, my Vancouver
colleagues and I discussed and agreed on the following strategy for an independent
Cochrane systematic review, utilizing the standard Cochrane hierarchy of clinical
outcomes adapted to this project. We were influenced as appropriate by the principles
adopted by Wiffin PJ et al in the 2005 Cochrane review of gabapentin. Note that a
fundamental principle of such reviews is that the methodology should be transparent, the
strategy clear, the quality of the work unimpeachable and the results reproducible by
anyone following the same strategy. Obviously it would be desirable for the results of my
systematic review to be made public at the earliest possible opportunity.


c) Strategy for independent Cochrane systematic review of gabapentin for pain
Background:
      Controlled trials of gabapentin for pain use varying outcomes, some of which are
incompatible for meta-analysis. There is no “consensus” on the most meaningful
outcomes in acute or chronic pain. Some frequently proposed useful measures include:

   •   Percentage of patients achieving > 50% reduction of individual pain scores on
       numerical rating scale (NRS) or visual analog scale (VAS) at pre-specified
       “endpoint” vs. baseline;
   •   Percentage of patients achieving > 2-point reduction in a 10-point NRS (or VAS);
   •   Percentage of patients achieving “much” or “moderate” overall improvement,
       rated as either 1 or 2 on a self-rated 7-point categorical rating scale, the Patient
       Global Impression of Change (PGIC), or an analogous 7-point scale.

Note that the mean difference in pain scores between groups, unless dramatic, tells one
almost nothing about how the individual patients have responded, or the probability that
one patient treated by one doctor can expect meaningful benefit (or harm).
        We considered this variability in how results of drug studies for pain are reported
and interpreted. After considering how the Cochrane Pain Group (Wiffen PJ et al) chose
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its hierarchy of outcome measures for the 2005 Cochrane systematic review of
gabapentin, as well as other views on meaningful outcomes in pain studies and basic
common sense concerning outcomes most meaningful to patients suffering from
clinically significant pain, we agreed on the following outcome hierarchy before
commencing our meta-analysis. The hierarchy follows the usual Cochrane practice for
ordering the importance of events which occur during a DBRCT, i.e. mortality, serious
adverse events, etc. – a standard of reporting common to the best modern clinical trials:


Hierarchy of outcomes adopted on July 8, 2008 for meta-analysis (all by true Intention
to Treat/ITT, whereby all patients exposed to at least one dose of the study drug are
accounted for).

1. Mortality (typically not expected in short term pain studies, except for cancer)

2. Serious adverse events (SAE)

3. Withdrawals due to adverse events (WDAE)

4. Total withdrawals

5. Total adverse events (AE, as patients experiencing AE and as individual most
clinically relevant adverse events (where available and comparable across multiple
studies)

6. Validated measures or obvious measures of improvement in global function including
return to work, study, activities of daily living

7. > 50% reduction in pain score (NRS, VRS) from baseline to endpoint (categorical
variable, as used by Cochrane pain group), where this was a pre-defined primary or
secondary endpoint in a trial (avoids post-hoc analysis; any drop out from a trial whose
categorical status is not reported will be assumed not to have achieved the desirable
outcome)

8. Mean between-group difference in change of pain score (NRS, VRS) from baseline to
pre-defined endpoint by true intention to treat (ITT) – where this was the pre-defined
primary endpoint in a trial (NB: where true ITT is impossible due to missing
observations, we will discuss for that trial the potential bias arising from substitution of
last observation carried forward (LOCF) data, or omission of data from early drop-outs)

9. % of patients achieving “much improved” or “moderately improved” (categorical
variable, as used by Cochrane pain group) on Patient Global Impression of Change
(PGIC, values 1 [“much improved”] and 2 [“moderately improved”] on a 7-point ordinal
scale) where this was a pre-defined primary or secondary endpoint in a trial (avoids
post-hoc analysis; any drop out from a trial whose score is not reported will be assumed
not to have achieved the desirable outcome)
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10. Descriptive statistics:

       a) Total adverse events (AE) experienced during each study which reported total
          AE (one patient may experience more than one AE – such statistics are not
          suitable for meta-analysis)

       b) Summary of PGIC for all studies which reported this 7-point outcome as table
          and graphical (histogram) presentation (predetermined rule, July 8, 2008:
          presentation will be by total numerator = total N for each treatment arm for
          each of 7 PGIC categories [1, 2, … 7] divided by the true denominator = total N
          randomized to each treatment group) across all studies, for placebo, gabapentin,
          or other comparators)


Search strategy:
        Along with my colleague Dr.Vijaya Musini, I used a variety of conventional
search strategies as well as frequent Google searches and searches prompted by
identification of references from research reports of RCT, reviews, systematic reviews,
Parke-Davis/Pfizer promotional materials, the unpublished Parke-Davis and Pfizer
documents you sent me in March 2008 as a CD, and any other source we could identify.
We identified some references missed by the conventional computer-based search
strategies. Some of these have also been missed by other authors of review articles and
systematic reviews featuring gabapentin. We decided to exclude trials which dealt only
with the peri-operative setting, on the grounds that the results are inapplicable to the
outpatient setting and the methodology is typically entirely different from the outpatient
trials. Dr. Musini ran several formal computerized literature searches using strategies
including the following approaches. The results of these searches are widely available
and therefore redundant to list in this report, but they are available upon request.
Database: EMBASE <1980 to 2008 Week 29>
Search Strategy:
--------------------------------------------------------------------------------
1 gabapentin.mp. or exp GABAPENTIN/ (10805)
2 randomized clinical trial.mp. (6809)
3 randomised clinical trial.mp. (849)
4 randomized.mp. (247310)
5 randomised.mp. (33532)
6 2 or 3 or 4 or 5 (263104)
7 double blind.mp. (102116)
8 1 and 6 and 7 (365)
9 neuropathic pain.mp. or Neuropathic Pain/ (7571)
10 8 and 9 (66)
11 from 10 keep 1-66 (66)

Database: Ovid MEDLINE(R) 1950 to Present with Daily Update
Search Strategy:
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--------------------------------------------------------------------------------
1 gabapentin.mp. or exp GABAPENTIN/ (2667)
2 randomized clinical trial.mp. (7560)
3 randomised clinical trial.mp. (873)
4 randomized.mp. (359665)
5 randomised.mp. (35941)
6 2 or 3 or 4 or 5 (368424)
7 double blind.mp. (118040)
8 1 and 6 and 7 (229)
9 neuropathic pain.mp. or Neuropathic Pain/ (4843)
10 8 and 9 (40)
11 [from 10 keep 1-66] (0)
12 1 and 6 and 9 (88)
13 from 10 keep 1-40 (40)

Database: MEDLINE and
Database: Cochrane database of systematic reviews: Key words : gabapentin,
randomized , double blind, neuropathic pain

Database: DARE

Database: Cochrane CENTRAL

Database: International Pharmaceutical Abstracts <1970 to July 2008>
Search Strategy:
--------------------------------------------------------------------------------
1 gabapentin.mp. or exp GABAPENTIN/ (540)
2 randomized clinical trial.mp. (440)
3 randomised clinical trial.mp. (40)
4 randomized.mp. (20022)
5 randomised.mp. (1821)
6 2 or 3 or 4 or 5 (21582)
7 double blind.mp. (13775)
8 1 and 6 and 7 (24)
9 from 8 keep 1-24 (24)

        The only DBRCTs discovered through a search independent of these techniques
are apparently unreported trials, described only in press releases and brief webpage
articles on the website (http://www.depomedinc.com/view.cfm/1285/Our-Pipeline) of
Depomed Inc. of Menlo Park, CA. I sent e-mail requests for additional details to the
company on July 27 and July 29, 2008 for additional details, but these were not
responded to. The trials are described briefly below, since there is no information
suitable for critical appraisal, summary, nor for meta-analysis, but the failure to publish
the results may reflect information which is relevant to my overall conclusions.
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List of references reviewed and critically appraised:

        The Appendix labeled “APPENDIX – GABAPENTIN PROJECT Pain Studies
Summary Matrix – FINAL – August 7, 2008 – Dr. Thomas L. Perry” lists the published
and unpublished studies critically appraised, including the few studies which we deemed
inappropriate to include in our meta-analysis. The following studies were not critically
appraised: Simpson 2001 (of questionable validity, see discussion below), 1032-004/720-
04481.pdf (sub-study of gastroprotection, irrelevant), McCleane 2000 (not suitable for
meta-analysis due to inadequate reporting), Spira 2001 (migraine prophylaxis study, not
suitable for meta-analysis). The full bibliographic references are included in the left hand
columns of this matrix.


Critical appraisal of articles:

        I began the critical appraisal of articles by comparing the published and
unpublished reports of the Gorson and Backonja trials reporting the use of gabapentin for
PDPN to identify the key issues for critical appraisal. I then constructed tables to use as
templates so that we could perform a similar critical appraisal for each study we
identified. What may not meet the eye is the enormous amount of work necessary to
review thoroughly the unpublished reports, as well as to understand the subtle
implications of omissions or varying ways of presenting data in the published reports
(whether Parke-Davis/Pfizer designed trials or independently designed experiments).

      The individual critical appraisal study summaries of trials are presented in an
Appendix to my report designated GABAPENTIN PROJECT Study detail
summaries. This includes:

•    25 published and unpublished study reports describing experimental use of
     gabapentin for chronic pain which were suitable for meta-analysis of at least some
     outcomes;
•    6 study reports describing use of gabapentin for acute pain which were not suitable
     for our meta-analysis of chronic pain outcomes;
•    2 published study reports describing use of gabapentin for chronic pain which were
     not suitable for meta-analysis due to reporting or study quality issues.

       Due to the immense time requirement of this project, I reviewed and accepted the
summaries of the 5 unpublished acute pain trials prepared by Ms. Kelsey Innes, without
having attempted to review personally the hundreds or thousands of pages in the PDF
versions of the trial reports. Ms. Kelsey demonstrated a meticulous mathematical
approach which I checked carefully for the chronic pain studies of Gorson, Rowbotham
and Rice; I am therefore confident of the accuracy of her extraction of results into the
following study detail summaries: Protocol 1035-001 and Protocol 1035-001, Addendum
B, both concerning pain after dental surgery; Protocol 1035-002 concerning post-
operative pain after major orthopedic surgery; Protocol 1032-001 concerning post-
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operative dental pain; and 1032-002/3 concerning pain from osteoarthritis (see
Appendix).

        These unpublished trials concern acute pain. They are not suitable for meta-
analysis with the chronic pain trials. However, they are highly relevant to the
questions you posed, and fascinating insofar as they show unequivocally and
repeatedly that gabapentin is not useful for a variety of types of acute pain. It is a
pity that they were not published soon after their completion and Parke-Davis/Pfizer’s
internal and confidential reporting of the results during the year 2000.



Presentation of evidence (Appendices):

1. Matrix of studies identified and critically appraised:

You supplied me on April 1, 2008 with a matrix of studies of which you were aware. I
retained the basic structure of the matrix but modified the headings or presentation
slightly so as to identify trials in the chronological order in which the trials were
conducted. Because of the large numbers of electronic documents to be handled, it
became impractical to renumber the studies when we identified 3 more trials on July 26-
28, 2008. Therefore the final 3 trials (Study No. 23, 24, 25) in the chronic pain section of
the matrix are not shown in the appropriate chronological order. The matrix also serves
as the reference list for studies reviewed, including the unpublished Parke-Davis/Pfizer
studies. This matrix is labeled: APPENDIX - GABAPENTIN PROJECT Pain
Studies Summary Matrix - FINAL – August 8, 2008, Thomas L. Perry, M.D.

2. Detailed critical appraisal study summaries:

This Appendix, GABAPENTIN PROJECT Study detail summaries, presents the basic
methodology, outcomes, and statistical or critical appraisals of each study reviewed in
detail, along with my observations or conclusions particular to each study.

3. Meta-analysis summary tables:

The evidence regarding outcomes from the above hierarchy is extracted from the critical
appraisal of each DBRCT (and safety outcomes as appropriate from open RCT) in the
form of summary tables presented in the appendix for each study meta-analysed. These
are labeled as: APPENDIX - GABAPENTIN PROJECT Pain Studies Summary
Outcomes for Meta-Analysis - FINAL – August 8, 2008 AND July 30, 2008, Thomas
L. Perry, M.D.

4. Meta-analysis Forrest plot figures:

Forrest plots, popularized by the Cochrane Collaboration, provide a simple way to
summarize large amounts of data in a format that can easily be understood and
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interpreted by people familiar with the format. These will be familiar to any medical
scientists, physicians experienced with the modern medical scientific literature, and
epidemiologists or clinical trial specialists who may look at this report. Hopefully they
will also be intelligible to the Court. These are presented for the outcomes described
above, using data from those studies which contribute usable data to the meta-analysis
(see our pre-determined rules of July 8, 2008 above). The Forrest plots are labeled as:
APPENDIX - GABAPENTIN PROJECT Forrest plot outcomes of Meta-Analysis -
FINAL – July 30, 2008, Thomas L. Perry, M.D.

NB: The Forrest plot analyses represent results obtainable by a meticulous critical
appraisal of published and unpublished reports. For some of the unpublished reports,
because of the detail available to someone willing to read them meticulously, it is
possible to be more certain of numerators and denominators for experimental groups
(placebo, gabapentin at various doses) and for outcome measures (total AE, NRS mean
pain score, PGIC, etc.) than for some of the published reports. However such analyses
(Forrest plot, meta-analysis, systematic review) are still only as reliable as the data input
into the statistical analysis software (Cochrane RevMan). Therefore I reserve the right to
modify the Forrest plots and any other aspect of this analysis should I subsequently
receive information indicating that the data inputs are incorrect in any way, or if
additional data suitable for meta-analysis come to light (e.g. further unpublished trials, or
published trials missed by the literature search technique). For example, I understand
from you that Pfizer performed an additional post-hoc analysis of the Serpell trial of
patients with “mixed neuropathic pain” (945-306). I have not seen this post-hoc analysis,
but I understand that it may have been performed to segregate patients with PHN from
those with PDPN or with other causes of “neuropathic pain” (e.g. CPRS, who constituted
28% of the patients in this trial). Were the results of this analysis available, it might be
possible to re-analyse the data from the Serpell trial (945-306) so as to EXCLUDE data
from patients with PHN and/or to analyse ONLY data from patients with PDPN,
depending on how these results are presented in Pfizer documents or reports.
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VII) EVIDENCE GLEANED FROM SYSTEMATIC REVIEW:

        The beauty of the Forrest plot analysis is that it provides apparently simple
answers to certain questions. By pooling all the available information from all relevant
DBRCTs it yields, for example, the “weighted mean difference” (WMD), the apparent
best estimate of the mean effect of gabapentin vs. placebo on an 11-point pain scale. For
a categorical endpoint, meta-analysis yields a number needed to treat (NNT) with
gabapentin (vs. placebo), e.g. for one patient to experience a > 50% reduction in the same
pain scale from baseline to study “endpoint”. The results of these comparisons are
presented below in the order of the outcomes hierarchy described above:

Hierarchy of outcomes:
NB: During labeling of our Forrest plots the code numbers (e.g. “Outcome 03”, or “Outcome 04”) may not
be consistent. I have listed the “Outcomes” in the form they are shown in the Forrest plots, but ordered the
English language outcomes (e.g. “Mortality”, “Total Withdrawals”) in the same order as in our prespecified
hierarchy of outcomes.

1. Mortality, Outcome 01:

In short term studies there is no difference between gabapentin and placebo (RR with
95% CI = 0.92 (0.21, 3.97), and (from the few small pertinent DBRCT which are meta-
analysable) no difference between gabapentin and active comparators.

2. Serious adverse events (SAE), Outcome 02:

In short term studies there is no difference between gabapentin and placebo (RR with
95% CI = 1.15 (0.74, 1.77), and no difference between gabapentin vs. active
comparators (RR with 95% CI = 1.21 (0.47, 3.10).

3. Withdrawals due to adverse events (WDAE), Outcome 04:

In short term studies there is a statistically significant difference between gabapentin
and placebo (RR with 95% CI = 1.36 (1.07, 1.73), favouring placebo over gabapentin.
Significantly more patients treated with gabapentin withdrew from trials due to
adverse events, with absolute risk increase = 2.9%, NNH =35, typically over a short
period (days to a few weeks). Among the much smaller number of patients enrolled in
trials of gabapentin vs. active comparators (total patients = 210, vs. total patients 2,708
for placebo-controlled trials of gabapentin for pain) no difference is observed between
gabapentin vs. active comparators (RR with 95% CI = 1.21 (0.47, 3.10).

4. Total withdrawals, Outcome 03:

In short term studies there is no difference between gabapentin and placebo (RR with
95% CI = 1.06 (0.90, 1.24), and no difference between gabapentin vs. active
comparators (RR with 95% CI = 1.04 (0.55, 1.94)
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5. Total number of patients with adverse events (AE), Outcome 09:

In short term studies there is a statistically significant difference between gabapentin
and placebo (RR with 95% CI = 1.25 (1.17, 1.34) favouring placebo over gabapentin.
Significantly more patients treated with gabapentin than with placebo experienced
AE, with absolute risk increase = 12.4%, NNH = 8, typically over a short period (days
to weeks). In the only trial of gabapentin vs. active comparator (amitriptyline) which
reports this outcome in a form suitable for meta-analysis no difference is observed
between gabapentin vs. amitriptyline (see Forrest plot for Morello trial).

Patients treated with gabapentin experienced significantly more of the following
AE’s, compared with those treated with placebo (not all trials compare similar
outcomes, see Forrest plot Appendix for further details):

   a)   Dizziness: absolute risk increase 17.8%, NNH = 6
   b)   Somnolence: absolute risk increase 15.3%, NNH = 7
   c)   Confusion: absolute risk increase 10.1%, NNH = 10
   d)   Ataxia: absolute risk increase 10.1%, NNH = 10
   e)   Lethargy: absolute risk increase 10.1%, NNH = 10
   f)   Aesthenia: absolute risk increase 4%, NNH = 25
   g)   Lightheadedness: absolute risk increase 13.4%, NNH = 7.5
   h)   All CNS events: absolute risk increase 12.5%, NNH = 8
   i)   Edema: absolute risk increase 8.9%, NNH = 11

This shows that the chance that highly selected patients (with lower than average risk for
adverse events and higher than average expectation of benefit) would experience an
adverse event during gabapentin short term therapy (vs. placebo) was approximately the
same as the chance that they would perceive a benefit (see below).

6. Validated measures or obvious measures of improvement in global function
including return to work, study, activities of daily living:

No trials reported this outcome. No relevant information is available as the scores
utilized in various trials do not report hard outcomes such as the above.

7. > 50% reduction in pain score (NRS, VRS) from baseline to endpoint, Outcome 07:

In short term studies there is a statistically significant difference between gabapentin
and placebo (RR with 95% CI = 1.72 (1.36, 2.17) favouring gabapentin over placebo.
Significantly more patients treated with gabapentin than with placebo rated their
pain as reduced by > 50%, with absolute difference = 13%, NNT = 8, at the end of
study. However, the definition of such “responders” in most studies appears to include
people who dropped out early, almost certainly including some who dropped out because
of adverse effects. Thus the benefit may not be unmitigated. In the only trial of
gabapentin vs. active comparator (nortriptyline) which reports this outcome in a form
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suitable for meta-analysis no difference is observed between gabapentin vs. amitriptyline
(see Forrest plot for Chandra trial).

8. Mean change from baseline in NRS/VAS pain score, Outcome 06:

In short term studies there is a statistically significant difference between gabapentin
and placebo (WMD with 95% CI = -0.78 (-0.99, -0.58) favouring gabapentin over
placebo. Gabapentin was associated with a weighted mean difference by the end of
study (LOCF) of –0.78, vs. placebo, on an 11-point scale. No trial of gabapentin vs.
active comparator reports this outcome in a form suitable for meta-analysis.

9. PGIC “moderately or much improved” as % of patients, Outcome 05:

In short term studies there is a statistically significant difference between gabapentin
and placebo (RR with 95% CI = 1.78 (1.53, 2.07) favouring gabapentin over placebo.
Significantly more patients treated with gabapentin than with placebo rated
themselves “moderately or much improved”, with absolute difference = 17.2%,
NNT = 6. No trial of gabapentin vs. active comparator reports this outcome in a form
suitable for meta-analysis.

10. Descriptive statistics:

Total adverse events (AE) are reported by study in the APPENDIX –GABAPENTIN
PROJECT – Summary tables for Forrest plot analysis. They are not amenable to
analysis since they have no appropriate denominators (one patient may have more than
one AE). Histograms of outcomes on PGIC have been included in some of the study
detailed summary reports, and an overall histogram is also presented.


What does this all mean?

       It is important not to “lose sight of the forest for the trees”. Overall, this analysis
shows that for the available published and unpublished studies of gabapentin for chronic
pain:

   a) The average apparent benefit on an 11-point pain score over a number of weeks,
      compared with placebo, was less than 1 point (best estimate: 0.78 point, range of
      statistically valid estimate: about 0.6 to 1 point on an 11-point scale). This overall
      best estimate of the “benefit” of gabapentin is essentially clinically meaningless.
      It is substantially less than the estimate of the effect of this “primary outcome”
      obtained from the published trials which formed the basis for the aggressive
      marketing of Neurontin by Parke-Davis/Pfizer and its medical allies.

   b) The probability that a patient might achieve a more clinically meaningful benefit,
      expressed as the chance of achieving a > 50% reduction in the same pain score
      from start to finish of the clinical trial (or withdrawal from it) looks on the surface
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       to be somewhat more interesting: one of eight patients taking gabapentin rather
       than placebo might expect this outcome; NNT = 8.

   c) Similarly, one in six patients taking gabapentin rather than placebo could expect
      to achieve “moderate or much improvement” on end of study PGIC, NNT = 6.

        In return, about one in thirty-five people taking gabapentin rather than placebo
could expect to be forced out of a short term study, due to gabapentin’s adverse effects,
NNH = 35. Similarly, one in eight patients taking gabapentin rather than placebo could
expect an adverse effect such as dizziness, somnolence, impaired thinking (confusion),
lack of energy (lethargy, asthenia), or edema.

        Unfortunately, even the most intensive analysis of study reports provides little
real understanding of what this all really means. The patients do not truly speak to us
through the publications, whether to describe their experience of adverse effects
(harms) or of benefits. And real understanding of the clinical significance of these
results is not quite so simple for the following crucial reasons:

   a) The clinical trials typically recruited only the healthiest available patients, taking
      the fewest interacting drugs, and with the fewest risk factors predictive of trouble
      with gabapentin, such as impaired kidney function, impaired mental or cognitive
      status, etc. This concern relates to the question of effectiveness, since harms from
      gabapentin are virtually certain to be higher in the real world than in the “glass
      fishbowl” environment of a DBRCT.

   b) The trials mostly did not enroll patients previously exposed to gabapentin, or who
      had experienced untoward effects or no benefit from gabapentin. This “enriched”
      the study populations so as to artificially favour gabapentin, and one would not
      expect these results to reflect subsequent real world experience. This also relates
      to the question of effectiveness, since it is reasonable to expect that the DBRCT
      exaggerated any apparent benefits of gabapentin, compared with the real world.

   c) An outcome such as the > 50% reduction in pain appears superficially to be rather
      attractive. Yet it has no known meaning in real life – for example, it is not known
      whether a patient experiencing a 50%, or even a 75% reduction on a pain scale
      might return to work, sporting activities, or escape seclusion to resume an active
      social life. Furthermore, the design of some major trials appears to have allowed
      patients who dropped out of the trials because of adverse events to count as
      “responders” (pain score reduction > 50%), even if they were burdened by side
      effects. This makes no clinical sense, as it would be equivalent in some ways to
      an inebriated person who is “feeling no pain”.

   d) The unblinding effect referred to below must almost certainly have exaggerated
      the apparent benefits of gabapentin. Most patients who enroll in clinical trials do
      so in the hope of a personal benefit. Those who enroll them seldom reflect in
      person the supposed “equipoise” (uncertainty as to whether a drug will “work”)
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       reflected in submissions to ethics committees – they are inevitably enthusiasts for
       the new treatment. Thus patients who suspect they are taking the active drug are
       more likely to experience “benefit” than those who suspect they are taking the
       placebo. It is clear from several experiments that formally tested blinding that it
       is hard to keep people blinded when they take gabapentin, and this is also
       suggested by Professor Jewell’s analysis.


Sensitivity analyses:

        Professor Nicholas P. Jewell’s report dated July 29, 2008 raises the specific
question of whether the Backonja 1998 trial results favouring gabapentin over placebo for
change in mean NRS pain scores over 8 weeks may be mostly or completely related to
unblinding, and indeed may not represent a true analgesic effect of gabapentin. Note
that the same criticism likely applies to many or all of the other studies we meta-
analysed, and some of them frankly disclose unblinding due to the toxicity of gabapentin
(notably van de Vusse 2004).

        Although unblinding may inject a systemic bias into all trials of gabapentin, we
repeated the Forrest plot meta-analysis after extracting only the data from the Backonja
1998 trial in PDPN. Similarly because PHN has an obviously different pathophysiology
and clinical character from PDPN or other pain syndromes, and because gabapentin holds
US FDA approval for this indication, we also repeated the same analysis after
extracting only the data from the two trials of gabapentin for treatment of PHN
(Rowbotham 1998 and Rice 2001). The results of these sensitivity analyses are as
follows.

a) All pain trials of gabapentin vs. placebo EXCEPT Backonja 1998:

The weighted mean difference (WMD) in pain score declines trivially from – 0.78 to
 –0.74, still favouring gabapentin. (Sensitivity Analysis No. 1, p.12, vs. p.7 of the Forrest
plot Appendix for gabapentin vs. placebo) There is little difference because the number
of patients in the Backonja trial is small, compared with all other trials. There is a much
larger difference between the point estimate for the Backonja trial and the other 3 trials in
PDPN seen in the full data Forrest plot (Forrest plot Appendix for gabapentin vs. placebo,
p.7). Similarly, removing the Backonja trial data does not change the estimate of NNT
for PGIC from 6 (Forrest plot Appendix for gabapentin vs. placebo, p.13).

b) All pain trials of gabapentin vs. placebo EXCEPT PHN trials:

This sensitivity analysis reveals a more interesting result, at least for the mean difference
in pain score, which shrinks (with extraction of the PHN data) to a point estimate of –
0.36 which is now barely statistically significant (95% CI, - 0.63, -0.09) almost touching
the vertical line of equivalence on the Forrest plot (Forrest plot Appendix for gabapentin
vs. placebo, p.15). Similarly, with the PHN trial data extracted, the chance of “moderate
or much improvement” on PGIC is slightly less favourable to gabapentin, increasing
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from NNT = 6 to NNT = 6.7 (Appendix, p. 14), while the probability of achieving a >
50% reduction in pain score during the trial declines commensurately from NNT = 8 to
NNT = 9 (Appendix, p. 16).

         These results give us the best available summary of the effects of gabapentin vs.
placebo in DBRCT. However, they still omit information from additional unpublished
trials such as those performed on behalf of Depomed Inc. using a slow release
formulation of gabapentin vs. placebo for PDPN and for PHN. It is possible that
inclusion of data from these and any other unreported trials still unknown to me might
further refine the estimate of gabapentin effects from meta-analysis.


How should Dr. N.P. Jewell’s report affect interpretation of this meta-analysis?

        This is a crucial point. After re-analysing the individual patient data from the 165
patients randomized in the Backonja 1998 study of gabapentin for PDPN, Dr. Jewell
concluded that unblinding of the gabapentin recipients by adverse effects inescapably
altered the results so as to create artificially the statistical impression of an analgesic
effect. The final sentence at page 14/15 in Dr. Jewell’s report is telling: “It is my view
that my new, more thorough, analysis completely undermines the claims of treatment
efficacy made in Backonja et al.”

         Although I have read and comprehend Dr. Jewell’s report, I defer to his statistical
expertise and acumen in a specialty different from my own. However, it should
obviously be unsettling to anyone who wants to seek truth from the clinical trial data.
The same concerns had troubled me as I read the scientific reports of clinical trials.
Well before I was aware of Dr. Jewell’s interest in this matter, let alone his opinion, it
struck me as obvious in many of the DBRCT reports (both published and unpublished)
that early adverse effects must unblind the patients, and often the examiners. In the
Backonja trial, for example, 3 of 84 patients randomized to gabapentin withdrew during
the first 7 days (at days 2, 5, and 7) and were dropped from the analysis. My detailed
reading of the full unpublished trial report left me wondering about the same question as
that ultimately addressed statistically by Professor Jewell. See my detailed 6-page
critical appraisal study summary in the Appendix, which was virtually complete on April
7, 2008, long before I saw Dr. Jewell’s opinion on July 29, 2008. Van de Vusse 2004,
who may have looked most scrupulously for this effect, found that unblinding of both
patients and doctors was obvious and significant, because the toxicity of gabapentin
was so apparent to those taking it. (See also this study detailed summary in Appendix.)

       Let me re-emphasize that when patients expect more benefit from a new drug to
which they gain privileged access in a clinical trial, unblinding should be expected to
increase the apparent effect of the drug in a way which might not occur under routine use,
when expectations are inevitably lower.

        There is no reason to think that the other large DBRCT were exempt from the
effect observed by Dr. Jewell in the Backonja trial. This convinces me that even our
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meta-analysis of gabapentin vs. placebo significantly exaggerates the apparent
analgesic effects of the drug. Since these are small to negligible to begin with, Dr.
Jewell’s re-interpretation of the Backonja trial to the effect that gabapentin has
essentially no analgesic effect is perfectly consistent with our results.



May additional evidence from unpublished DBRCT yet come to light?

       It may. Indeed it probably will in the “fullness of time”. While double
checking on July 26-28, 2008 via a Google internet search for any additional studies we
might have missed inadvertently, I was able to identify the following:

a) Additional information regarding dose-effect relationships:

Rowbotham MC, Diamond C et al. Gabapentin for painful HIV neuropathy blinded,
randomized trial comparing high and low doses. (Abstract, 10th World Pain Conference
2002) – found at http://www.painstudy.ru/10wcp/anticonvulsants.htm. I could not find
any formal publication of this study, which was sponsored by an external research grant
from Parke-Davis/Pharmaceuticals/Pfizer Inc. Dr. Rowbotham acknowledged that he
had been a consultant to and received grant support from the sponsor. This study
compared gabapentin at 900 mg/d with gabapentin at 3600 mg/d, but the abstract does
not suggest that there was any placebo group. The abstract results and conclusions read
as follows:

“RESULTS: Sixty-five subjects formed the ITT sample. Subjects on low dose GBP
reported a 28% reduction in pain compared to 41% reduction with high dose GBP
(p=.12). In the EE sample (n=58), pain declined by 30% with low dose GBP and 46%
with high dose GBP (p=.04). Secondary measures showed numerical advantages with
high dose GBP, but none reached statistical significance.
“CONCLUSIONS: Pain declined during 4 weeks of gabapentin therapy at both 900 and
3600 mg/day. Secondary measures also favored high dose gabapentin, but more subjects
discontinued the study due to adverse effects…”

When I asked Mr. Rona of Greene & Hoffman by telephone whether he was aware of this
study or any further publication, he replied that he had information describing significant
costs absorbed by Parke-Davis/Pfizer to finance the study. Why was this study of
Professor Rowbotham's never published? The obvious explanation is that
publication or release of the complete study results would have provided additional
evidence that the overall effects of larger doses of gabapentin were undesirable.

b) Evidence that additional trials were performed:

At (http://www.clinicalstudyresults.org/documents/company-study_1926_0.pdf) I found
a 6-page PDF document identified as (01000006060590\1.1\Approved\20-Sep-2006
11:36) and also identified as (PhRMA Clinical Study Synopsis Protocol A9451004 06
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September 2006 Final). This is a report of a “Phase 4” (post-marketing) 11-week open-
label multicenter study of gabapentin titrated to a clinical effect, or to 3600 mg/d in 10
study centers in Brazil. This study was initiated in 2003 and completed in August 2004.
I cannot tell whether the results may have been published or utilized in some other
standard “published” format I could not locate, whether in Brazil or elsewhere. However,
like the Rowbotham study noted immediately above, this Pfizer document may hint that
other studies of gabapentin for pain were performed under Parke-Davis/Pfizer
sponsorship, some of which might provide scientifically useful information which has not
yet been revealed. Since Parke-Davis and Pfizer had no compunction about republication
of studies in multiple formats and venues, it is unlikely that any conclusive positive study
results would have been kept secret.

As an open-label study, the only contribution this Brazilian study (A9451004) can make
to my understanding of gabapentin is its report that only 74/95 patients completed the
trial (21 discontinued), 8/95 discontinued to adverse events, and that the proportion of
patients experiencing adverse events was at the higher end of the range found in other
studies, e.g.:

    •   somnolence 32/95 (34%)
    •   dizziness 28/95 (30%)
    •   edema 14/95 (15%)

While Brazilians are recognized internationally for many things, somnolence is not one
of their defining national characteristics. This study may inadvertently have provided
further evidence that the CNS toxicity (neurotoxicity) of gabapentin is dose-dependent
but the presentation of results does not make this clear.

c) Additional DBRCT of gabapentin for PDPN and PHN with unavailable results:

        The most intriguing finding I made was by looking for additional gabapentin trials
by searching various on-line clinical trial registries. This led me on July 26, 2008 to the
website of Depomed, a California pharmaceutical company developing slow or
controlled release formulations of off-patent drugs, including gabapentin. The Depomed
website (http://www.depomedinc.com/view.cfm/1285/Our-Pipeline) includes press
releases and very brief summaries of several DBRCT of gabapentin whose results could
add to our understanding of this drug (in the setting of DBRCT) but are not available. I
attempted to obtain more detailed results from the company by e-mails on July 27 and
July 28, 2008 but obtained only an auto-acknowledgement from Mr. Thadd Vargas of
Depomed indicating that my e-mail had been received and read on July 30, 2008. This is
what can be learned from the company website:

i. PDPN: A multicenter, 4-week, double-blind, placebo-controlled Phase II clinical trial
randomized 147 patients to 3 treatment groups – Gabapentin GR (slow release) 3000
mg/d as a once daily dose, Gabapentin GR (slow release) 3000 mg/d divided as a twice
daily dose, or placebo. A Depomed press release dated December 12, 2006 suggests that
the combined gabapentin groups achieved a mean difference of -1.19 on an 11-point NRS
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(Likert) pain scale compared with placebo, and suggests this was statistically significant
(“p = 0.002”). However, it also suggests that this effect may have been seen
predominantly in the once daily dose of 3000 mg, as opposed to the divided dose
group (still 3000 mg/d), where the difference was -0.49 points, “p=0.190”. While
Depomed’s CEO John W. Fara, Ph.D. (himself a former Pfizer senior executive)
indicated in the press release that “We are enthusiastic about sharing these data with
companies that have expressed an interest in partnering Gabapentin GR with us …”, he
may not have been quite so enthusiastic as he sounded on paper, as the results do not
seem to have been published. Neither has the slow release formulation of gabapentin
been brought to market. This suggests to me that a more thorough analysis of the data
might leave a disinterested observer less “enthusiastic”. It is intriguing that Dr. Sherwyn
Schwartz, a co-author of the Backonja 1998 JAMA report on gabapentin for DPN, is
cited in this press release as favouring the nocturnal effects of Gabapentin GR. It would
be interesting to know Dr. Schwartz’ full interpretation of these same data.

ii. PHN: A multi-centre, 10-week, double-blind, placebo-controlled “Phase 3” clinical
trial randomized 407 patients to 3 treatment groups – Gabapentin GR 1800 mg/d as a
once daily dose (presumably also in the evening), Gabapentin GR 1800 mg/d divided as a
twice daily dose, or placebo. The press release dated July 10, 2007 indicates that at
the 10-week study endpoint, the primary outcome of mean reduction in 11-point
NRS pain score was 1.83 for once daily Gabapentin GR, 1.72 for twice daily
Gabapentin GR at the same total daily dose of 1800 mg/d, but 1.43 for placebo. The
difference (-0.40 or –0.29, depending on the group) was not statistically significant.
As in so many of the previously reported (or unpublished) trials of gabapentin, the
reporting of secondary outcomes in this press release suggests that gabapentin has a
pronounced sedative effect. The same press release indicates that Depomed CEO Dr.
Fara regarded the results as “…very surprising and disappointing to us…” and a later
article on the Depomed website indicates that a further Phase 3 trial involving
approximately 450 PHN patients was initiated in March 2008, comparing Gabapentin GR
once/day at 1800 mg/d with placebo, again over a 10-week period.

        Presumably it has not been possible for Depomed to gain licensure for
Gabapentin GR, or interest from commercial partners, on the basis of the negative
results obtained from the Phase 3 study described above. From the brief description
available on the company website, this appears to be the largest single DBRCT of
gabapentin vs. placebo for any variety of pain.

        One cannot help but note that this large DBRCT in PHN (N = 407) achieved
a mean separation of about –0.29 to –0.40 vs. placebo on the 11-point NRS pain
scale, a result strikingly similar to that found in the unpublished Pfizer 945-1008
study of PDPN, which was conducted on 389 patients during 2002-2003. Full access
to the results of the above-referenced Depomed trial in PHN, might cast into doubt
the efficacy of gabapentin even for the specific and approved indication of PHN.

       Taken together, the above information about studies whose results have not
been fully disclosed suggests that there may be yet more information hidden from
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the public eye. If disclosed, as it ought to have been, the real facts might
fundamentally alter the results of our meta-analysis – and force “expert” medical
perceptions of gabapentin to align themselves more closely with reality.


Evidence gleaned directly from the individual trial reports:

        Just as one should not “lose sight of the forest for the trees”, a meta-analysis is not
intended to obscure the “trees” (real facts) from view. Meta-analysis should help in the
search for truth, not hide it. One would be obtuse to ignore important information
obtained from a careful review of the available trial reports which relates to the rational
clinical questions I proposed earlier in this report. Before re-approaching these
questions, consider some examples of what can be learned from detailed scrutiny of the
individual trials:

a) The following example from a large unpublished trial of gabapentin for PDPN
conducted in Europe from 1999-2000 (Reckless 2000) casts a very different light on the
question of whether gabapentin has any mean efficacy for pain. The first figure,
excerpted from the unpublished final study report, shows the trial design.
    Parke­Davis 945­224 – European Multinational trial of gabapentin for PDPN, 1998­99
    (Reckless) – UNPUBLISHED FINAL STUDY REPORT dated February 7, 2000, p. 43/3214
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       The graph on this page is excerpted from the same report, showing the observed
pain score changes over time. Need one point out that this graph did not achieve wide
circulation amongst the Parke-Davis/Pfizer advisory boards, let alone the general
medical world? How many people outside of these two companies have seen this
graph?
    Parke-Davis 945-224 (Reckless) – European multinational study, UNPUBLISHED
      from page 53/3214, final study report dated February 7, 2000 plus appendices.
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      In the same study, even a post-hoc “Responder Analysis” looking for patients
who had achieved > 50% reduction in pain score, found no difference:


    Parke-Davis 945-224 (Reckless) – European multinational study, UNPUBLISHED
                     (from 945-224 Final Study Report, p. 57/3214)
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   (945-224 PDPN – summary of PGIC from p. 72/3214 in final report February 6, 2000)



       The above histogram from the same study (Reckless 2000, unpublished) shows no
improvement from gabapentin on PGIC and indicates that the effect is not dose-
dependent. It is little wonder that this study was so effectively buried, and Parke-
Davis/Pfizer did not make the mistake of replicating it.
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       Looking very closely at another study (Rice 2001) is also revealing. Consider
the example of time course of NRS pain score during treatment with G=1800 mg/d or
G=2400 mg/d vs. placebo. Unfortunately in copying this from a PDF of the original
document I have lost the symbol key, but the upper line in this case is the placebo, while
the lower two lines represent G=1800 mg/d or G=2400 mg/d.

NB: the curves separate by 1 week (at 1200 mg/d during titration) but do not
separate further. This may be analogous to the early adverse effect-associated
difference in group mean pain scores discerned by Professor Jewell. It is not clear if this
analysis is true ITT, ITT-LOCF, or if some dropouts are not included in pain scores,
which may further bias the interpretation of this study (in favour of gabapentin).

            From: Rice et al (published 2001) – April 3, 2000; final study report
                           945-430-295 appendices, p. 181/1357.




        Looking at the details in a critical appraisal of the detailed unpublished report of
the same study (Rice, published 2001) turned up another surprise. Could differences in
pain, including “responders” or favourable comparison on PGIC possibly relate to
more frequent use of amitriptyline in the gabapentin groups? (The Table on the next
page is copied from Appendix C.2, p. 183/1357 but abbreviated for space reasons by
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omitting drugs which alphabetically follow “dihydrocodeine”. Apart from amitriptyline,
I could discern no numerically apparent differences between the groups of patients taking
gabapentin vs. placebo. However, amitriptyline, which is known to reduce pain in
PHN, was more often used by the patients taking gabapentin in both arms of the
Rice study than by the placebo group.)




   From: Rice et al (published 2002) – April 3, 2000; unpublished final study report for
                           945-430-295 appendices, p. 183/1357.

Amitriptyline was more often used by the patients taking gabapentin in both arms of
the Rice study (N=115 randomized for G1800, N=108 randomized for G2400) than
by the placebo group (N=111). Could this influence the pain score results, and other
results which depend on it (including sleep)?
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        Here is another example of why looking at the details of studies is so crucially
important. The unpublished final study report of Rice et al (published 2002) in
appendices at page 197/1357 suggests that the 50% “responder” analysis counts
withdrawals due to lack of efficacy as failures, but allows other withdrawals (e.g.
WDAE) to be counted using the patient’s final week’s pain scores (LOCF). Thus,
“responders” may include people who have to withdraw from the experiment due to
toxicity. This does not appear to make clinical sense. By analogy a patient taking
morphine who experiences dangerous respiratory depression or disturbing mental status
changes would not be considered a clinical success or a “responder”, even though pain is
almost inevitably suppressed in the presence of significant CNS toxicity from opioids.




   Excerpt of Protocol 945-295 taken from unpublished final study report of Rice et al
 (published 2002) in appendices at page 197/1357. Patients who withdraw due to adverse
         events are defined as eligible to be counted as “responders” (successes).
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                                               What can be learned from the very interesting experiment of Dr. Ian Gilron, the
                                       first and still the only known experiment comparing gabapentin with a strong opioid in a
                                       chronic pain model? (Gilron I, Bailey JM et al. Morphine, Gabapentin, or their
                                       Combination for Neuropathic Pain. N Engl J Med 2005; 352: 1324-34.) This a
                                       complicated multiple-crossover experiment which is difficult to understand (see Study
                                       No. 15 study detail summary in appendices). Looking carefully at the original Figure 2A
                                       from the publication, gabapentin appears to “work” in 2/4 periods, but “not to work” in
                                       the other 2/4 periods. The group numbers are small, and a significant portion of the
                                       patients did not complete the trial or even complete 2 periods (allowing at least 1
                                       comparison between at least 2 of 4 possible treatments). Below is our presentation of the
                                       same data, re-formatted to make it easier to compare the individual treatments (active
                                       “placebo”/lorazepam; gabapentin; morphine; morphine plus gabapentin). Because of
                                       how the data are presented in the publication, we have had to make some interpolations to
                                       derive data for the graph below (see details in Study No. 15 study detail summary,
                                       appendix).

                                              This figure suggests that in an experiment with patients suffering pain from PHN
                                       or PDPN, gabapentin has virtually no effect, compared with active placebo (lorazepam),
                                       considering that the gabapentin group starts from a somewhat lower baseline pain score.
                                       The curves on the graph are parallel.


                                       From Study No. 15 study detail summary, p. 14/14 – Appendix to this report


                           Mean Weekly Pain Score by Treatment Group – Pooled Results (By Treatment)
                                                    From 4 Treatment Sequence Groups
                            6




                            5




                            4

                                                                                                                  Active Placebo (Lorazepam)
Score for Pain Intensity




                                                                                                                  Gabapentin
                            3
                                                                                                                  Morphine

                                                                                                                  Gabapentin-Morphine Combination

                            2




                            1




                            0

                            Baseline       Week 1         Week 2      Week 3        Week 4     Washout (Week 5)
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        As a final but interesting example of what can be learned from a close reading of
even the published reports, consider a relatively early report from a single pain clinic in
Northern Ireland, published in an obscure journal. (McCleane GJ. Does gabapentin have
an analgesic effect on background, movement and referred pain ? A randomized, double-
blind, placebo controlled study. The Pain Clinic 2001;13:103 – see Study number 23 in
APPENDIX – GABAPENTIN PROJECT Pain Studies Summary Matrix – FINAL –
August 8, 2008, Thomas L. Perry, M.D.) This is an interesting if little known study
report, which unlike the study of Simpson 2001, has the ring of truth to it. It is worth
thinking about what a single experienced and observant physician in one pain clinic with
access to many patients and no axe to grind may be able to teach us about the use of
gabapentin for back pain in the real world of clinical practice.
        In this DBRCT completed in 2000 or earlier (dates not specified, published 2001)
80 typical outpatients were randomized to take either gabapentin titrated to 1200 mg/d (N
= 40) or placebo (N = 40) in a 6 week parallel group design. The exclusion of patients
who had previously taken gabapentin “or were known to be sensitive to it” is likely to
have “enriched” the study population so as to favour gabapentin. Even so, only 31/40
patients randomized to gabapentin completed the trial, vs. 34/40 taking placebo. Adverse
effects were numerically greater in the gabapentin group than in the placebo group. The
meta-analysable data are included in our meta-analysis.
       Here is what I find most interesting about this low profile study, which may give
us a much more realistic picture of how well gabapentin “works” in real life:
   a) of 40 patients exposed to gabapentin 1200 mg/d for up to 6 weeks, only 13 wished
      to continue it at the end of the trial;

   b) of these 13/40, only 5 wished to continue gabapentin 2 months later, after having
      the opportunity to titrate the dose further up to 3600 mg/d.

   c) the gabapentin patients’ consumption of other analgesics declined only
      negligibly;

   d) the overall effect reported for back pain at rest (probably the closest equivalent to
      an average NRS/VAS weekly pain score, since most patients with back pain tend
      to be sedentary) was not significantly different for gabapentin vs. placebo (We
      used this outcome statistic as the closest equivalent to the primary outcomes of
      other trials in our meta-analysis).
Dr. McCleane, an experienced Northern Irish specialist who may have personally
assessed the patients (and may himself not have been effectively blinded) commented
dryly that:

       “The results of this study suggest that gabapentin has some effect on movement
pain and referred pain, but that this effect is small. Furthermore, the benefit of a small
reduction in these pains gained by taking four gabapentin capsules with no improvement
in mobility and only a marginal reduction in concomitant analgesic consumption is open
to question. Two months after the end of the study, only 5 of the 40 patients originally
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receiving gabapentin judged the benefit to be sufficient to warrant continued treatment
with the drug…It is our experience of many hundreds of patients treated with gabapentin
that individuals from this part of the world do not tolerate the doses used by others (here
he references the Backonja and Rowbotham 1998 JAMA publications) and that, when
greater doses are used, the side-effects outweigh any analgesic benefit.”

        This is certainly a different conclusion than obtains from the more enthusiastic
published clinical trials, but might be close to the true thoughts of participants (whether
clinical investigators or their experimental subjects/patients) who participated in the
negative unpublished trials. I say it has the ring of truth, because it reminds me strongly
of the Parke-Davis/Pfizer market research graphic which presented virtually the same
message, couched in terms of the troubling economic implications for the manufacturer,
at about the same time (2001) as Dr. McCleane published his article!




What can be learned from the unpublished acute pain studies?


        The unpublished acute pain studies constitute another important data set that was
not suitable for meta-analysis with studies of gabapentin for chronic pain. These results,
accessible to me only because of the Neurontin litigation, add a crucial dimension to
understanding the whole body of evidence as to whether gabapentin is an efficacious or
effective analgesic. The total enrolment was 1171 patients, who mostly received a single
dose of gabapentin or the alternative study drugs, including placebo.
        Fortunately I can review this evidence succinctly, since the conclusions are so
obvious. See the Appendices to my report for the 5 study detail summary documents
prepared by my junior but meticulous colleague Kelsey Innes, B.Sc. These summarize
unpublished Parke-Davis trials conducted in the United States during 1999 and early
2000. All trials were completed and reported on in formal Parke-Davis/Pfizer
unpublished research reports by 2000. The co-investigators ought to have been aware of
the results, as access to results and intent to publish them would normally be
requirements for approval of a clinical trial by a research ethics board.
        These trials show uniformly and conclusively that gabapentin is not
efficacious for acute pain, whether it is acute pain experienced after a dental
operation, acute pain experienced after major orthopedic surgery, or acute pain
from osteoarthritis, including pain extending for up to 28 days. The osteoarthritis
experiment suggests that even at a very low dose of 250 mg/d taken for up to 28
days, gabapentin caused the typical adverse events of edema, dizziness, somnolence
and asthenia.
      In contrast, the same studies demonstrated that acetaminophen, naproxen,
and hydrocodone all worked relatively well for pain, and that the experimental
model could easily separate their effects from placebo with statistical significance.
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Put simply, acetaminophen (Tylenol and other brands) at 1000 mg single dose,
naproxen at 250-550 mg single dose, and hydrocodone at 5-10 mg single dose all
worked for pain. Gabapentin did not.
       It is sad but not surprising that these studies were never published. They
could have been expected to decimate the market for gabapentin. The evidence
from the osteoarthritis experiment (study 1031-002; research report 720-04479)
demonstrating numerically increased incidence of typical adverse events, but at
rates substantially lower than when larger doses of gabapentin were used, might
have been especially dangerous, had it surfaced in the year 2000 or soon thereafter.
It would be logical to expect this evidence to undermine (perhaps fatally) the
widespread contention that adverse effects of gabapentin were not dose-dependent.
        The interesting experiment of Berry 2005 in acute herpes zoster (shingles) might
be interpreted as inconsistent with the above. However, pain from herpes zoster is a
markedly different phenomenon from virtually any other type of pain, with the possible
exception of trigeminal neuralgia. This experiment did not compare gabapentin with an
active comparator such as hydrocodone, naproxen, amitriptyline, or even acetaminophen.
Therefore, it is impossible to tell whether the effect of gabapentin for acute shingles pain
is equivalent to, better than, or inferior to established analgesics for acute pain from
shingles.




IX) Answers to my own clinically relevant questions:
         I posed these questions near the beginning of this opinion to provide a reader open
to a rational consideration of the evidence available from DBRCT with a framework for a
clinically meaningful interpretation of that evidence. Let me now reiterate those
questions and provide the answers which strike me as reasonable after more than four
months of intensive study and thought.
Question 1a) What is the available evidence from DBRCT concerning the average
(mean) effect of gabapentin for various painful conditions, in comparison with placebo or
with active analgesic comparators?

Answer 1a) For chronic pain, the average (mean) effect of gabapentin, in
comparison with placebo, is probably almost zero (no effect). It may exceed
zero slightly in the artificial setting of DBRCT. However, the overall 0.78 point
change favouring gabapentin over placebo on an 11­point pain scale resulting
from our meta­analysis almost certainly exaggerates the true effect obtainable
in the real world. There is no evidence that gabapentin is superior to
established analgesic drugs (opioids, TCA’s, etc.) for any painful condition.

For acute pain, the answer is even simpler. Gabapentin has no beneficial
effect whatsoever, and is clearly inferior to acetaminophen, naproxen, or
hydrocodone.
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Question 1b) What is the clinical meaning for individual patients of any such average
(mean) effect observed for an experimental group?
Answer 1b) For chronic pain, the meta-analysis suggests that at best 1 in every 6-8
patients might achieve a clinically meaningful benefit. However this apparent
“benefit” observed in DBRCTs ignores the roughly equal proportion of patients
who would be harmed by the same treatment. In the real world the balance of
harms is likely to exceed the benefits of gabapentin. For acute pain there is no
benefit whatsoever from gabapentin, only harm.


Question 2a) What is the available evidence from DBRCT concerning the average
(mean) toxicities (harms) of gabapentin when used for pain, in comparison with placebo
or with active analgesic comparators?
Answer 2a) Gabapentin can be expected to harm about 1 in 8 relatively healthy
people who are unlikely to be representative of the patients typically most exposed
to this drug. In real life, I would expect the toxicity of gabapentin to be much
higher. For example, it is almost certain that in the real world of medical practice
and prescribing in North America, far more than 1 in 6-7 people experience
“dizziness” or “lightheadedness” or “ataxia” (balance disturbance) or “somnolence”
or “impaired thinking or concentration” or other CNS adverse effects from
gabapentin.
Question 2b) What is the clinical meaning for individual patients who experience
toxicity (harm), e.g. those who drop out early from DBRCT because of “adverse events”,
or who just drop out?
Answer 2b) This is where the DBRCT fail to give any true impression of how
gabapentin likely affects people in the real world. It is rational to expect that older
patients, and especially frail elderly who are vulnerable to polypharmacy, infections,
the adverse effects of edema (including infection risk and the chance of being
misdiagnosed with kidney disease, venous or lymphatic obstruction, or heart
failure) suffer adverse effects of gabapentin much more frequently and seriously
than the controlled trials imply, for example as gabapentin-related:

   •   falls and fractures
   •   mental impairment (which often leads to the prescription of more drugs and
       may lead to inappropriate diagnosis of “dementia” or “cognitive
       impairment”)
   •   motor vehicle accidents caused by or involving drivers taking gabapentin
   •   over sedation and sedentarism with all its long term implications
   •   impaired wound healing of foot or leg ulcers leading to additional treatment
       costs and/or delay in recovery or worse
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Note that consequences of such adverse events may be long term or even permanent (e.g.
disability or death from falls and fractures), something not reflected in the clinical trial
reports from populations of less vulnerable experimental subjects.


Question 3a) What is the available evidence from DBRCT about the percentage (%) of
patients who experience a clinically meaningful benefit (to them) from the use of
gabapentin to treat pain?
Question 3b) How does this % compare with the % who experience a clinically
meaningful harm?
Answers 3a and 3b) I have dealt with these questions in my answers above. For
chronic pain it is likely that at least as many people are harmed by gabapentin as
might benefit from it in some way. For acute pain there is nothing but harm.


Question 4a) What is the available evidence from DBRCT concerning the relationship of
gabapentin dose to clinically meaningful response (benefit)? For example, is there
convincing evidence that larger doses “work better” than smaller doses (e.g. 900 mg/day
vs. 300 mg/day, or 3600 mg/day vs. 900 mg/day or vs. 1800 mg/day)?
Question 4b) What is the available evidence from DBRCT concerning the relationship of
gabapentin dose to clinically meaningful toxicity (harms)? For example, is there
convincing evidence that larger doses are more likely to cause neurological adverse
effects than smaller doses (e.g. 900 mg/day vs. 300 mg/day, or 3600 mg/day vs. 900
mg/day or vs. 1800 mg/day)?
Question 4c) Is any other meaningful evidence available which bears on the questions of
dose-dependence of benefit(s) or harm(s) for gabapentin?

Answers 4a, 4b and 4c) Interpreted in the light of general clinical pharmacological
principles and common sense, I found no evidence from DBRCT for dose-
dependence of benefit from gabapentin. On the other hand, it is apparent that
larger doses of gabapentin cause more frequent adverse effects. (I have not
discussed these issues in detail in the text of this opinion, but I have considered dose-
effect relationships in the critical appraisal of each individual published and
unpublished trial – see appendix.)

Gabapentin would truly have to be a “wonder drug” dissimilar to virtually all other
drugs known to affect the brain, were it not to cause more neurotoxicity at higher
doses or concentrations. It may be spared some toxicity by dose-dependent
absorption kinetics (the absorbed dose and the plasma or brain concentrations of
gabapentin may not rise proportionately to the ingested dose), but those who “push
the dose” of gabapentin in ignorance of such basic pharmacologic principles and the
evidence available from DBRCT and clinical experience do so at the expense of their
patients.
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Question 5a) What is the available evidence from DBRCT concerning the relationship of
duration of gabapentin therapy to realization of a clinically meaningful response
(benefit)?
Question 5b) What is the available evidence from DBRCT concerning the relationship of
duration of gabapentin therapy to experience of a clinically meaningful toxicity (harm)?
Question 5c) Is any other meaningful evidence available which bears on the questions of
duration of therapy-dependence of benefit(s) or harm(s) for gabapentin?


Answers 5a, 5b and 5c) If there were a benefit from gabapentin, it would accrue
early in treatment. The experiment of Berry 2005 in acute herpes zoster (shingles)
suggests that healthy patients can discern the effect of a 900 mg dose of gabapentin
within 1.5 hours (or less), although the unpublished experiments for acute dental
and joint or post-operative pain show that the results are not generalizable. The
chronic pain studies all show that any observed separation of gabapentin from
placebo groups (even if it was due to unblinding caused by the adverse effects of
gabapentin) also occurs early, typically by the first observation visit after baseline.
If observations had been scheduled before 2 weeks, any clinically discernable effect
(whether good or bad) might well have been evident by then. Although many
“experts” retained by Parke-Davis/Pfizer to market gabapentin (see below) asserted
frequently that patients adjust to the adverse effects of gabapentin, I did not find
any convincing evidence of this in the clinical trials, and many suggestions to the
contrary. That is consistent with my own clinical experience with patients who have
taken or take gabapentin.


Question 6) What experimental approach could clarify the most efficacious and effective
drug treatment(s) for “neuropathic” pain? Why don’t we have this information now?
Answer 6) I have alluded above to an experimental approach that might answer
this question, and to the reasons why pharmaceutical companies will not design nor
sponsor such experiments. The independent experiment of Gilron does show that it
is possible to answer such questions. He found that morphine was more efficacious
than gabapentin for neuropathic pain from PDPN and PHN, but suggested that
gabapentin seemed to add some additional effect. I am not convinced that this is the
correct interpretation of his experiment, which presents an extremely challenging
intellectual exercise. Please see the detailed summary prepared by Ms. Innes and
me in the appendix. One of the clearest insights into the real meaning of this study
came from our reconstruction of a graph summarizing the results by drug,
reproduced earlier in this opinion as well as in the appendix.
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X) Comparison of my expert clinical pharmacologic opinion with the expert opinion
of Dr. Shawn Bird (neurologist, University of Pennsylvania) dated November 29,
2006:

       You provided me with a copy of this opinion. The opinion is brief (6 pages, plus
5 pages of references), whereas Dr. Bird’s CV is long (17 pages). It is obvious that my
opinions about the evidence concerning the efficacy of Neurontin (gabapentin) in
DBRCT, let alone its clinical effectiveness (extrapolation of such trials to the general
population of potential patients and) or its real utility in clinical practice (medical
judgment based on real life experience) are much more conservative than those of Dr.
Bird. Whence arises this difference of opinion? I see a number of reasons why we may
have arrived at different conclusions:

1. Dr. Bird’s literature review includes uncontrolled experiments and case reports which
do not provide the same quality of scientific evidence as properly performed and reported
DBRCT. It also refers to and appears to depend at least partially upon DBRCT
pertaining to situations not relevant to the questions you are asking. For example, very
brief studies in post-operative patients in a hospital nursing setting, which study primarily
the consumption of opioid analgesic in patients recovering from general anesthesia, are
not relevant to the outpatient setting where patients receive gabapentin from a pharmacy
under prescription. Although I found Dr. Bird’s report helpful in drawing my attention to
certain studies that I had previously missed (e.g. van de Vusse 2004), I note that Dr. Bird
also missed certain studies that I was able to uncover with the help of Dr. Musini’s
computerized literature search. (e.g. McCleane 2001)

2. Dr. Bird relied upon the Cochrane 2005 systematic review (Wiffen PJ, McQuay H et
al) as the “highest level of evidence”. Perhaps he was unaware that the Cochrane review
included some studies which may not have been genuine (Simpson 2001) or which are
unlikely to have been genuinely double-blind and were inadequately reported (Perez
2000). He does not refer to the mis-labeling of the Forrest plots in the Cochrane 2005
review, and may not have read this report carefully or completely. Many busy physicians
rely on abstracts to obtain their impressions of complex reports. Were Dr. Bird to repeat
the exercise I have performed in the last few months, he might be less sanguine about the
conclusions of the 2005 Cochrane systematic review.

3. Dr. Bird may have been unaware of the major unpublished studies of gabapentin vs.
placebo for chronic “neuropathic” pain (945-224 Reckless 2000 for PDPN; 945-271
Gordh 2003 for POPP; 945-1008 Parsons 2005 for PDPN) which had long since been
completed and reported internally, but not publicly disclosed by Parke-Davis/Pfizer.
Similarly, Dr. Bird’s report shows no sign that he was aware of the unpublished acute
pain studies completed by Parke-Davis/Pfizer in 1999-2000, all of which had been
reported internally by 2000. Had he been aware of these data, I think his opinion must
obligatorily have been tempered, if not different; and he should have disclosed and
referred to these results in his opinion. I would be most interested to learn Dr. Bird’s
interpretation of the detailed experimental results of unpublished studies summarized in
the Appendices to this report, should he be allowed to read it. When Dr. Bird completed
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his report on November 29, 2006, he would presumably not have been aware of the
Depomed trials of Gabapentin GR, of which the results (as incompletely reported
subsequently on the manufacturer’s website) would also oblige any independent medical
scientist to reassess one’s understanding of the evidence.

4. I consider it unlikely that Dr. Bird reviewed the published or unpublished DBRCT of
gabapentin as meticulously as did I and my colleagues Dr. Musini and Ms. Innes.
Without doing so, it is really impossible to understand accurately the numbers of patients,
the incomplete or misleading reporting of outcomes, and the complex issues of statistical
analysis raised – let alone face the issues of unblinding discussed in Professor Jewell’s
report.

5. Dr. Bird does not deal with the question of what drugs are suitable comparators for
gabapentin for active treatment experiments (e.g. morphinan opioids, methadone,
tricyclic antidepressants, carbamazepine). All of these have at least some putative
clinical trial evidence for efficacy in neuropathic pain, and morphine is clearly
demonstrated by the Gilron 2005 experiment to have efficacy markedly superior to
gabapentin.




XI) How did Parke-Davis/Pfizer market Neurontin so successfully?


        The following is a general itemized summary of the information I reviewed, by
year, starting with the calendar year 1995. I have summarized as succinctly as possible
my impression of the content, apparent intent, and potential import of statements,
positions, opinions, events, or planned actions referred to in documents I reviewed. I
have referenced such items to the “Bates number” of key pages, for easy identification of
the relevant sources. I will refer to Neurontin and gabapentin interchangeably, since
patent protection ensured that Neurontin was the only brand of gabapentin available in
the United States during these years.
1995:
1. A document entitled “Marketing Assessments Neurontin in Neuropathic Pain and
Spasticity” dated July 31, 1995 shows that Parke-Davis had developed a strategic plan to
expand the utilization of Neurontin (gabapentin) well before it commenced to design and
sponsor randomized clinical trials. (WLC_Franklin_0000166608 et seq.) This was an
international effort, involving company staff from Holland and Germany, as well as the
United States. Page 1 of the letter from Olivier Brandicourt of Parke-Davis Product
Planning in Morris Plains, NJ accompanying distribution of this document within Parke-
Davis is telling:
“The results of the recommended exploratory trials in neuropathic pain, if positive, will
be publicized in medical congresses and published …”
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The main document shows that Parke-Davis’ principal interest was what it saw as a large
and lucrative market for Neurontin in pain therapy, as opposed to the relatively limited
market which might be available for spasticity, e.g. from multiple sclerosis. Preliminary
contacts with physicians at various pain management centres had allowed Parke-Davis to
come up with a list of potential investigators, including Dr. Gorson who later became the
first that we are aware of to complete a DBRCT with Neurontin for PDPN. The potential
market for PDPN was thought to be “moderate in size”, at about $200 million U.S. per
annum in 1995. I find it intriguing that a table on page 11 of this document refers to the
efficacy of acetaminophen with codeine (e.g. Tylenol #3) for “neuropathic pain” as
clearly superior (“+++” vs. “+”) to that of amitriptyline, which it termed the “gold
standard” of therapy. The same table categorized the analgesic efficacy of gabapentin as
unknown.
Amongst “opportunities” this document states with respect to “neuropathic pain” (NP) at
page 14: “The NP market is undervalued due to the inexpensive cost per day of therapy
associated with generic antidepressants, and generic narcotic and nonnarcotic
analgesics.” Page 15 proposed that “Neurontin Development” could begin by pooling
open label data from several centers known to be experimenting informally with
Neurontin for pain, and by arranging for “investigators (to) present this data at
neurology and pain conferences”. This could be followed by partial funding and drug
supply for “exploratory” trials in several U.S. pain management centres using identical
protocols, from which data might later be pooled for publication. “This will facilitate a
rapid completion of studies which could be rapidly highlighted at the neurology and pain
congresses in 1996/1997.”
Page 1 of the document (WLC_Franklin_0000166608 et seq.) reveals that the urgency to
get such trials under way promptly and to disseminate any “positive” results (covering
letter) derived from the expected expiry of the patent extension in 1999. To use a
Canadian metaphor, if there were going to be a Klondike gold rush, it was essential to get
on the first boat to Skagway and over the Chilkoot Pass before winter closed the window
of opportunity. It was, so to speak, “North to Alaska and full steam ahead!”
1996:
2. An article appears by Dr. Rudolph H. de Jong of the University of South Carolina
School of Medicine (de Jong RH. Neurontin: Pie in the Sky or Pie on the Plate? Pain
Digest 1996; 6:143-4) labeled as a “Guest Editorial”. (MDL_Vendors_086685-6) A
Google search (July 29, 2008) suggests that this article was rather widely cited thereafter,
even though it appeared in an obscure new journal (Volume 6). Interestingly Dr. de
Jong’s editorial indicates that he had been using gabapentin off-label for various pain
syndromes but typically at relatively low doses: “From 600 to 900 mg per day, given in
three divided doses of 200 or 300-mg tablets – after initial up titration – is a good target
for gauging analgesic effectiveness. If inadequate or no relief is obtained from 1200
mg gabapentin per day, little is likely to be gained from further dose escalation.”
(emphasis added) Although Dr. de Jong acknowledged the potential of larger doses, he
also pointed out that “Since pain patients, by the very nature of their symptoms, are
heavy consumers of analgesics and coanalgesics with potential CNS-depressant effect,
it stands to reason that gabapentin be prescribed with circumspection.” (emphasis
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added) This relatively conservative early message about the off-label use of gabapentin
is scarcely echoed in the marketing campaign of subsequent years (see below).
1997:
3. As early as June 6, 1997 Parke-Davis sponsored a series of “continuing medical
education” fora, initially entitled “Emerging Concepts on the Use of Anticonvulsants”.
(WLC_FRANKLIN_0000066844, et seq). These were used to introduce the concept of
“Treating the Neuropathic Pain Syndromes”. Different speakers were invited to present
what appear to have been similar materials and ideas, e.g. Dr. David R. Longmire on May
10, 1997 (Saratoga Springs NY), Dr. Charles E. Argoff on May 16, 2997 (Rye Brook,
NY), Dr. Alexander Mauskrop on May 30, 1997 (Newport RI), and again Dr. Longmire
on June 7, 1997 (Rochester, NY). The speakers’ titles suggest that the doctors delivering
the speeches were interchangeable. I presume they were members of a paid “speakers
bureau” for Parke-Davis, and may indeed have been interchangeable, insofar as they may
have undergone similar training regarding the materials and/or slides to be presented,
notably a set of “Key Presentation Slides” of the same name (WLC_CBU_180737). Dr.
Ahmad Beydoun also lectured during two of the above May 1997 sessions, on “Current
Decisions in Treatment Options: Finding a Place for Newer AEDs”. Many presentations
of a similar nature followed. The presenters had no evidence from DBRCT of gabapentin
for pain, as there was no such evidence until the Gorson trial was completed (at about the
same time, mid-1997). This did not stop presenters from making standardized favourable
references to anecdotal clinical evidence (WLC_CBU_180753 et seq). The common
themes of these presentations appear to me to have been to:
a) Introduce Neurontin (gabapentin) favourably to a broad audience;
b) Introduce the notion that gabapentin might have efficacy for non-approved uses
outside the field of epilepsy (for which Neurontin was licensed but little used) – a
hypothesis for which there was no scientific evidence;
c) Encourage the notions that larger doses of gabapentin might be better tolerated than
the audience knew or suspected to be the case, and that larger doses were more likely to
be efficacious for some medical purpose(s) – an idea for which there was no evidence
and indeed evidence to the contrary from the monotherapy clinical trials in epilepsy;
d) Stimulate a good feeling or “buzz” about Neurontin as an up-and-coming drug of the
future – in the absence of evidence that it was efficacious or effective outside of the
approved but little used indication for epilepsy.
        Reading the electronic or paper records some 11 years later strains the eyes and
leaves one little inspired. However, I can well imagine from personal experience of
similar marketing events in nice hotels (typically presented as “CME” and eligible for
maintenance of competence CME credits) that the “buzz” created by these presentations
was real and exciting for those in attendance. I see no indication from the materials I
reviewed that realistic Conflict of Interest (COI) declarations were made to the audiences.
Even recent history in a time of greater scrutiny suggests that meaningful COI
declarations would have been highly unlikely.
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4. A “continuing medical education” program sponsored by Louisiana State University
Medical Center-Shreveport entitled “Managing the pain of diabetic neuropathy”
commenced in November 1997. One of the first pages of the “enduring materials”
document (WLC_Franklin_00080453) provides typically non-informative “declarations”
by “faculty” of “no significant conflict of interest disclosed”. In my general medical and
academic medical experience this is a meaningless statement. As a former legislator
and member of the Executive Council (provincial Cabinet) in British Columbia who was
subject to meaningful and enforced Conflict of Interest legislation, I find such
declarations non-credible or even pathetic, rather than laughable. Again the gist of these
“CME” presentations was to promote pharmacotherapy generally, and gabapentin
specifically. For example:
a) Dr. Roger E. Kelley (WLC_FRANKLIN_0000080457) promoted the notion that cost
should not stop patients from taking a drug, arguing that “…When cost is an issue,
patients are likely to give up on a medication much sooner, … For example, someone
may say a medication is ‘intolerable’ when, in reality, side effects are mild.” (emphasis
added) This may be a peculiarity of the United States. I have never in my career heard
any patient confuse cost with clinical tolerability. I think most intelligent patients would
be offended by the above remark.
b) Dr. Gloria M. Galloway (WLC_FRANKLIN_0000080462 et seq) promoted the
notion of using gabapentin at doses of 1800-3600 mg/day. At this time, there was no
clinical trial evidence supporting the use of gabapentin for this purpose, and Parke-Davis
was well aware that 1 trial (Gorson) had been completed and produced negative results in
PDPN at 900 mg/day. I have no way of knowing whether Dr. Galloway was aware of Dr.
Gorson’s results.
c) A “post-test” component designed ostensibly to provide CME credit for doctors can
more realistically be construed as a promotion for “non-evidence based medicine”
(WLC_FRANKLIN_0000080472) insofar as it promoted the “advantages to the use of
gabapentin in the management of painful diabetic neuropathy” in the absence of any real
evidence.
1998:
4. The Cleveland Clinic Foundation also participated in this process, via a “closed
symposium” held on July 24, 1998. This was presumably intended not only to maintain
the “buzz” but to be disseminated as “Proceedings” in the Cleveland Clinic Journal of
Medicine (Supplement 1 to Volume 65, 1998). The technique of supplement publication
avoids peer review, but allows publication in what appear to most relatively naïve doctors
to be highly prestigious and presumably reliable medical journals. The acknowledgement
of “an educational grant from Parke-Davis” is less prominent and typically such
acknowledgements appear on an inside page of the original journal or reprint.
(Pfizer_TMartin_0001739) A presentation by Dr. Harold H. Morris of the Cleveland
Clinic promoted the concept that because gabapentin does not require liver metabolism, it
might be safer than alternative anticonvulsant drugs and states that “…The most common
adverse effects of gabapentin are somnolence, ataxia, dizziness, and fatigue. Significant
side effects, however, are uncommon and rarely necessitate withdrawal of the drug.”
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(Pfizer_TMartin_0001754) This statement strikes me as calculated to encourage use of
Neurontin with relatively little regard for its pharmacodynamics, including its
interactions with other drugs affecting the brain, commonly taken by patients who might
use gabapentin. A presentation by Dr. Edward Covington alluded to the Backonja 1998
JAMA study as “in press”, although Dr. Covington was not a co-author of that study,
which was not to be published until December 2, 1998. (Pfizer_TMartin_0001762) It is
interesting that Dr. Covington pointed out the sedative effects of gabapentin, which he
felt might be useful for sedative drug withdrawal syndromes. He described an almost
immediate effect from his own observations, something that contrasts with the general
push for long periods of treatment (weeks to months) and gradual dose escalation (see
below).
5. A series of Parke-Davis documents (WLC_CBU_000222 et seq) contain a vivid “play
by play” description starting on October 1, 1998 of how Parke-Davis planned the
“launch” of the JAMA reports of DBRCT of gabapentin for PHN and PDPN. This
included such strategies as:
a) a multi-pronged launch of the scientific publications on December 2, 1998 to be
coordinated if possible with the institutional bases (universities) of the principal authors
Backonja and Rowbotham, the JAMA itself, and relevant “disease organizations” – Drs.
Backonja and Rowbotham were to figure prominently in this campaign;
b) an attempt to develop a “consensus conference” for the use of antiepileptic drugs
(AED) for pain at the Curacao Southern Clinical CME Event in January 1999
(presumably a highly desirable destination at that time of year for “consensus
developers”);
c) a wide range of meetings of “Neuropathic Pain Advisory Boards” composed of
neurologists, anesthetists, pain specialists, and primary care physicians (estimated cost
about $2,000 per physician attending), and a wide series of “CME Dinner Meeting
Series” on “New advances in pain management” featuring doctors trained at a cost of
about $2,000 per trainee who would be provided with “slide kits”; (WLC-
CBU_000229);
d) A highly sophisticated news and “infomercial” (my terminology) campaign extending
to the use of video “infomercials” to “captive” airplane audiences and a “blast e-mail”
to physicians and infiltration of internet “bulletin boards” devoted to pain treatment
(WLC-CBU_000232-238 et seq)
One important strategic plank in this campaign appears to have been to systematically
exaggerate the prevalence of painful diabetic neuropathy and post-herpetic neuropathy.
This is borne out in the “Neurontin Studies/JAMA Video News Release/B-Roll”
designed by Makovsky & Company of New York City for Parke-Davis. (WLC-
CBU_123550 et seq) Note the “Suggested Studio Lead-In”: “There’s encouraging news
today for millions of Americans who suffer from an unrelenting condition called chronic
neuropathic pain…” (emphasis added) It must have been encouraging indeed for bored
passengers to view such good news, presented by confident white-coated doctors and a
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mellifluent voiceover announcer, especially after wedging themselves into the cramped
quarters of a trans-continental airplane.
Although it was not unusual at the time (and remains unfortunately common in 2008), it
is noteworthy that the putative beneficial effects of Neurontin were couched in these
“infomercials” in relative, rather than absolute terms, e.g. for PHN, “importantly,
almost twice as many patients treated with Neurontin (16%) were pain-free versus those
treated with placebo (8.8%) at the end of the trial” (WLC-CBU_123550). Would the
“buzz” have been quite so vibrant if Parke-Davis or its medical allies had stated that of all
patients treated with gabapentin for PHN, about 7% of patients similar to those enrolled
in the Rowbotham trial might expect to be “pain-free” at the end of 8 weeks, thanks to the
treatment? I doubt it. The latter way of explaining clinical trial results reflects more
accurately the real benefit of the treatment. But it is obviously much less attractive
to the average person to present a number needed to treat (NNT) of 14, which can be
expressed in plain English by saying: “If you and fourteen of your peers take this drug,
one of you will really like it.” No wonder drug companies and others promoting medical
treatments still prefer to advertise relative, as opposed to absolute changes – the relative
approach sells much better.
Apparently, Parke-Davis marketers hoped this campaign might produce a sales increase
in the range of $46 to $70 million in the first year. (WLC-CBU_000261)
6. (WLC_CBU_028473) gives a simple example of how Parke-Davis utilized a third
party, the seemingly independent “Institute for Continuing Healthcare Education”
(Philadelphia, PA) to deliver its message as a 1 hour “audioconference” delivered by Dr.
Ahmad Beydoun of the University of Michigan Medical School (second author of
Backonja 1998). While labeled (or disguised) as “Continuing Medical Education”, and
made eligible for official CME credit, this program was available 24 hours a day through
a toll-free long distance telephone number: 1-888-836-2764. This was obviously not a 2-
way exchange between a university faculty member and an inquiring audience. I would
suspect it was more likely to appeal to a physician desperately seeking to meet a “CME
quota” before the end of the calendar year 1998 to prepare for re-licensure or hospital
privileging. An objective observer from outside of the medical world might recognize
this sort of presentation as “propaganda”.
7. (Pfizer_LeslieTive_0002824 et seq.) demonstrates how these messages were
converted into slide kit presentations which could be made available directly to doctors,
presumably the various local “Key Opinion Leaders” favoured by Parke-Davis. (I have
not recently been offered this sort of slide set by a pharmaceutical company, although I
would find a few examples handy for teaching my medical students and postgraduate
medical trainees about how marketing influences distort the interpretation of clinical trial
results.) The “Commentary” sections beneath the bottom of some slide sets appear to be
suggestions as to what the speaker using the slide set might say when making a
standardized presentation which he/she had not personally prepared. Is it likely that such
medical “experts” or “KOL’s” disclosed to their audience: “By the way, I didn’t prepare
these slides – they were made by Parke-Davis who paid me to learn how to present them
to you”? I doubt it. I have seen many academic physicians sneak such slides into their
“grand medical rounds” or similar ostensibly academic presentations. Sometimes they
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flaunt their dependence on external coaches or purveyors of packaged content. Often the
more inexperienced members of the audience, even in a university teaching hospital,
cannot tell the difference between genuine academic content and “infomercial”. That is
why such approaches work so well. Much more money is expended in North America on
pharmaceutical advertising to physicians than on real medical education because the
advertising, in all its forms, works.
Again, one can scarcely perceive in these dry paper or electronic files the full impact
achievable in a live presentation through the personal warmth, self-deprecating humour,
and sense of confidence which a good medical “expert” can inspire when performing
before a willing medical audience. Physicians are no more immune than anyone else to
seduction by power and perception. But even the paper materials reveal Parke-
Davis/Pfizer’s systematic effort to exaggerate the prevalence of painful diabetic
neuropathy - as opposed to all diabetic neuropathy, which is typically not painful but
causes reduced sensation. (Pfizer_LeslieTive_0002865 et seq.) The general technique of
the slide sets is to mix what appears to be “science” (e.g. “basic pharmacology of
gabapentin” or “pathophysiology of diabetic neuropathy”) with marketing in such a way
as to give the illusion of education while steering the audience in a very specific
direction. W. B. Yeats’ famous quotation, “Education is not the filling of a pail, but the
lighting of a fire” did not apply in these sessions. Physicians in attendance at such
sessions were having their “pails filled”. It was Neurontin’s “fire” that was to be lit.
For example, the suggested slide commentary describing the change in mean pain scores
for PDPN (Backonja 1998) reads “Mean pain scores were significantly lower in patients
receiving gabapentin compared with those receiving placebo at weeks 2 through 8.”
(Pfizer_LeslieTive_0002897) A more thorough, accurate, and balanced description of the
same data would have presented the numbers of patients still present at each observation
point (to adequately reflect drop outs from the experimental groups). An objective
presenter would have pointed out that the modest difference in mean pain score between
the gabapentin group and the placebo group was observed at a dose of 1800 mg/d by
week 2, that any such difference may well have been present earlier, and that the
difference between groups did not increase as the dose was later increased to 2400
mg/d and then to 3600 mg/d. Unfortunately, I found no balanced interpretation of
the data in any of the slide presentations I reviewed. Similarly, a slide for the PHN
study (Rowbotham 1998) fails to point out that higher doses after week 2 of the trial
produced no further separation of the gabapentin group from the placebo group for mean
pain scores, but it is unlikely that this was emphasized by presenters.
(Pfizer_LeslieTive_0002929)
Rare moments of candour can be found in the slide sets. A slide entitled “Overview
of Adverse Events” discloses that in the PHN study (Rowbotham 1998) the gabapentin
group experienced almost twice as many adverse events (278 total AE vs. 151 for the
placebo group), a statistic not reported in the JAMA article and not otherwise knowable
without access to the confidential final study report. (Pfizer_LeslieTive_0002942)
Whether this slide (which is reproduced incompletely) was utilized in what must already
have been long-winded presentations, I cannot tell. But a closely following slide
(Pfizer_LeslieTive_0002944) again underplays the significance of neurological adverse
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effects from gabapentin, and the “Commentary” suggests blithely that “Despite doses of
gabapentin up to 3600 mg/day in a population with an average age of 73 years, no
serious drug-related adverse events were reported”. Given what was already known
clearly from clinical trial experiments about the incidence of somnolence, dizziness,
“asthenia”, ataxia and edema caused by gabapentin, it strikes me that this was an open
invitation for doctors in the audience to prescribe or precipitate neurotoxicity. Although
the slide sets typically presented the study inclusion and exclusion criteria, how many
doctors in the audience would recall by the end of the presentation that these strict
inclusion and exclusion limits for participation in the DBRCTs virtually guaranteed that
the results would not be applicable to the real world? That is the difference between true
continuing medical education and advertising or propaganda. Education fosters inquiry
and reflection; advertising (propaganda) smothers both.
1999:
8. The Institute for Continuing Health Care Education of 210 West Washington Square
in Philadelphia, PA revealed its hand in a letter dated February 2, 1999 addressed to
David Simpson, DO of Farmington Hills, Michigan. The labeling on this paper
document (VOX027405 at the bottom right corner) is somewhat different from other
“Bates numbers”. Just above that it also bears the numbers CCI 06087. Either way it is a
revealing insight into the Institute. Here are some tantalizing excerpts:
“February 2, 1999
“David Simpson, DO
2859 Orchard Lake Road
Suite 200
Farmington Hills, Michigan 48334

“Dear Dr. Simpson:

“The Institute for Continuing Health Care Education invites you to become a faculty
member for a series of Continuing Medical Education programs supported by an
educational grant from Parke-Davis. These CME programs will consist of dinner
programs, grand rounds and telephone conferences X (sic) all to be conducted
throughout 1999. The program is one of several nationwide efforts in continuing medical
education known as the National Initiatives in Continuing Medical Education. The
current program is entitled, Reevaluating Neuropathic Pain Treatment Algorithms:
New Data in the Management of Diabetic Peripheral Neuropathy and Postherpetic
Neuralgia… (emphasis in original)

“Qualified speakers will be entitled to conduct CME-certified presentations. These
presentations will reevaluate the role of anticonvulsants in the treatment algorithm of
both diabetic peripheral neuropathy and postherpetic neuralgia in the light of new data.
You will be provided with a lecture curriculum to complement your personal slides for
your presentations.
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“For faculty training, we ask that you listen to a taped CME telephone presentation
delivered by program chair, Ahmad Beydoun, M.D…. Please dial 1-888-836-2764 at
your convenience … (emphasis in original)

“!     An honorarium will be provided for each lecture that you deliver.
“!     Travel and accommodation expenses related to your participation will be fully
       reimbursed according to normal guidelines on such expenses…”

(exclamation marks in original, as shown). The letter was signed by Theresa Gaulthier of
the “National Initiatives” staff.

I find this one of the most intriguing of all the documents I perused, because there are
subsequent intimations (see calendar year 2003 below) that the same Dr. David Simpson
later appears to have come under suspicion by senior Pfizer staff of having made
mischievous use of the slide sets. Pfizer staff became aware of this possibility when Dr.
Robert Dworkin (an eminent academic pain specialist with a real research record) drew to
their attention in 2003 his concerns about Dr. Simpson’s unusual publication in a 2001
edition of the obscure Journal of Clinical Neuromuscular Disease of an article with
purported methodology and results strikingly similar to that of the Backonja 1998 trial.
Dr. Simpson’s 2001 article itself states that an earlier partial version of his apparent study
of gabapentin and venlafaxine for DPN had been presented at the 23rd Annual
Electrodiagnostic Medicine Course in September 2000. Whether Parke-Davis ever knew
about Dr. Simpson’s real or non-existent clinical trial in 1999 or later is unclear to me.
However, the observed similarities between Dr. Simpson’s 2001 publication and the 1999
Parke-Davis slide sets suggest that Parke-Davis and its agent the Institute for Continuing
Health Care Education later achieved a significant if unintended “spin-off” from their
wide duplication and circulation of the Neurontin slide sets to “faculty members”.


9. The full frontal promotion of Neurontin continued as planned the previous October by
Parke-Davis. A beautiful example is what appears superficially to be a new “medical
journal”, labeled “Progress in Neurology Volume 1, Number 1 March 1999”. (WLC-
CBU_079302) The use of another third party, the “Dannemiller Memorial Educational
Foundation”, may have side-stepped more traditional and appropriate academic
requirements for certification of CME, and the “Faculty Disclosure” is superficial and
given little prominence in small print. Although the materials are clearly labeled as
“supported by an educational grant from Parke-Davis”, they do not even hint at Parke-
Davis’ ambitious marketing plan (described in the documents referred to above) to use
Dannemiller as what might be termed an “external validator”. The use of a medical
journal format might be expected to mislead the reader into believing that the content was
subjected to an external peer review. This is obviously not the case. The overall
structure is designed to make advertising look like continuing medical education.
The aggressive “roll-out” of Neurontin after the JAMA publications was continued by
Dr. Michael J. McLean, speaking at “Treating the Aging – New Options for Pain,
Psychiatry, Epilepsy, Stroke”, an event held at the Marriott Marquis hotel in Atlanta,GA.
Dr. McLean couched gabapentin (Neurontin) as “the new”, contrasted with other
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anticonvulsant drugs (antiepileptic, AED) such as carbamazepine, which “will represent
the old”. (MDL_Vendors_085847) This is out and out attention-seeking marketing
language, not scientific or medical language. It is comparable to how self-promoting
biologists refer to their discovery of a “new” yet ancient biological species, or how
anthropologists may describe an isolated Brazilian aboriginal tribe as “new”. Both
carbamazepine and gabapentin are artificial chemical compounds which are latecomers to
the human environment, both were discovered within 1-2 decades; thus if one is “new”
then so is the other. The context of Dr. McClean’s remarks must have been to raise
excitement about a drug largely because it was “new”, rather than because of its own
merits, relative to other treatment options (drug or non-drug). This is how all newly
licensed drugs are sold. Only the most experienced physicians and the most discerning of
patients prefer “old drugs” to “new ones”! The latter class of physicians are the old
hands who joke to their students: “I always try to prescribe a lot of the new drugs during
their first six months on the market, while they still work!” This is of course intended to
be facetious, although in my experience some medical students are already so socialized
to believe that “new” = “better” that they miss the joke.
10. By November 1999 Dr. Ahmad Beydoun continued promotion of Neurontin in
another Parke-Davis/Dannemiller Memorial Education Foundation product, “New
Pharmacologic Options for the Management of Neuropathic Pain – A Practical Treatment
Guide”, also designated for official CME credit. (SH_0044640 et seq). As in other such
documents, the discussion of “Diabetic Neuropathy” appears calculated to exaggerate the
prevalence of painful diabetic peripheral neuropathy (PDPN). No specific claim for the
prevalence of PDPN is made. Instead, estimates of prevalence for all diabetic
neuropathy (most of which is not painful) are presented and highlighted. For
example, a sidebar emphasizes in bold type that “… In another study …neuropathy was
diagnosed in 61% of patients with diabetes.” (emphasis in original, SH_0044654)
Similarly, the cited prevalence of ongoing pain from post-herpetic neuralgia (PHN)
strikes me as grossly exaggerated, compared with more reliable published estimates (see
my discussion earlier in this report). The article attributed to Dr. Beydoun trumpets,
“Pain lasting more than one year is estimated to occur in 22% of PHN patients over 55
years of age and in 48% of patients over 70 years of age.” (SH_0044654-7)
Dr. Beydoun’s discussion of alternatives for treating pain in PDPN and PHN, such as
opioid analgesics, was brief, superficial, and unbalanced. He noted that in one small
study comparing oxycodone with placebo for PHN, “… 75% of patients treated with
oxycodone reported adverse events that included constipation ,nausea, and sedation”,
but not whether in clinical experience patients adjust to such adverse effects, as they were
purported to adjust to the adverse effects of gabapentin. (SH_0044664) The highlighted
comment “Opioid narcotics are rarely used for the treatment of neuropathic pain and
should be reserved for patients who have failed other treatment modalities” (emphasis
in original) constitutes pure opinion, and is contrary to the view expressed in 1995 by
Parke-Davis’ own marketing department (see paragraph 1, 1995 in this section).
This article may not even have been written by Dr. Beydoun - it would be unusual for an
academic physician to use the redundant phrase “Opioid narcotics”. In this document
the discussion of gabapentin’s safety is somewhat more balanced than elsewhere, noting:
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“The side effects most commonly associated with gabapentin include somnolence,
dizziness, and generalized fatigue. However, most of the side effects typically subside
within 2 weeks. Some patients might develop nystagmus, ataxia, or weight gain. A
nonpitting peripheral edema is dose related and age related; it is most commonly
experienced by elderly patients treated with high doses…” (SH_0044664) Similarly, Dr.
Beydoun notes that “… some patients respond to daily doses as low as 100 mg…”
However, while the assertion that adverse effects of gabapentin “typically subside within
2 weeks” might conceivably be correct, I have been unable to find anything in the clinical
trial or unpublished reports that supports this. Repetition of this mantra by “experts” is
not supported by the experimental evidence, such as it is, even from open trials like the
Brazilian trial A945-1004 referenced above. It flies in the face of clinical experience and
comments made by various doctors who participated in “advisory boards”.
Gabapentin was now being promoted as “First-Line Therapy” (as an alternative to
tricyclic antidepressants) for painful neuropathies other than trigeminal neuralgia, with
opioids relegated to “Fourth-Line Therapy” behind strange choices (already or later
proven to have no useful clinical value for pain) such as mexilitine, SSRI antidepressants,
phenytoin, and lamotrigine! The sponsor (Parke-Davis) and unidentified formulators of
these materials protected themselves from chastisement by the US FDA by placing small
asterisks indicating that virtually all such uses were “not approved for this indication”.
(SH_0044684-5)
11. There is still no mention in these materials of the less favourable results from other
trials, already known or likely to have been known to Parke-Davis, if not Dr. Beydoun,
by this time, i.e.:

   •   Gorson (trial completed by 1997, results known to Parke-Davis by August 23,
       1997

   •   Reckless (trial completed September 1999, blind broken by Parke-Davis
       statisticians October 26, 1999)
12. As 1999 came to a close, the “roll-out” planned in October 1998 continued to reach a
broad audience via additional non peer-reviewed publications, e.g. “Supplement to
Clinical Geriatrics The Clinical Authority in the Care of the Mature Patient” (CDM
0022270) The ultimate message attributed to Dr. Keith R. Edwards was simple: “The
statement that amitriptyline is the ‘gold standard’ for treatment of painful diabetic
neuropathy or postherpetic neuralgia is probably outdated, given the comparable
efficacy of gabapentin with a greater safety profile.” (CDM 0022270)
13. Parke-Davis ended 1999 with the Neurontin wind full in its sails.
(WLC_CBU_175636 et seq) strikes me as a good example of how the “Neurontin
Advisory Board” meetings were used by Parke-Davis, assisted by “IntraMed Educational
Group”, to utilize or manipulate physicians for the promotion of Neurontin (gabapentin).
In this case, Texan doctors in the Houston area convened at the Omni Hotel in Houston
on December 1, 1999 to listen to Dr. Ahmad Beydoun and for “dialogue”. The meeting
summary prepared by Alissa Sklaver of IntraMed and addressed to Cyndy Phillips of
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Parke-Davis on December 13, 1999, shows that “Parke-Davis’s goal for the meeting was
to gain information from the attendees on how they can better market Neurontin in the
future, and how their current marketing strategies are working and being perceived.”
(sic) Ms. Phillips presented images of new 600 and 800 mg tablets of Neurontin. Dr.
Beydoun referred not only to the Backonja (945-210) and Rowbotham (945-211) trials,
but also to a migraine prophylaxis protocol (945-220). I am not familiar with this
protocol, which did not show up during my review of pain, unless it is the Australian
study (Spira 2003), which its authors describe in Neurology 2003 as “investigator-
initiated” but supported by Parke-Davis. Dr. Beydoun again comes across in the written
notes as somewhat more conservative in his views about gabapentin dost-titration than
Parke-Davis. The notes suggest there was a lot of speculation amongst attendees about
various potential uses for gabapentin, something presumably intended by Parke-Davis to
maintain the Neurontin “buzz”.
14. (WLC_CBU_072249 et seq) shows that by December 21, 1999 Parke-Davis had also
involved Medscape, another internet-based commercial source of “CME” for physicians,
through an “educational grant”, now involving Dr. Gary Bennett (Ph.D.), Dr. Robert
Dworkin (Ph.D.) and Dr. Bruce Nicholson in a program entitled “Anticonvulsant Therapy
in the Treatment of Neuropathic Pain”. Parke-Davis was concerned about rivalry from
two other drugs (topiramate/Topamax and lamotrigine/Lamictal) approved in the USA
only as anticonvulsants but rapidly gaining market share for off-label uses. (Both of
these drugs have subsequently been demonstrated to be very toxic, especially topiramate,
and virtually useless for pain.)


2000:
15. The “Neurontin fever” (my term) continued to mount. If none of the speakers’
bureau members literally headed “North to Alaska”, that may be because the population
of Alaska was too small to bother with or because Alaskans, like extreme northern
Canadians, do not feel pain. (WLC_CBU_164409 et seq) shows that in January 2000
similar “Speakers Bureau” presentations continued virtually everywhere in the “lower
48”. For example “Advanced Perspectives in the Management of Neurological
Disorders”, a large conference held in Scottsdale, AZ attracted not only 8 “Marketing
Managers”, “Area Business Managers” or “Territory Managers” and 1 “Medical Liaison”
from Parke-Davis as well as 5 prominent members of the “Speakers Bureau” or
“Faculty”, but 98 “South Central Region” U.S. physicians and 38 “West Region”
physicians. Judging by the addresses, these were primarily community (non-academic)
physicians. Notes from this meeting labeled “Lecture Summaries and Panel Discussions”
suggest that the lead “Faculty” member, Dr. Martha J. Norrell of Columbia University,
promoted the concept that (at least for epilepsy) gabapentin up-titration was
remarkably safe: “The data on tolerability suggests that patient tolerability not lost as
titrate upwards. Tolerability issues will be apparent with initiation but not with titration.
The only side effect emergency with higher dosage was somnolence.” (sic)
(WLC_CBU_164418) Intriguingly, Dr. Beydoun is cited as suggesting with respect to
treatment of PDPN with gabapentin (from study 945-210, JAMA 1998) that: “As early as
week 2, there was significant improvement that was maintained. If there will be a
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response, it will appear early. No high doses needed. Placebo data exhibited a bell
shaped curve while the gabapentin group shifted to the left with the majority being
improved and pain free…” (emphasis added) (WLC_CBU_164423) Dr. Beydoun’s
relatively conservative message that a patient should be able to tell early in treatment
whether gabapentin could provide any useful balance of benefit vs. harm, and his
suggestion that this was usually ascertainable at low doses, seems to have been buried in
these minutes, compared with the dominant message to “push the dose”, or that the
“majority” of gabapentin-treated patients were pain free (something clearly not in
accordance with the evidence, compared with placebo). Sample comments excerpted on
the last page of this internal report document how the meeting psychology worked as
intended, e.g. the comment of one attendee: “My utilization for Neurontin was rapidly
falling down in direct relationship to a rapid climb for my utilization of Topiramate.
Thanks to current information learned on this meeting I will reverse that trend.” (sic)
(WLC_CBU_164432)
16. (WLC_CBU_076620 et seq) gives a clear example of the dominant “push the dose”
message, now incorporated by Dr. Charles E. Argoff in “Management of Neuropathic
Pain Syndromes – A Supplement to Neurology Reviews, Clinical Trends & News in
Neurology, March 2000”. What appears superficially to be a “medical journal” is in fact
a publication of “Partners in Medical Communications”, made possible through an
“unrestricted educational grant from Parke-Davis”. All but one of the speakers
(including Dr. Miroslav M. Bakonja) disclosed in fine print at page 2 associations (grants,
Speaker’s bureau, consultant) with Parke-Davis and other pharmaceutical companies.
Although this material was “designated” for 2 hours official CME, like similar
documents referred to above (and below), this description is by any reasonable standard a
euphemism for “infomercial advertising”. Dr. Argoff of the “Pain Management Centre”,
Syosset, NY emphasized: “It is important not to underdose gabapentin when managing
PHN; the average maximally effective dose in the recently published controlled trial was
3,600 mg (with an average participant age of over 70). In practice, I have seen many
patients who were told to stop gabapentin due to apparent lack of efficacy at doses of
1,800 mg or less. The available data strongly suggest that this is not appropriate, absent
significant side effects. (63)” (emphasis added,WLC_CBU_076638) The reference (63)
is to the Rowbotham 1998 trial of gabapentin for PHN, which used a forced titration
schedule to 3,600 mg/day, but this trial does NOT show greater efficacy for higher
doses. This trial also excluded patients who had previously taken gabapentin, and may
have thereby artificially reduced the apparent toxicity of gabapentin. Dr. Argoff’s
message in print is an obvious misunderstanding, distortion, or misrepresentation of
the experimental evidence, and is inconsistent with what can be discerned from a
careful examination of all trial data. Interestingly, the sentence cited above does not
state that increasing the gabapentin dose above 1,800 mg/d improves results, although it
is obviously crafted to encourage doctors to use higher gabapentin doses! Did Dr.
Argoff in fact write this article published via “Partners in Medical Communications”?
17. (WLC_CBU_164379) refers to a presentation at the Westin Hotel in Denver, CO by
Dr. Beydoun, who was now suggesting that for epilepsy, dose titration of gabapentin
beyond 1800 mg/d to 3600 mg/d or even 4800 mg/d “… indicated that the side effect
profile was very similar at 3600 mg as compared to the profile at 1800 mg … The
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investigators found dissociation between the dose and side effect profile …” This remark
relates to epilepsy, and I do not know whether the published or unpublished data confirm
this claim, which lay outside of my mandate to review gabapentin for pain treatment. In
response to a questioner identified only as “Phillips”, Dr. Beydoun responded that in
treatment of epilepsy “If they do experience adverse events, they’ll tell you right away. If
they tolerate the drug, they will tolerate it early on.” (WLC_CBU_164380) I find this
response more consistent with my own clinical experience with gabapentin and with
other drugs acting on the central nervous system. It would be a very unusual drug indeed
for which increasing doses did not increase adverse effects. Dr. Beydoun again insisted
that most side effects of gabapentin are transient, e.g. “… It’s important to let the patients
know that there is a 1 in 5 chance of developing side effects and they will lessen after 10
days…” I could find no evidence from the clinical trial reports satisfying me that this is
correct, although it would not be unprecedented for patients to accommodate to adverse
effects, just as many accommodate to pain. Had I been an attendee at these presentations,
it might have been easier for me to discern whether Parke-Davis’ real strategy was to
encourage the use of high doses of Neurontin in epilepsy to pave the way for “dose-
creep” in pain. From a strictly commercial point of view, if Parke-Davis could persuade
doctors that they were “underdosing” their patients, at least another few weeks or months
of Neurontin sales could be racked up for each sufficiently gullible or desperate patient.
This reminds me of the Las Vegas approach to separating gamblers from their money: if
you haven’t won yet at the slots, the big payoff is probably “right around the corner”.
Many gamblers have believed this over the years; few have been right.
18. Dr. Michael McClean of the Vanderbilt University School of Medicine was at full
throttle by April 13, 2000 when he appeared for a meeting of the “Parke-Davis Advisory
Board on Neurontin” at the Adam’s Mark Hotel in St. Louis, MO on April 13, 2000.
(MDL_Vendors_057668 et seq). After what I would consider a pseudoscientific prelude
(How many practicing doctors who attend pharmaceutical “advisory board” meetings
recall or care what a “zwitterion” is, amusing as it may be to pronounce this word in
German?), Dr. McClean turned up the heat, arguing that Neurontin had “…no
interactions with other drugs… therapeutic efficacy skyrockets when you increase the
dosage… The therapeutic index is 4-20. It means that there is a wide range of doses to
try and you won’t compromise tolerability when you’re trying to reach efficacy. The
useful dose range is about 900-4800 mg/day…” In this presentation he was talking about
treatment of epilepsy, but while I agree with him that gabapentin may be safer or easier to
eliminate (through two healthy kidneys) than some other CNS-active drugs, I consider
these comments both rash and at times incomprehensible. I can not imagine what he
meant by a “therapeutic index of 4-20”, as it is clear that some people experience marked
neurotoxicity at doses as low as 100 mg/day, whereas others tolerate 4800 mg/day with
no apparent effect, either beneficial or harmful. Dr. McClean’s presentation suggests to
me that he was more familiar with gabapentin data than most other “faculty” at meetings
of this nature, perhaps from epilepsy studies which I have not reviewed. For example at
(MDL_Vendors_057671) he pointed out that about 10% of patients (presumably those
treated for epilepsy) may gain 5-10 pounds, within minutes of dismissing gabapentin-
induced edema in elderly patients as “reversible”. Overall, this presentation strikes me as
less than appropriately cautious or restrained for a faculty member at a leading medical
school noted for its program in clinical pharmacology. An unidentified physician in the
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audience, responding to a question from Parke-Davis Area Business Manager Steve
Goodrum at (MDL_Vendors_057673) seems to have provided a reality check by
stating: “The only people I use it on complain about side effects at low doses. The more
I use it, they worsen. I’ve taken them off before they reach adequate doses.” This
message does not seem to have left the room, let alone appear in subsequent Neurontin
advertising. A little later during the same meeting, Parke-Davis Medical Liason Dan
Thomson helped answer an attendee’s question about using Neurontin on fibromyalgia
patients: “The literature background for Neurontin is overwhelming. We would be happy
to send you all the information about these cases.” I wonder what he was referring to –
presumably anecdotal case reports of which Parke-Davis was aware. Would Mr.
Thomson have been equally enthusiastic to distribute the reported comments of the
previous questioner?
I think that most ethical physicians would recognize this level of hucksterism as
fraudulent, but the ratings indicate that the attendees (specifically selected because they
were already generous prescribers of Neurontin and known to be friendly to Parke-Davis)
saw it differently – see the enthusiastic if not rapturous responses excerpted at
(MDL_Vendors_057667).
18. Dr. McClean made similar presentations espousing generous doses of Neurontin for
neuropathic pain, for example at a similar meeting at the Jefferson Hotel in Richmond,
VA. (MDL_Vendors_056840 et seq.) Had I attended one of these meetings and listened
to an apparently eminent academic physician from a major medical school, I think I
might have expected Dr. McClean to alert me if there were contradictory evidence from
any studies other than those he cited in his 3 references to gabapentin (one of them an
editorial). (MDL_Vendors_056847). By now, the Morello trial comparing gabapentin
with amitriptyline for PDPN had been published (1999), and the Reckless (945-224) trial
report had been finalized by Parke-Davis. Recall that the unpublished but now completed
Reckless trial showed no dose-dependent efficacy for gabapentin (indeed no efficacy
whatsoever for the primary outcome) but at least a strong suggestion of dose-dependent
toxicity. It was a much larger trial than that of Backonja and therefore more definitive.
Similarly, Gorson’s negative trial at 900 mg/d had been published, albeit selectively and
incompletely so as to paint a better picture than the reality of the trial. Why are these not
mentioned? What of the four large trials in acute pain, none of which had shown any
analgesic benefit from gabapentin and all of which had been completed, analysed and
reported within Parke-Davis by early 2000? Was Dr. McClean really unaware of this
information? If so, he was effectively duped. If he had been aware of it, then his
audience was duped, and he should have been ashamed to present a slide set without
so much as a pro forma conflict of interest declaration. I wonder what the
Vanderbilt University School of Medicine would think of this now? Note that Dr.
McClean was not alone. The same observations could be made about any other
physicians with close ties to Parke-Davis, who by 2000 ought to have surmised or
inquired about the possibility of negative trials.
19. Excerpts from a Parke-Davis Neurontin Advisory Board Meeting held on June 20,
2000 in Alabama afford additional fascinating but disturbing insights into how Parke-
Davis utilized what are now called local “Key Opinion Leaders” (KOL’s) to get its
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message across. (Pfizer_TMartin_0002200 et seq) These KOL’s were also useful to help
Parke-Davis understand what forces were determining Neurontin’s market share for
epilepsy and off-label uses. The “Attendee List” shows what appear to be neurologists
and/or psychiatrists from small and large towns throughout the southeastern USA. The
“advisory board” was clearly advisory to Parke-Davis for marketing, not for medical
issues. Members advised that to gain more market, “Neurontin just needs to emphasize
off-label indications.” (Pfizer_TMartin_0002205) Doctors present were impressed that
Neurontin was in fact a “…model to get indication for one thing (epilepsy) and then use
it for everything else”. (Pfizer_TMartin_0002205) It is also apparent that Parke-Davis
was keen to see specialists push the Neurontin dose. Tammy Martin, CNS Area Business
Manager for Parke-Davis Southeast CBU: “How many of you have patients who come to
you and say that they have tried the drug and it didn’t work? Are they willing to try it
again”? Responding “attendee”: “They didn’t try enough. They were lowballing the
dose. It takes effort to get them to retry it.” (emphasis added)
(Pfizer_TMartin_0002207)
Again, Dr. Ahmad Beydoun, co-author of the Backonja 1998 trial in PDPN, pointed out
that when gabapentin was used for PHN (Rowbotham 1998) an effect on pain scores
appeared as early as week 2, the first assessment date after baseline.
(Pfizer_TMartin_0002211) Once more, Dr. Beydoun was more conservative in his
dosing recommendations than other Parke-Davis spokesmen like Dr. Michael J.
McClean, stating that “for new patients, most do well on 9(00)-1200 mg (per day)”.
(Pfizer_TMartin_0002211) However, Dr. Beydoun’s relative restraint may have been
useful primarily to temper audience perceptions about Parke-Davis’ control of the
agenda, as his conservatism was not the overall message, which clearly favoured much
higher doses. Dr. Jeff Robinson (PhD) of Parke-Davis Medical Affairs is cited as having
remarked that “Gabapentin is an amino acid and thus is a safe product.”
(Pfizer_TMartin_0002212) This obviously incorrect statement gives some flavour of the
“scientific” tenor of such meetings. Their real purpose is betrayed by the comments from
“attendees” on the final page of the meeting summary, e.g. “I would like to have stock
options in your company as an advisor” or “The comment by Jeff that it (gabapentin)
is the same as an amino acid will be a great selling point.” (emphasis added)
(Pfizer_TMartin_0002216)
20. Dr. Misha-Miroslav Backonja was now also into the act. He is listed for example as
a speaker at a similar event held on June 10, 2000 at the Westin William Penn Hotel in
Pittsburgh, PA, although no content appears under his name in this document.
(SH_0064559.0076474) I cannot tell from this what Dr. Backonja had to say, I would be
curious to know and also to learn whether he disclosed to his audiences a reasonable
conflict of interest declaration. (I noted serendipitously that Dr. Backonja may not
always have been scrupulous with conflict declarations. Via the on-line access to the
publication history of the van de Vusse 2004 study on use of gabapentin for CPRS-1 [see
appendix, Study No. 7] I learned that Dr. Backonja was a peer reviewer for that
publication. This information is freely available on the BMC Neurology website linked
automatically to the web reference I have listed in the appendix. The other reviewer for
the van de Vusse paper, Dr. Wouter W.A. Zuurmond, completed a “Declaration of
competing interests” by disclosing “yes, I have performed a lecture for Pfizer and
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received a fee for it”. In contrast, Dr. Backonja responded on May 24, 2004 to the same
question with the answer “none”. This seems unlikely to have been a reasonable answer,
although it is possible that by 2004 Dr. Backonja had severed all ties with Parke-
Davis/Pfizer.) As of June 2000, financial connections between Dr. Backonja and Parke-
Davis were certainly extant, and one would suspect that Dr. Backonja, (like Dr. McClean
and Dr. Beydoun) might have been amongst the most likely people outside of Parke-
Davis/Pfizer to have known the results of the unpublished trials available by mid-2000.
What did he say about them, and to whom?

21. Yet another meeting in San Francisco on July 20, 2000 now involved Dr. Edgar
Ross, Director of the Pain Management Centre at the prestigious Brigham and Women’s
Hospital of Boston, MA in sharing the glad tidings about Neurontin.
(Pfizer_JMarino_0002191) Dr. Ross’ slides appear different from the other slide sets and
are more idiosyncratic. He was still referring to only two trials of gabapentin for PDPN
(PDN) and PHN, although he also made a point of referring to “8 patients (who) had
advanced HIV” in whom he appears to suggest that gabapentin was “very effective”. I
could not tell what study he may have been referring to. The last slide in the set
(Pfizer_JMarino_0002192) is enigmatic. A “seeing-eye” dog is about to fail its final test
by leading a blind man directly into a jet engine. Could this be a reference to the
“blind leading the blind” with respect to Neurontin? Perhaps Dr. Ross was indeed
unaware of the unpublished results on which Parke-Davis had now been sitting for
months.

22. Even Professor Robert Dworkin, who later documents show enjoyed a close working
relationship with Parke-Davis/Pfizer for many years, made no allusion to the unpublished
trials at the same “Worldwide Pain Conference”. (Pfizer_JMarino_0002198) Although
Professor Dworkin’s remarks are sufficiently carefully written that they remain
technically accurate, he too gave the “Worldwide” conference no hint that there was more
to the story than he was saying. Why did he not refer to the Gorson study, which had
failed to show benefit of gabapentin in PDPN, or Morello which the independent VA
investigators interpreted as evidence to continue choosing TCA as “first-line” therapy?
Professor Dworkin already had ties to Parke-Davis, and had published sub-analyses of
the Backonja 1998 study. Could he too have been kept outside the “Parke-
Davis/Pfizer” circle of knowledge? Was Parke-Davis deceptive with Dr. Dworkin,
or was Dr. Dworkin deceptive to his audience in San Francisco and elsewhere about
the real facts? One cannot have it both ways. Given the later record showing that Dr.
Dworkin was keen to check the authenticity of what he considered the highly suspicious
2001 report of Dr. Simpson, I wonder whether Dr. Dworkin was kept in the dark like the
rest of the world. If so, how must he have felt when he eventually learned about the
unpublished gabapentin studies in September 2001? (see below)

23. In September 2000 the parade was joined by publication of yet another supplement
“supported by an educational grant from Parke-Davis”, this time in the Clinical Journal of
Pain (another relatively minor journal of which Dr. Dworkin was an Associate Editor),
reporting “Proceedings of a Symposium” held on August 23, 1999 in Vienna, Austria.
(Pfizer_AFannon_0008126 et seq.) Here, Dr. Nadine Attal of Boulogne, France
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presented a table labeled “Placebo-controlled studies in neuropathic pain …” which
purported to show that only 1 trial had been conducted with gabapentin for PDPN, and 1
trial for PHN, both “positive”. (Pfizer_AFannon _0008138). This is not only incorrect,
but frankly misleading or deceptive. We now know that by the time this publication
appeared, the much larger Reckless 945-224 trial had been completed and reported on.
Dr. Attal mentioned and cited the 1997 Gorson trial (published 1999) but did not include
it in the table as a negative trial. Even the Perez trial from Monterrey, Mexico (which I
have considered insufficiently reported to include in meta-analysis) had at least been
published. One could criticize Dr. Attal for incompleteness, inadvertent ignorance of the
unpublished Reckless trial, or sloppiness, but where were the supplement editor and the
company that supported publication with an “educational grant” when it came to full
disclosure? What was the educational point of publishing incorrect and misleading
information?

24. I found similar evidence of sloppiness, or perhaps “ghost writing”, in a document of
whose title the first word “Interface” has a rather disturbing Rorschach-like quality. It is
otherwise entitled “Neurology & Psychiatry Diagnostic and Treatment Issues EME
Enduring Manual Monograph based on proceedings of symposia held January 16, 1999;
February 12, 2000 …” (SH_0044769) This document is labeled as sponsored by the
Albert Einstein College of Medicine and “made possible through an unrestricted
educational grant from Pfizer Inc.” but I suspect that Einstein would have been
disappointed to see his name associated with it. The document is labeled
“CONFIDENTIAL” on every page, but appears to have been intended for release in
October 2000. A chapter attributed to Dr. Michael J. McClean incorrectly cites the
numbers of patients assigned to the gabapentin arms in the Backonja 1998 and
Rowbotham 1998 clinical trials. (SH_0044844) While this is a trivial error easily
correctable by the reader by a look at the original publications, it makes one wonder how
closely Dr. McClean was involved in the authorship. Who might have read this
monograph, and what was its real intended purpose?


2001:

25. Perhaps the most telling of all the documents I reviewed is that labeled
(Pfizer_MYoder_0002511). I have reproduced and discussed this earlier in this report,
but I cannot tell when it was produced – only that it refers to disappointing prescription
renewals for Neurontin during 2001. Parke-Davis/Pfizer had clearly realized by now that
there was much less money to be made if people stopped using their product after only a
month or two.

26. Dr. Roy Freeman of the Harvard Medical School now joined the fray with what
strikes me as a specific mission to encourage doctors to “push the dose” of Neurontin.
(SH_0064559.0093275 et seq.) From this mysterious document , also stamped
“CONFIDENTIAL” on every page, we learn something about the price Pfizer was
willing to pay for a “hired gun”. A letter from John Christensen, Faculty Liason for
IntraMed Educational Group (a contractor to Pfizer under yet another “educational
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grant”) apparently wrote to Dr. Freeman on January 18, 2001 proposing an honorarium of
$2,000 per program (“Clinical Success Factors in Managing Neuropathic Pain”)
which was to be “given to you on the day of the program”. (SH_0064559.0093292)
Naturally, expenses were also covered or reimbursed. Dr. Freeman was scheduled to
deliver three such lectures out of a total of 10 scheduled for the period March-June 2001.
The key message in Dr. Freeman’s talk seems to have been the idea that “Therapeutic
actions for neuropathic pain typically require doses of around 2400 mg, however,
anecdotally, doses up to 4 Gm/day (4000 mg/d) have been used.” (emphasis added)
(SH_0064559.0093282 ) This message was not supported by any evidence,
contradicted the frequent more conservative advice offered to other company-
sponsored fora by Dr. Beydoun, and is not referenced in the article. It is frankly
deceptive, in my opinion. Dr. Freeman was also long out of date when he wrote that
“Although no head to head trials of gabapentin versus a tricyclic antidepressant or a
standard anti-convulsant such as carbamazepine have been reported, many pain
specialists are now using gabapentin as a first line drug for neuropathic pain …” Dr.
Freeman’s chapter seems to be undated, so I cannot tell when he wrote this presentation
(if it was indeed his primary work), but the reference list shows reports through 2000,
whereas Morello’s study of gabapentin vs. amitriptyline for PDPN was published in
1999, indexed by PubMed and MEDLINE, and certainly known to me by the year 2000.
Needless to say, there is no indication that Dr. Freeman informed his audience of the
results of the Reckless trial.

27. Dr. Ahmad Beydoun may have been more cautious in how he appears to have
presented his opinions about Neurontin (at least to the extent one can judge from printed
documents as opposed to the live performance, which surely must have been more
entertaining), yet he too must have been on the gravy train. For example, he appeared on
June 2, 2001 at the Hyatt Regency Coral Gables in Coral Gables, FL. A table from his
presentation (MDL_Vendors_094818) still referred only to the Backonja and Rowbotham
studies, although it was now over 3 years since initiation and about 2 years since
completion of the larger European PDPN trial (Reckless 945-224), and over a year since
the final trial report had been completed and signed off at Parke-Davis. Neither was the
Gorson trial mentioned. The Serpell study of mixed neuropathic pain (945-306) had been
completed in the U.K. and the internal research report was finished. Even the reasonably
large Nordic study (Gordh, 945-271) was nearing completion. Had Dr. Beydoun been
aware of the negative acute pain trials of gabapentin, he might have considered them
irrelevant to neuropathic pain, but I think an academically honest presentation would
have had to mention such results to the audiences, let alone some of the bad news for
Neurontin that had already emerged, or was continuing to emerge from the chronic pain
clinical trials.

In light of what I now know, I find the table referenced above to be clearly
misleading, omissive, and/or deceptive. In Dr. Beydoun’s defence, I must state that he
appears to have “stuck to his guns” (even if hired) in continuing not to recommend the
huge doses of gabapentin that others like Dr. Freeman and Dr. McClean were now
espousing. (MDL_Vendors_094823) Perhaps Pfizer felt it could overcome any of Dr.
Beydoun’s reticence about “mega-dosing” (my term) by massaging (figuratively) the
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attendees in the hotel corridors. Like others in the Pfizer stable of speakers, Dr. Beydoun
was quick to apply the term “first-line therapy” to gabapentin for neuropathic pain (along
with TCAs). I still see no thoughtful, let alone scientifically based discussion of oral
opioids as alternative “first-line treatment” for serious pain, although Pfizer now knew
conclusively from the 1999-2000 acute pain experiments that opioids and naproxen were
efficacious for acute pain of various types, whereas gabapentin was not.
The use of the term “first-line” appears to me to be a political or marketing term, not a
medical or scientific one. To understand this better, see my long discussion of the goals
of pain treatment, earlier in this report.

28. Not long after this, on September 6, 2001, Pfizer convened a meeting of very senior
academic experts on pain research at the Crowne Plaza Hotel in Ann Arbor, MI, to
review the possibility of a New Drug Application to the U.S. FDA seeking an indication
for Neurontin (gabapentin) for PHN and DPN. (Pfizer_LeslieTive_0013555).
Presumably the outside experts (Dr. Mitchell Max of NIH, Professor Robert Dworkin and
Dr. Gary Bennett and Paul Leber) were put under confidentiality agreements which
would have precluded them from later disclosing what they learned from Pfizer in order
to prepare for this meeting.

The results of the Reckless (945-224), Serpell (945-306) and Nordic (945-371, Gordh)
studies were now revealed to the outside experts. According to the available notes
(Pfizer_LeslieTive_0013556), Dr. Max was as authoritative as he was succinct: “You’re
done.” Although Dr. Dworkin was not quoted verbatim, the notes show on the same
page that he found the (Reckless, 945-224) “… large placebo-controlled negative dose-
response (600, 1200, 2400 mg/d) study, in which 2400 mg appeared worse than 1200 mg,
striking”. Apparently he advised that another positive, well controlled study would be
needed to “overcome this study” (note taker’s words, not Dr. Dworkin’s). Amongst other
things, there was consensus that, “Importantly, gabapentin is not effective in non-
neuropathic models of pain.” Presumably this conclusion was based on the Nordic (945-
371, Gordh) study, as I saw no indication that the acute pain study results were revealed
to the outside experts in preparation for or during the September 6, 2001 meeting.

The cat was out of the bag, but the room was sealed, so to speak. Unlike the royal
chamber at Elsinore, the walls did not “have ears”. The seal was highly effective.

I can now answer some of the questions I posed in paragraph 22 above. There can
be little doubt that even Dr. Dworkin had been kept in the dark about the emerging
negative results for Neurontin. Consider the year 2001. Pharmacia (now Pfizer)
had similarly controlled access to the real data about celecoxib (Celebrex) in order
to fool the Journal of the American Medical Association into publishing an
inaccurate, misleading, deceptive, and ultimately fraudulent account of the “CLASS
Study” only one year earlier. (JAMA. 2000;284:1247-1255) The editorialist who
endorsed celecoxib in the same issue of JAMA later complained to the media that he
would not have done so, had he know the real facts, although an astute and meticulous
reader could have discerned that there was something wrong with the JAMA report about
Celebrex. (See our series of Therapeutics Letters on celecoxib at www.ti.ubc.ca, which
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made our University of British Columbia academic group, the UBC Therapeutics
Initiative, very unpopular at the time. Our analysis was ultimately vindicated and has
strengthened our reputation for academic honesty.)

Dr. Dworkin would have been well aware of this scandal, which brought
international attention to the need to reform medical journal standards and
practices. I wonder whether he was feeling that he too had been bamboozled. But
Dr. Dworkin and the other outside experts consulted by Pfizer in September 2001
may now have been muzzled by a Pfizer confidentiality agreement. Dr. Dworkin
apparently remained happy to maintain a cordial relationship with the company.
(see below)

29. Nothing stopped Pfizer from proceeding apace with its indoctrination of a “Primary
Care and Neurology Advisory Board” on November 8, 2001.
(Pfizer_RGlantzman_0049084 et seq.) Low back pain was now to be considered a
“condition associated with neuropathic pain” (Pfizer_RGlantzman_0049091) with a
prevalence 3-4 times greater than that attributed to diabetic neuropathy, which itself was
probably exaggerated (as all diabetic neuropathy, not PDPN). Backonja’s and
Rowbotham’s studies were again presented ad nauseam and even Serpell’s study (945-
430) was now introduced into “evidence” (Pfizer_RGlantzman_0049119 et seq.).

Slides apparently prepared for or by Suzanne Doft, Director, Neurontin US Marketing
Team (identified at: Pfizer_LeslieTive_0074392) are labeled in their left lower corner
“Xtec Media Job X2855 Doft”. There is a clue at (Pfizer_RGlantzman_0049119) that the
slides had been in preparation for some time, since the reference for a description of 945-
430 was given as “Source: Serpell, MG, Pain 2000 (Submitted)”. The published version
of Serpell’s study (Serpell, MG, Neuropathic Pain Study Group. Gabapentin in
neuropathic pain syndromes: a randomized, double-blind, placebo-controlled trial. Pain
2002; 99: 557-66) indicates that the article was not submitted to Pain until April 10,
2001, which implies that it may have had an interesting “prepublication history”. Parke-
Davis/Pfizer of course had not only enjoyed access to the study results since it’s
completion in February 2000, but had been responsible for their analysis. Dr. Serpell,
after all, was merely a consultant paid for his “independent help and advice on this
project”. (Pain 2000, p 565) The slide set notes beginning at
(Pfizer_RGlantzman_0049120) suggest that this version was prepared for presentation by
Dr. Serpell “…as you will see when Dr. Serpell goes through the patient population.”

Did Parke-Davis/Pfizer succeed with the mischievous, if not devious interpretation
of the study data suggested in the bottom notes at (Pfizer_RGlantzman_0049121)?
Here I note what appears to be a prompt, suggesting that the presenter (Dr. Serpell
himself, if possible) introduce the slide to an audience with the commentary that “It
would be interpreted from this graph that there are no benefits to be gained from
prescribing 2400 mg, however, when we consider the response in relation to duration of
disease there is a distinction between the 1800 and 2400 mg dosage groups.” (emphasis
added) If this were not “torturing the data until they speak the desired words”, then it
would surely have amounted to putting the desired words into the speaker’s mouth!
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I have no knowledge of what manuscript Dr. M.G. Serpell and colleagues may have
submitted to the journal Pain on April 10, 2001 (shown as the submission date in the
2002 published article), a manuscript virtually certainly prepared by Parke-Davis/Pfizer
for the “ghost authorship” of Dr. Serpell. However, Serpell and the “Neuropathic Pain
Study Group” certainly made no such claim in the final Pain article reporting on
945-430 (Serpell, Pain 2002). On the contrary, the authors were at pains to suggest
in their discussion that the purported clinical benefits of treatment were apparent
early, and Figure 3 of the published report claimed statistical significance at 1-4
weeks, before any patient had reached 2400 mg/d.

Anyone who reads Serpell 2002 (Pain) or my detailed study summary (Appendix),
let alone anyone who digests the information available in the full unpublished study
report from Parke-Davis dated May 5, 2002 will see that the above interpretation of
945-330, purporting a greater benefit at higher doses, is a totally fallacious and
frankly duplicitous perversion of what the study showed. A follow-on slide strikes
me as intended to rub in the message by labeling with the title “Neuropathic Pain –
Efficacy Summary” a slide which shows only the titration schedule of the published (or
soon to be published) U.S. and U.K. studies, and which properly should have been
entitled “Titration Schedules”. (Pfizer_RGlantzman_0049122)

The only possible interpretation I can make of this slide set is that it was a bold-
faced attempt to manipulate physicians into prescribing larger doses of gabapentin
than they might otherwise have chosen – by flying in the face of the truth! But the
audience could scarcely have realized in a matter of a few minutes or hours what has
taken me months of thinking and hard work to discern. Of course, Pfizer would have
known that. There is no mistaking that Pfizer used this to its advantage.

30. The same documents, beginning at (Pfizer_RGlantzman_0049128 et seq.) show that
Pfizer was now moving to follow the advice received barely two months earlier in Ann
Arbor. New multi-centre trials were now planned for the European Union and the United
States, presumably to “overcome” the Reckless (945-224) trial, which was starting to live
fully up to its name! Pfizer was again going to push the dose of gabapentin towards a
target of 3600 mg/d. The United States trial appears to have unfolded as what became
945-1008, for which the original protocol is dated December 4, 2001 although the first
patient was not enrolled until April 4, 2002. (See detailed summary report in my
Appendix.) Unlabelled Pfizer documents which I reviewed indicate that by May 2003
the proposed new European trial had already been cancelled. It appears to have been
labeled as “945-1007”. Another trial was proposed, apparently for Japan, Australia, and
perhaps Latin America (“JAALA”, 945-1009) and at one point planning for an
investigator meeting was underway for early 2003. (Pfizer, also an unnumbered
document)

There seems to have been a virtually frantic attempt to use the notion of these newly
proposed or planned trials to encourage more prescribing of Neurontin, utilizing the
“advisory boards” or “KOL’s” as their main “change agents”. (see for example:
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Pfizer_LeslieTive_0042341 et seq.; Pfizer_RGlantzman_0053265 et seq.;
Pfizer_RGlantzman_0059497 et seq.)

I find the latter document (Pfizer_RGlantzman_0059497 et seq.) particularly
unsettling, because a Pfizer “Neuropathic Pain Advisory Board Focus on the Specialist”
meeting, or a series of such meetings (dates are not clear to me) was moderated and
introduced by Dr. Roland W. Moskowitz, Professor of Medicine and Director of the
Arthritis Research Centre at Case Western Reserve University School of Medicine in
Cleveland, OH. The slide sets for these sessions are replete with recitations of Pfizer’s
noble mission as well as its global economic power, although (perhaps fortuitously, to
spare me from choking) the ellipse labeled “Values” is not legible in the version I
reviewed of a slide labeled “Pfizer Mission: Purpose, Mission, Values”
(Pfizer_RGlantzman_0059500 et seq.)

What disturbs me about Dr. Moskowitz’ involvement is that as a principal
investigator in the 1999-2000 short term trial of gabapentin for pain in
osteoarthritis, he was in a privileged position to know that gabapentin was not
efficacious for acute pain, and that the company had not revealed the results of its
multiple experiments to the world. Effectively the trust of patients who participated
in trials approved by ethics boards had been breached. An ethical ethics review
board normally will insist that trial results must not be hidden from the public. Did
Dr. Moskowitz share what he knew about these acute pain trials with the
“attendees” at any session which he may have proceeded to moderate?

31. At (Pfizer_RGlantzman_0059500 et seq.) it becomes apparent that Pfizer had
carefully studied the attitudes of neurologists, pain specialists and primary care doctors to
learn as much as it could about the psychology of how they titrated Neurontin for patients
in pain. The “Research Conclusion” (Pfizer_RGlantzman_0059595 et seq.) is that “Few
physicians are titrating up to the maximum dose of 3600 mg, as outlined in the new
product profile.”

The use of the word “Pivotal Studies” in a graph designed to show how specialists and
particularly generalists were deficient in their “dosing and titration behaviours” is
striking. (Pfizer_RGlantzman_0059598) “Pivotal studies” were those that Pfizer
liked, not those which it disliked and whose results it kept hidden (e.g. 1032-002 in
osteoarthritis for which Dr. Moskowitz was a principal investigator, or the much-feared
Reckless 945-224 trial, or the soon-to-be completed 945-1008). It is important to
understand that the term “pivotal” has no scientific meaning, but it definitely has a
psychological and political meaning: in this sense “pivotal” means the information or
disinformation required to cause doctors to pivot toward their prescription pads.

The next slide in the sequence (Pfizer_RGlantzman_0059599 et seq.) suggests to me that
doctors invited to such meetings by Pfizer were being “pivoted” into the belief that they
were contributing in some way based on their clinical expertise to “research”, when in
point of fact they were really experimental subjects in a marketing exercise. Where this
extends to “workshops” intended to help specialist doctors develop the language
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appropriate to use in consultation reports as a “one-paragraph response persuading your
colleague to prescribe Neurontin”, the border between “research” and manipulation has
clearly been transgressed. This reminds me somehow of the “re-education camps” of the
old Chinese communist regime during the Cultural Revolution which most Westerners
considered intellectually and ethically repugnant.

What would have been going through the minds of physicians who might put
themselves into the position of attending such workshops? Did such “workshops”
really proceed with physicians as participants, or were they only figments of
someone’s fevered imagination in the marketing departments at Pfizer? What
would their patients have thought, had any such physicians disclosed their recent
indoctrination whilst writing out a prescription for Neurontin? Astute patients
sometimes draw their own conclusions from inspection of their doctors’ office walls,
their desks, their apparel, and even by noticing from the patient waiting area any
delicious lunchtime deliveries to doctors’ receptionists.


2002: (some of the above documents are undated, but may be from 2002)

32. There was now a “full court press” to bring the Neurontin glad tidings to managed
care organizations, for example at a meeting held on March 3-4, 2002 at the Disney
BoardWalk Resort in Orlando, FL.(Pfizer_LeslieTive_0074344 et seq.) This was for the
“PBM Managed Care Advisory Board” and attended by senior managers and executives
of organizations such as Merck-Medco, Caremark, Walgreens Health Initiative, and
VAMC Denver. A phalanx of Pfizer marketing staff including Suzanne Doft (Director,
US Neurontin Marketing Team), Valerie Flapan (Corporate Counsel) and Dr. Leslie Tive
(Medical Director/Team Leader) were joined by three “Health Strategies Group”
attendees whose role I cannot imagine. (Pfizer_LeslieTive_0074381)

The slide set for this presentation appears to have been more colourful than what was
typically used for doctors. I was impressed by the striking photograph of Dr. Silas Weir
Mitchell, Civil War surgeon, accompanying his vivid and excruciating description of
“causalgia”, a particularly venal prototype of neuropathic pain.
(Pfizer_LeslieTive_0074344 et seq.) I wonder whether the PBM managers were fooled
as easily as the physicians by presentation of many of the same slides, e.g. the now-
outdated Serpell figure, which still bore the legend “Source: Serpell, MG, Pain 2000
(Submitted)” even though the 2002 Pain article’s publication history shows that the
manuscript was still undergoing prolonged revision at this time.
(Pfizer_LeslieTive_0074378)

Was the audienc impressed by the presentation of “SF-36 Results: NEURONTIN in
Painful DPN” which might strike a neutral observer as showing nothing?
(Pfizer_LeslieTive_0074381) Pfizer was still touting the coming “US/EU Study of
NEURONTIN in Painful Diabetic Neuropathy” (the unpublished/suppressed 945-1008
and the later-cancelled 945-1007) and the “JAALA Study of NEURONTIN in Painful
Diabetic Neuropathy” as well as a new “Chronic Pain Screener” test to identify more
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patients - perhaps those too “patient” to complain that they needed Neurontin, so to
speak. (Pfizer_LeslieTive_0074383)

Presumably this presentation left the impression with PBM managers that there was
and ongoing active research program to better characterize the optimum (large)
Neurontin doses. It must certainly have been calculated to ensure that the
institutional buyers of Neurontin would not discover the results of the Reckless trial,
let alone the findings from 945-271 (Nordic Trial, Gordh) which were now known
(completed 2001) or those later compiled from 945-1008. What would the same
managers now think?

33. A similar presentation (Pfizer_RGlantzman_0149235 et seq.) was made by Pfizer on
June 24, 2002 to its “Managed Care and Long Term Care Neuropathic Pain Advisory
Board”, although the slides pertaining to the Serpell study were now labeled: “Source:
Serpell, MG, Pain 2000 (Submitted)”. Were there any question that Pfizer’s
manipulation of the results and implications of the Serpell trial was accidental, this
presentation clarifies that the real lessons of this study were still being distorted –
deliberately and systematically. (Pfizer_RGlantzman_0149269 et seq.)

34. Pfizer convened another meeting at its offices in Sandwich, England on July 2, 2002,
to which it invited Dr. Andrew Rice of the Pain Research Group, Department of
Anesthesetics, Imperial College School of Medicine (and lead author of the second
published trial in PHN, Rice 2002) as well as Professor Martin Koltzenburg of the
Institute of Child Health & Neurology at the National Hospital for Neurology &
Neurosurgery, University College London. Important Pfizer managers from England,
Ann Arbor, New York, and Groton (England) attended. (Pfizer_LKnapp_0070537 et
seq.) The Englishmen were less than impressed with the American approach to pain
quantification and wanted to see outcomes that were clearly meaningful for patients.
They wanted to see original data published, and felt that the Pfizer data bases might
contain meaningful answers to many important questions. For example, “Does the
degree of pain relief correspond with the number of side effects …?” In the clinic, they
were concerned that “…the most important side effects of gabapentin are dizziness and
somnolence with oedema also significant in the elderly…” They perceived amitriptyline
as more effective than gabapentin (> 50% reduction of pain score in 50% of patients vs.
34% of patients for gabapentin). As the note taker recorded dryly, “This needs
improvement.”

Pfizer executives, notably Larry Alphs of Ann Arbor (Pfizer_LKnapp_007056), were
alarmed at the first paragraph of the minutes (Pfizer_LKnapp_0070539) which read:
“Current treatment options are limited. In the clinic most patients are not on single
therapies. This may be due to the inadequacy of individual treatments, … The success of
gabapentin is not due to its efficacy, it is less efficacious than Tricyclic antidepressants
(TCA), but is due to a more acceptable side effect profile…” (emphasis added) From
their point of view, Neurontin was now the “meat in the Sandwich”, so to speak.
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It strikes me that in their hearts and minds, Pfizer staff had already realized that
Neurontin’s days were numbered, partly because it now required an increasingly hard
flogging to induce doctors to write long and high dose prescriptions for Neurontin or to
convince patients to renew them. Even more important may have been the looming
patent expiry for Neurontin. Pfizer may have needed to concentrate its corporate energies
on learning from the Neurontin experience before the imminent launch of Lyrica, its heir
apparent.




What conclusions can be drawn from this chronology?


1. It was crucial for Parke-Davis/Pfizer to exaggerate the purported benefits of
Neurontin, “push the dose”, and play down Neurontin’s well documented adverse
effects in order to maximize off-label use. If doctors’ attention could be attracted
through the selective use of data from the published PHN and PDPN trials, it would
be possible to expand the prescription of Neurontin to the much larger patient
populations affected by other chronic painful conditions (e.g. chronic back pain or
“fibromyalgia”). In a demographic this large, the purchase of several months’ worth
of Neurontin would be lucrative for Pfizer – even if the patients stopped taking it
and could not be persuaded to renew such prescriptions.


2. Parke-Davis/Pfizer could not afford for the truth to surface from studies which
produced unfavourable results. It must have realized even before completion of the
large unpublished United States primary care study in PDPN (945-1008, Parsons,
unpublished report dated March 24, 2005) that there was little point pursuing further
studies of Neurontin when a new drug was coming fast down their “pipeline”. It
would have been imperative to begin marketing pregabalin (Lyrica) before its
patent cycle also began to wind down. It was better to keep repeating the mantra of
the Backonja and Rowbotham studies, distort the basically negative results from
945-271 (Serpell) and hope that Serpell’s published report would be little noticed
and less carefully read, and ensure that doctors would forget or never learn about
Gorson’s trial and the small independent trials (e.g. McCleane 2001, van de Vusse
2004). After all, these more independently published trial results basically
supported the English experts’ take on Neurontin at Sandwich: gabapentin was not
an impressive drug and the small Morello 1999 trial had already suggested that for
most patients amitriptyline was a more practical option.


3. When it came to disclosure, neither Parke-Davis/Pfizer nor its “hired guns”
acquitted themselves honestly. The records I reviewed showed example after
example of distortion of the evidence by doctors who ought to have known better.
This was amplified by the creative “spin” of the marketing personnel who were
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ubiquitous at “continuing medical education events” and used Parke-Davis/Pfizer’s
ample resources to ensure that their message was tightly controlled, and that their
Key Opinion Leaders (KOL’s) stayed “on message”.


4. It is a sad but all too common reflection on my own profession and on the state of
academic medicine that so many physicians, including prominent university based
clinical and basic “investigators”, collaborated so obsequiously in this endeavour.




        In Middlemarch, George Eliot’s penultimate novel, Dr. Tertius Lydgate is heroic
partly because he has turned his back on medical hucksterism. He is the prototype
reformer who recognizes that a doctor cannot both prescribe and dispense medicines
without an inherent conflict of interest. The author Mary Anne Evans (George Eliot) was
aware that British physicians influenced by the Nineteenth Century’s exciting new
scientific influence on medicine were beginning to realize the prescribing/dispensing
conflict. Like the fictional Dr. Lydgate, they were starting to eschew the dispensing of
drugs and limit themselves to prescription.

        This hard-won and courageous separation of physicians’ prescribing decisions
from the economic returns that accompany dispensing was not inevitable. After all,
naturopaths, pharmacists, veterinarians, optometrists, and other professionals or quasi-
professionals recommend (prescribe) and sell drugs, vitamins and other “supplements” or
“health foods” from which they derive a significant part of their income. The decision to
avoid conflict of interest was a major ethical step for physicians, and it represented a
potential triumph for patient interests over those of the health service provider. It is
iniquitous that pharmaceutical manufacturers have since undermined this ethical
accomplishment so systematically and with such nearly ubiquitous success.

       In the case of Neurontin, documents I reviewed provide so many examples of
misleading, incomplete or omissive statements by physicians, marketing representatives,
or even by key “investigators” that one becomes depressed in thinking about how easily
human beings can be manipulated. But as Abraham Lincoln is said to have stated: “You
can fool some of the people all of the time, and all of the people some of the time, but
you can not fool all of the people all of the time.” Neurontin (gabapentin) is probably a
drug whose time is nearly up.

        Preparing this opinion required substantially more work, thought, and time than I
had initially imagined, but I have learned a great deal from this review. I hope my report
and its Appendices also provide you and the Court with additional insight into the matters
to be considered at litigation. Perhaps my observations will also assist anyone interested
in understanding what it would take to reform our system of drug licensing, marketing,
and medical education so as to foster the interests of patients’ above all others. This is
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                          List of Documents Reviewed


Documents

     1.     CDM0022270

     2.     MDL_VENDORS_046284

     3.     MDL_VENDORS_056827

     4.     MDL_VENDORS_057666

     5.     MDL_VENDORS_085846

     6.     MDL_VENDORS_085867

     7.     MDL_VENDORS_086643

     8.     MDL_VENDORS_094765

     9.     PFIZER_AFANNON_0008126

     10.    PFIZER_BPARSONS_0000073

     11.    PFIZER_BPARSONS_0001128

     12.    PFIZER_JMARINO_0002157

     13.    PFIZER_JMARINO_0002191

     14.    PFIZER_LCASTRO_0027113

     15.    PFIZER_LCASTRO_0043325

     16.    PFIZER_LESLIETIVE_0002581

     17.    PFIZER_LESLIETIVE_0002824

     18.    PFIZER_LESLIETIVE_0013555

     19.    PFIZER_LESLIETIVE_0034253

     20.    PFIZER_LESLIETIVE_0042341

     21.    PFIZER_LESLIETIVE_0049975

     22.    PFIZER_LESLIETIVE_0074344

     23.    PFIZER_LKNAPP_0006623

     24.    PFIZER_LKNAPP_0009569

     25.    PFIZER_LKNAPP_0009830
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 26.   PFIZER_LKNAPP_0013491

 27.   PFIZER_LKNAPP_0024958

 28.   PFIZER_LKNAPP_0050385

 29.   PFIZER_LKNAPP_0055357

 30.   PFIZER_LKNAPP_0060187

 31.   PFIZER_LKNAPP_0070537

 32.   PFIZER_LKNAPP_0070545

 33.   PFIZER_LKNAPP_0070547

 34.   PFIZER_LKNAPP_0083148

 35.   PFIZER_MYODER_0002471

 36.   PFIZER_NMANCINI_0024603

 37.   PFIZER_RGLANZMAN_0049084

 38.   PFIZER_RGLANZMAN_0053265

 39.   PFIZER_RGLANZMAN_0059497

 40.   PFIZER_RGLANZMAN_0149235

 41.   PFIZER_TMARTIN_0001736

 42.   PFIZER_TMARTIN_0002022

 43.   PFIZER_TMARTIN_0002200

 44.   SH_0006934

 45.   SH_0012453

 46.   SH_0030111

 47.   SH_0036543

 48.   SH_0044640

 49.   SH_0044769

 50.   SH_0045500

 51.   SH_0064559.0072317

 52.   SH_0064559.0076474

 53.   SH_0064559.0093275
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 54.   SH_0064559.0093290

 55.   SH_0064559.0096673

 56.   SH_0064559.0096785

 57.   WLC_CBU_000221

 58.   WLC_CBU_013197

 59.   WLC_CBU_028461

 60.   WLC_CBU_028473

 61.   WLC_CBU_072249

 62.   WLC_CBU_076620

 63.   WLC_CBU_079302

 64.   WLC_CBU_092879

 65.   WLC_CBU_093708

 66.   WLC_CBU_123550

 67.   WLC_CBU_164376

 68.   WLC_CBU_164409

 69.   WLC_CBU_175636

 70.   WLC_CBU_180727

 71.   WLC_CBU_180735

 72.   WLC_FRANKLIN_0000015522

 73.   WLC_FRANKLIN_0000035723

 74.   WLC_FRANKLIN_0000035726

 75.   WLC_FRANKLIN_0000035728

 76.   WLC_FRANKLIN_0000035747

 77.   WLC_FRANKLIN_0000035750

 78.   WLC_FRANKLIN_0000035751

 79.   WLC_FRANKLIN_0000050304

 80.   WLC_FRANKLIN_0000066844

 81.   WLC_FRANKLIN_0000073645
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       82.     WLC_FRANKLIN_0000080451

       83.     WLC_FRANKLIN_0000082494

       84.     WLC_FRANKLIN_0000090053

       85.     WLC_FRANKLIN_0000090214

       86.     WLC_FRANKLIN_0000090215

       87.     WLC_FRANKLIN_0000090220

       88.     WLC_FRANKLIN_0000092698

       89.     WLC_FRANKLIN_0000098315

       90.     WLC_FRANKLIN_0000098352

       91.     WLC_FRANKLIN_0000100273

       92.     WLC_FRANKLIN_0000166608

       93.     WLC_FRANKLIN_0000199743

       94.     WLC_FRANKLIN_0000199997

       95.     VOX027405

       96.     Additionally, please the documents referred to in the Report and Appendices


Publications

       1.      Catherine Arnst, “Conquering Pain: New Discoveries and Treatments Offer Hope”,
               Business Week, March 1, 1999.

       2.      Dubinsky RM et al. Practice parameter: treatment of postherpetic neuralgia: an evidence-
               based report of the Quality Standards Subcommittee of the American Academy of
               Neurology. Neurology 2004; 63: 959-65.

       3.      Dyck PJ et al. The prevalence by staged severity of various types of diabetic neuropathy,
               retinopathy, and nephropathy in a population-based cohort: the Rochester Diabetic
               Neuropathy Study. Neurology 1993; 43: 817-24; Boulton A. Management of Diabetic
               Peripheral Neuropathy. Clinical Diabetes 2005; 23: 9-15

       4.      Helgason S et al. Prevalence of postherpetic neuralgia after a first episode of herpes
               zoster: prospective study with long term follow up. BMJ 2000; 321: 794-6

       5.      Opstelten W et al. Herpes zoster and postherpetic neuralgia: incidence and risk indicators
               using a general practice research database. Fam Pract 2002; 19: 471-475

       6.      Wong MC, Chung JWY, and Wong TKS. Effects of treatment for symptoms of painful
               diabetic neuropathy: systematic review. BMJ 2007;335:87
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       7.       McCleane GJ. Does gabapentin have an analgesic effect on background, movement and
                referred pain? A randomized, double-blind, placebo controlled study. The Pain Clinic
                2001;13:103

       8.       de Jong RH. Neurontin: Pie in the Sky or Pie on the Plate? Pain Digest 1996; 6:143-4

       9.       Additionally, please see the references to published articles in the Report and Appendices




Websites

            1. Evidence-based recommendations for medical management of chronic non-malignant
               pain: chapter 7. Neuropathic pain, College of Physicians and Surgeons. Nov 2000.
               http://www.cpso.on.ca/publications/pain.PDF, accessed July 18, 2008.

            2. http://www.depomedinc.com/view.cfm/1285/Our-Pipeline

            3. http://www.painstudy.ru/10wcp/anticonvulsants.htm

            4. http://www.clinicalstudyresults.org/documents/company-study_1926_0.pdf

            5. Additionally, please see the websites referred to in the Report and Appendices

Research Reports

            1. 430-00124

            2. 430-00125

            3. 720-03908

            4. 720-04130

            5. 720-04378

            6. 720-04455

            7. 720-04471

            8. 720-04479

            9. 720-04481

            10. 720-04483

            11. 720-30044

            12. 720-30049
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    13. 744-00664

    14. 744-00669

    15. 995-00070

    16. Research Report for Study 945-210

    17. Research Report for Study 945-211

    18. Research Report for Study 945-220

    19. Research Report for Study 945-224

    20. Research Report for Study 945-224

    21. Research Report for Study 945-306

    22. Research Report for Study 945-306

    23. Research Report for Study 945-371

    24. Research Report for Study 945-430

    25. Additionally, please the research reports referred to in the Report and Appendices
